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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

In re
                                                         Case No. 25-10308 (DER)
Diamond Comic Distributors, Inc., et al.,
                                                         Chapter 11
                                    1
                         Debtors.
                                                         (Jointly Administered)


                  GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                   METHODOLOGY, AND DISCLAIMER REGARDING
                     DEBTORS’ SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) filed by Diamond Comic Distributors, Inc., and its affiliated debtors
and debtors in possession (collectively, the “Debtors”) in the United States Bankruptcy Court for
the District of Maryland (the “Bankruptcy Court”) were prepared pursuant to section 521 of title
11 of the United States Code, 11 U.S.C. 101–1532 (the “Bankruptcy Code”) and Federal Rule of
Bankruptcy Procedure 1007 by the Debtors’ management, under the supervision of the Debtors’
chief restructuring officers (the “Co-CROs”), and are unaudited. While the members of
management responsible for the preparation of the Schedules and Statements have made a
reasonable effort to ensure that the Schedules and Statements are accurate and complete based on
information known to them at the time of preparation and after reasonable inquiries, inadvertent
errors may exist and/or the subsequent receipt of information may result in material changes to
financial and other data contained in the Schedules and Statements that may warrant amendment
of the same. Moreover, because the Schedules and Statements contain unaudited information
that is subject to further review and potential adjustment, there can be no assurance that these
Schedules and Statements are complete or accurate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of, the Debtors’ Schedules and Statements. In the
event of any inconsistency between the Global Notes and the Schedules and Statements, the
Global Notes shall control and govern.

        The Schedules and Statements have been signed by an authorized representative of the
Debtors. In reviewing and signing the Schedules and Statements, this representative relied upon
the efforts, statements and representations of the Debtors’ other personnel and professionals.
The representative has not (and could not have) personally verified the accuracy of each such

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    The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
    numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
    (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
    Road, Suite 300, Hunt Valley, Maryland 21030.
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statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses.

        1.      Case. On January 14, 2025 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. Unless otherwise indicated, the
information provided is as of the close of business on January 13, 2025.

        2.     Amendments. The Debtors reserve the right to amend the Schedules and
Statements in all respects at any time as may be necessary or appropriate, including, without
limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
Schedules and Statements as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Any failure to designate a
claim as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

        3.     Estimates and Assumptions. The preparation of the Schedules and Statements
requires the Debtors to make estimates and assumptions that affect the reported amounts of
assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
Schedules and Statements, and the reported amounts of revenues and expenses during the
reporting period. Actual results could differ from those estimates.

       4.      Unknown Amounts. Some of the scheduled liabilities are unknown and
unliquidated at this time. In such cases, the amounts are listed as “Unknown” or “Unliquidated.”
Because certain scheduled liabilities are unknown and unliquidated, the Schedules and the
Statements do not accurately reflect the aggregate amount of the Debtors’ liabilities.

         5.     Pre-Petition vs. Post-Petition. The Debtors have sought to allocate liabilities
between the pre-petition and post-petition periods based on the information derived from
research and investigation conducted during the preparation of these Schedules and Statements.
As additional information becomes available and further research is conducted, the allocation of
liabilities between pre-petition and post-petition periods may change. The liabilities listed on the
Schedules do not reflect any analysis of claims under section 503(b)(9) of the Bankruptcy Code.
Accordingly, the Debtors reserve all rights to dispute or challenge the validity of any asserted
claims under section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of
any such transaction or any document or instrument related to any creditor’s claim.

        6.      GAAP. Given the difference between the information requested in the Schedules
and Statements, and the financial information utilized under generally accepted accounting
principles in the United States (“GAAP”), the aggregate asset values and claim amounts set forth
in the Schedules and Statements do not necessarily reflect the amounts that would be set forth in
a balance sheet prepared in accordance with GAAP.

        7.      Asset Values. It would be prohibitively expensive, unduly burdensome,
inefficient, and time-consuming to obtain additional market valuations of the Debtors’ property
interests. Accordingly, to the extent any asset value is listed herein, and unless otherwise noted
therein, net book values rather than current market values of the Debtors’ property interests are
reflected in the applicable Schedule. As applicable, assets that have been fully depreciated or

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were expensed for accounting purposes have no net book value. Unless otherwise indicated, all
asset amounts and claim amounts are listed as of January 13, 2025. The Debtors reserve the
right to amend or adjust the value of each asset or liability as set forth herein.

        8.     Setoff or Recoupment Rights. The Debtors have not included on Schedule D
parties that may believe their claims are secured through setoff rights, deposits posted by or on
behalf of the Debtors, or inchoate statutory lien rights. The Debtors routinely incur setoffs and
net payments in the ordinary course of business. Due to the nature of setoffs and nettings, it
would be burdensome and costly for the Debtors to list each such transaction. Therefore,
although such setoffs and other similar rights may have been accounted for when scheduling
certain amounts, these ordinary course setoffs are not independently accounted for and, as such,
are or may be excluded from the Schedules and Statements. In addition, some amounts listed in
the Schedules and Statements may have been affected by setoffs or nettings by third parties of
which the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff or
recoupment rights that may be asserted.

        9.     Co-Obligors. No claim set forth on the Schedules and Statements of the Debtors
is intended to acknowledge claims of creditors that are otherwise satisfied or discharged by
another party.

        10.     Collectibles with Disputed Ownership. As reflected on Schedule A/B question
42, Debtor Diamond Comic Distributors, Inc., has certain collectibles subject to an ownership
dispute between Diamond Comic Distributors Inc., and Stephen Geppi. The Debtors reserve all
rights with respect to title of these collectibles.

        11.    Causes of Action. The Debtors reserve all of their causes of action. Neither
these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such cause
of action. Likewise, the failure to list a cause of action in question 74 of Schedule A/B or SOFA
question 7 shall not be deemed a waiver of any such cause of action. Furthermore, nothing
contained in the Schedules and Statements shall constitute a waiver of rights with respect to
these chapter 11 cases, equitable subordination, and/or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code and other relevant nonbankruptcy laws to
recover assets or avoid transfers.

         12.    Other Contingent and Unliquidated Claims or Causes of Action. The failure
to list any such claims or causes of action in the Schedules and Statements, including in response
to Schedule A/B question 75, is not an admission that such cause of action, claim, or right does
not exist, and should not be construed as a waiver of such cause of action, claim, or right.

       13.     Insiders. The listing of a party as an insider is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, claim, right, or defense, and all such rights, claims, and defenses are hereby
expressly reserved. Further, employees have been included in this disclosure for informational
purposes only and should not be deemed to be “insiders” in terms of control of the Debtors,
management responsibilities or functions, decision-making or corporate authority and/or as
otherwise defined by applicable law, including, without limitation, the federal securities laws, or


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with respect to any theories of liability or for any other purpose.

        14.    Intercompany Claims. As described more fully in the Debtors’ Motion for
Entry of Interim and Final Orders (I) Authorizing Continued Use of Existing Cash Management
System, Bank Accounts, and Business Forms and Payment of Related Prepetition Obligations,
(II) Authorizing Continuation of Ordinary Course Intercompany Transactions, (III) Extending
Time to Comply with the Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief
[D.I. 14] (the “Cash Management Motion”), the Debtors regularly engage in a range of
intercompany transactions in the ordinary course of business. The Bankruptcy Court authorized
the Debtors to continue such intercompany transactions in the ordinary course of business
pursuant to the order granting the Cash Management Motion [D.I. 130]. Intercompany
transactions are included in the Schedules as reflected on the Debtors’ books and records. The
Debtors reserve all rights as to how the intercompany transactions are characterized.

        15.     Receivable from Stephen Geppi. The Debtors have listed a receivable from the
Debtors’ Chief Executive Officer and ultimate principal, Stephen Geppi, in response to Schedule
A/B question 77 for Debtor Diamond Comic Distributors, Inc. The amount listed is an estimate
and remains subject to the Debtors’ ongoing review and analysis. The Debtors reserve all rights
with respect to any receivables owed to the Debtors by Mr. Geppi.

        16.     Intellectual Property. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred. Conversely, inclusion of
certain intellectual property shall not be construed to be an admission that such intellectual
property rights have not been abandoned, terminated, assigned, expired by their terms, or
otherwise transferred. The Debtors reserve all rights with respect to the legal status of any and
all such intellectual property rights.

             17.        Fiscal Year. The Debtors’ fiscal year ends on December 31.

             18.        Currency. All amounts are reflected in U.S. dollars.

      19.    Summary of Significant Reporting Policies and Practices. The following
conventions were adopted by the Debtors in preparation of the Schedules and Statements:

                        (a)    Fair Market Value; Book Value. Unless otherwise noted therein, the
                               Schedules and Statements reflect the carrying value of the liabilities as
                               listed in the Debtors’ books and records. Where the current market value
                               of assets is unknown, the Debtors have based their valuation on book
                               values net of depreciation. The Debtors reserve the right to amend or
                               adjust the value of each asset or liability set forth herein.

                        (b)    Leased Real and Personal Property. In the ordinary course of business,
                               certain of the Debtors may enter into agreements titled as leases for
                               property, other real property interests, and equipment from third party
                               lessors for use in the daily operation of their business. The Debtors believe


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                              that all such leases are set forth in the Schedules and Statements. Any
                              known prepetition obligations of the Debtors for equipment or similar
                              leases have been listed on Schedule E/F, the underlying lease agreements
                              are listed on Schedule G, or, if the leases are in the nature of real property
                              interests under applicable state laws, such interests are reflected on
                              Schedule A/B. The Schedules and Statements do not reflect any right-of-
                              use assets. Nothing in the Schedules or Statements is or shall be construed
                              as an admission or determination as to legal status of any lease (including
                              whether to assume and assign or reject such lease or whether it is a true
                              lease or a financing arrangement), and the Debtors reserve all rights with
                              respect to all such issues.

                        (c)   Disputed, Contingent and/or Unliquidated Claims. Schedules D, E, and F
                              permit the Debtors to designate a claim as disputed, contingent, and/or
                              unliquidated. A failure to designate a claim on any of these Schedules and
                              Statements as disputed, contingent, and/or unliquidated does not constitute
                              an admission that such claim is not subject to objection. The Debtors
                              reserve the right to dispute, or assert offsets or defenses to, any claim
                              reflected on these Schedules and Statements as to amount, liability, or
                              status.

                        (d)   Payments Made within 90 Days prior to the Petition Date and Payments to
                              Insiders within One Year of Petition Date.         Payments made in the
                              ordinary course of the Debtors’ business to employees for salaries, wages,
                              bonuses, commissions, and employee benefits, payroll taxes and sales
                              taxes were omitted from the SOFA question 3. Payments to insiders within
                              one year of the Petition Date, including transfers within 90 days of the
                              Petition Date, are listed in response to SOFA question 4 and are not
                              separately set forth in response to SOFA question 3. In preparing their
                              responses to SOFA question 4, and in the interest of full disclosure, the
                              Debtors used an expansive interpretation of the term “insider.” Inclusion
                              or omission of a creditor as an “insider” on the Debtors’ response to
                              SOFA question 4 is not determinative as to whether a creditor is actually
                              an “insider,” as such term is defined in the Bankruptcy Code and the
                              Debtors reserve all of their rights with respect to such characterization.
                              Moreover, payments are listed in response to SOFA questions 3 and 4
                              without regard as to whether such payments were made on account of
                              antecedent debt, and the Debtors reserve all of their rights with respect to
                              such issue.

                        (e)   Statement of Financial Affairs – Payments to Professionals. The Debtor’s
                              response to SOFA question 3 does not include transfers to bankruptcy
                              professionals, which transfers appear in response to SOFA question 11.

                        (f)   Statement of Financial Affairs – Payments to Insiders. Both questions 4
                              and 30 in the SOFAs request information regarding payments to insiders,


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                              and all such information is provided in response to question 4. The
                              Debtors reserve all rights with respect to the characterization of payments
                              listed in response to questions 4 and 30.

                        (g)   Statement of Financial Affairs – Suits and Administration Proceedings.
                              Although the Debtors have attempted to list in question 7 all known
                              claimants with pending suits or administrative proceedings, certain actions
                              may have been inadvertently omitted. The Debtors reserve all of their
                              rights with respect to any such claims or causes of action they may have
                              and neither these Global Notes nor the Schedules and Statements shall be
                              deemed a waiver of any such causes of action.

                        (h)   Statement of Financial Affairs - Inventory. Inventories are valued in the
                              Schedules and Statements at the values indicated on the Debtors’ books
                              and records. In answering SOFA question 27, the Debtors have not
                              performed a formal physical inventory within two years of the Petition
                              Date. However, the operations managers at each Debtor facility perform
                              cycle counts daily and these counts are reflected in the Debtors’
                              warehouse management system.

        20.      Schedule D. Although the Debtors may have scheduled claims of various
creditors as secured claims, the Debtors reserve all rights to dispute or challenge the secured
nature of any such creditor’s claim or the recharacterization of the structure of any such
transaction or any document or instrument related to such creditor’s claim except as otherwise
agreed to pursuant to a stipulation or an agreed order or any other order entered by the
Bankruptcy Court. No claim set forth on Schedule D is intended to acknowledge claims of
creditors that are otherwise satisfied or discharged by other entities. The descriptions provided
in Schedule D are intended only as a summary. Reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. The Debtors reserve all
rights to amend Schedule D to the extent that the Debtors determine that any claims associated
with such agreements should be reported on Schedule D. Nothing herein shall be construed as
an admission by the Debtors of the legal rights of a claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify a claim or contract.

       21.       Schedule E/F. The Debtors’ analysis of potential priority claims is ongoing, and
any amounts listed as priority claims on Schedule E/F remain subject to such analysis.
Amendments will be made to Schedule E/F as necessary. Although reasonable efforts have been
made to identify the date of incurrence of each claim, determining the date upon which each
claim on Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive,
and therefore, the Debtors either do not list a date or list “various” for the date for each claim on
Schedule E/F.

       Schedule E/F may contain potential claims on account of pending litigation involving the
Debtors. Any potential claim associated with any such pending litigation is marked as


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contingent, unliquidated and disputed in the Schedules and Statements. Some of the potential
litigation listed on Schedule E/F may be subject to subordination pursuant to section 510 of the
Bankruptcy Code. In addition, workers’ compensation claims that are covered in full under the
Debtors’ insurance policies are not included on Schedule E/F. Any information contained in
Schedule E/F with respect to pending or potential litigation is not a binding representation of the
Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.

       Schedule E/F reflects prepetition amounts owing to counterparties to executory contracts
and unexpired leases. Such prepetition amounts, however, may be paid in connection with the
assumption, or assumption and assignment, of executory contracts and unexpired leases.
Schedule E/F does not include potential rejection damage claims, if any, of the counterparties to
executory contracts and unexpired leases that may be rejected in the future.

        Pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition Employee
Wages, Benefits, and Other Compensation Obligations and (B) Maintain the Compensation and
Benefits Programs, and (II) Granting Related Relief [D.I. 50] (the “Wages Order”), the Debtors
were authorized to pay, and did pay, certain pre-petition claims for employee wages and other
related obligations. To the extent parties were paid pre-petition amounts owed to such parties
pursuant to the authority granted in the Wages Order, such parties are not listed in the Schedules.

       Likewise, pursuant to the Final Order Authorizing the Debtors to (I) Pay Certain
Prepetition Taxes and Fees, and (II) Granting Related Relief [D.I. 129] (the “Tax Order”), the
Debtors were authorized to pay, and did pay, certain pre-petition claims for outstanding taxes
and fees. To the extent parties were paid prepetition amounts pursuant to the authority granted in
the Tax Order, such parties are not listed in the Schedules.

         19. Schedule G. Although reasonable efforts have been made to ensure the accuracy
of Schedule G, inadvertent errors may have occurred. Certain information, such as the contact
information of the counterparty, may not be included where such information could not be
obtained using reasonable efforts. Listing a contract or agreement on Schedule G does not
constitute an admission that such contract or agreement was an executory contract or unexpired
lease as of the Petition Date, or that it is valid or enforceable. The Debtors hereby reserve all
rights to dispute or challenge the validity, status or enforceability of any contracts, agreements or
leases set forth on Schedule G, including contracts, agreements or leases that may have expired
or may have been modified, amended, and supplemented from time to time by various
amendments, restatements, waivers, estoppel certificates, letters and other documents that may
not be listed on Schedule G, and to amend or supplement Schedule G as necessary. Certain of
the leases and contracts listed on Schedule G may contain certain renewal options, guarantees of
payment, indemnifications, options to purchase, rights of first refusal and other miscellaneous
rights. Such rights, powers, duties and obligations are not set forth separately on Schedule G.
The Debtors reserve all rights with respect to such agreements.

        Certain of the contracts and agreements listed on Schedule G may consist of several
parts, including but not limited to, purchase orders, amendments, restatements, waivers, letters
and other documents that may not be listed on Schedule G or that may be listed as a single entry.
In some cases, the same vendor or provider may appear multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and such

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supplier or provider. The Debtors expressly reserve their rights to challenge whether such
related materials constitute an executory contract, a single contract, or multiple, severable or
separate contracts. Certain of the executory agreements may not have been memorialized in
writing and could be subject to dispute. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as subordination
agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
and confidentiality agreements. Such documents may not be set forth on Schedule G. The
Debtors also reserve all rights to dispute or challenge the characterization of the structure of any
transaction, or any document or instrument related to a creditor’s claim. Further, the Debtors
reserve all rights to later amend the Schedules and Statements to the extent that additional
information regarding the Debtor obligor to an executory contract becomes available.

        Omission of a contract or agreement from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The
Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
agreements are not impaired by the omission. Any and all of the Debtors’ rights, claims, and
causes of action regarding the contracts and agreements listed on Schedule G are reserved and
preserved. Schedule G may be amended at any time to add any omitted contract, agreement or
lease.

        20. Schedule H. For ease of review and user-friendliness, Schedule H for each Debtor
contains a list of co-obligors for all of the Debtors and a description of the relevant obligations,
and is not limited to specific debts of the Debtor. The Debtors have not listed any litigation-
related co-defendants on Schedule H. The Debtors also may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements. The Debtors reserve all rights to amend
the Schedules to the extent that additional guarantees are identified or such guarantees are
discovered to have expired or be unenforceable.

        Neither the Debtors, their agents, nor their attorneys guarantee or warrant the accuracy,
the completeness, or correctness of the data that is provided herein or in the Schedules and
Statements, and neither are they liable for any loss or injury arising out of, or caused in whole or
in part by, the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information herein. While
every effort has been made to provide accurate and complete information herein, inadvertent
errors or omissions may exist. The Debtors and their agents, attorneys and advisors expressly do
not undertake any obligation to update, modify, revise or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised or re-
categorized. In no event shall the Debtors or their agents, attorneys and advisors be liable to any
third party for any direct, indirect, incidental, consequential or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors or
damages to business reputation, lost business or lost profits), whether foreseeable or not, and
however caused, even if the Debtors or their agents, attorneys and advisors are advised of the
possibility of such damages.




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  Fill in this information to identify the case:
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 Debtor name: Diamond Comic Distributors, Inc.
 United States Bankruptcy Court for the Baltimore Division, District of Maryland                                                                                                      Check if this is an amended filing
 Case number (If known): 25-10308


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if
known).

 Part 1:            Income

 1. Gross revenue from business

            None
                                                                                                                                                   Sources of revenue                           Gross revenue
              Identify the beginning and ending dates of the debtor's fiscal year, which may be a calendar year
                                                                                                                                                   Check all that apply                         (before deductions and exclusions)

                                                                                                                                                    ✔   Operating a business
              From the beginning of the fiscal year               From            01/01/2025               to         01/13/2025
                                                                                                                                                                                               $6,772,035.47
              to filing date:                                                     MM / DD /YYYY                       MM / DD /YYYY                      Other

                                                                                                                                                    ✔   Operating a business
                                                                  From            01/01/2024               to         12/31/2024
                                                                                                                                                                                               $326,409,309.99
              For prior year:                                                     MM / DD /YYYY                       MM / DD /YYYY                      Other

                                                                                                                                                    ✔   Operating a business
                                                                  From            01/01/2023               to         12/31/2023
                                                                                                                                                                                               $344,892,346.67
              For the year before that:                                           MM / DD /YYYY                       MM / DD /YYYY                      Other



 2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not
     include revenue listed in line 1.

      ✔     None
Part 2:                                            Case
                          List Certain Transfers Made Before25-10308           Doc 154
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3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before filing this case unless the aggregate value of all property transferred to that creditor is less
       than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


                 None
                 Creditor's name and address                                                                Dates                    Total amount or value                          Reasons for payment or transfer
                                                                                                                                                                                    Check all that apply



3.1.             See Attached Exhibit SOFA 3                                                                                          $ 67,571,586.30                                    Secured debt
                 Creditor's name                                                                                                                                                         Unsecured loan repayments
                                                                                                                                                                                         Suppliers or vendors
                 Street                                                                                                                                                                  Services
                                                                                                                                                                                         Other
                 City                                        State                    ZIP Code


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or
       for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
       Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
       agent of the debtor. 11 U.S.C. § 101(31)


                 None
                 Insider's name and address                                                                 Dates                    Total amount or value                          Reasons for payment or transfer



4.1.             See Attached Exhibit SOFA 4                                                                                          $ 12,232,429.00
                 Insider's name


                 Street


                 City                                        State                    ZIP Code
                 Relationship to debtor




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the
       seller. Do not include property listed in line 6

        ✔        None

6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without permission or refused to make a payment at the debtor's
       direction from an account of the debtor because the debtor owed a debt

        ✔        None


Part 3:                   Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity-within 1 year before filing this case


                 None

        Case title                                                   Nature of case                                               Court or agency's name and address                                                              Status of case


7.1 First Factory, Inc. v. Diamond Comic Distributors, Inc.,         Breach of Contract                                           Supreme Court of the State of New York County of Suffolk                                         ✔ Pending
        et al.                                                                                                                    Name                                                                                                On appeal
         Case number                                                                                                              Cromarty Court Complex, 210 Center Drive                                                            Concluded

        628601/2024                                                                                                               Street
                                                                                                                                  Riverhead                                      NY                        11901
                                                                                                                                  City                                           State                     ZIP Code


8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this
       case

        ✔        None
                                                       Case 25-10308                            Doc 154                  Filed 02/18/25                        Page 11 of 54
Part 4:              Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value​ of the gifts to that recipient is less than $1,000

                     None
       Recipient's name and address                                                                   Description of the gifts or contributions                                                     Dates given              Value



9.1 Go Fund Me - Rich Dauer Medical                                                                  Go Fund Me Medical Bills                                                                        03/30/2023               $1,000.00
      Recipient's name


      Street


      City                                           State                  ZIP Code
      Recipient's relationship to debtor
      None



9.2 Go Fund Me - David Gomien Medical                                                                Go Fund Me Medical Bills                                                                        03/19/2024               $1,170.00
      Recipient's name


      Street


      City                                           State                  ZIP Code
      Recipient's relationship to debtor
      None



Part 5:              Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case


      ✔      None


Part 6:              Certain Payments or Transfers

11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another person or entity, including attorneys, that the debtor
     consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


                    None
       Who was paid or who received the transfer?                                                     If not money, describe any property transferred                                               Dates                    Total amount or value



11.1 See Attached Exhibit SOFA 11                                                                                                                                                                                             $4,210,422.19
       Addresses
        Street




          City                                        State                 ZIP Code

       Email or website addresses


       Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or similar device. Do not include transfers already listed on
     this statement.



 ✔     None

13. Transfers not already listed on this statement
     List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2 years before the filing of this case to another person, other than property
     transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



 ✔     None
                                                       Case 25-10308                              Doc 154                Filed 02/18/25                        Page 12 of 54
Part 7:                    Previous Locations

14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



        None
           Address                                                                                                                                                            Dates of occupancy



14.1
           1560 Military Turnpike                                                                                                                                               From       Fall 2015           To      11/30/2024

           Street

            Plattsburgh                                                                   NY                                        12901

            City                                                                          State                                     ZIP Code




14.2
           3920 Peachtree Industrial Blvd, Suite G-E                                                                                                                            From       October 2021        To      March 2023

           Street

            Norcross                                                                      GA                                        30071

            City                                                                          State                                     ZIP Code




Part 8:                    Health Care Bankruptcies

15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
     --- diagnosing or treating injury, deformity, or disease, or
     --- providing any surgical, psychiatric, drug treatment, or obstetric care?
       ✔     None

Part 9:                    Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
            No. Go to Part 9

       ✔ Yes. State the nature of the information collected and retained. Name, email, home address & phone numbers. For Alliance (a division of DCD) customers that apply for credit, the company
            collects SSN, Photo ID, signatures, business licenses, Tax ID, resale exemption forms, and sometimes leases.
            Does the debtor have a privacy policy about that information?
                    No
             ✔ Yes



17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other​ pension or profit-sharing plan made available by
    the debtor as an employee benefit?
            No. Go to Part 10.
       ✔ Yes. Does the debtor serve as plan administrator?

                    No. Go to Part 10.
             ✔ Yes. Fill in below:

             Name of plan                                                                                                                               Employer identification number of the plan
             Diamond Employee Savings And 401(K) Plan Profit Sharing Plan And Trust (ID # 168533-01)                                                    EIN: XX-XXXXXXX
            Has the plan been terminated?
             ✔ No.
                    Yes.



Part 10:                   Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold, moved, or transferred? Include checking, savings, money market, or other financial
     accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives, associations, and other financial institutions.



 ✔      None

19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.



 ✔      None

20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does business.



 ✔      None
                                                        Case 25-10308                   Doc 154                Filed 02/18/25                      Page 13 of 54
Part 11:           Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another


       None

         Owner's name and address                                         Location of the property                                       Description of the property                                      Value



21.1 See Attached Exhibit SOFA 21                                                                                                                                                                                  $
       Name


       Street


       City                            State             ZIP Code



Part 12:           Details About Environmental Information

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
       ✔ No.
         Yes. Provide details below


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an​ environmental law?
       ✔ No.
         Yes. Provide details below


24. Has the debtor notified any governmental unit of any release of hazardous material?
       ✔ No.
         Yes. Provide details below


Part 13:           Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    None

                                                                                 Describe the nature of the business                                     Employer Identification number
         Business name and address
                                                                                                                                                         Do not include Social Security number or ITIN.



25.1    Comic Exporters, Inc.                                                   100% interest in holding Company which owns 50% of the equity in       EIN: XX-XXXXXXX
        Name                                                                    Diamond Comic Distributors (UK), Unlimited                             Dates business existed
        10150 York Rd
                                                                                                                                                         From          07/20/1993                     To Present
        Street
        Cockeysville                            MD             21030
        City                                    State          ZIP Code
        United States
        Country



25.2    Comic Holdings, Inc.                                                    100% interest in holding Company which owns 50% of the equity in       EIN: 52-187457
        Name                                                                    Diamond Comic Distributors (UK), Unlimited                             Dates business existed
        10150 York Rd
                                                                                                                                                         From          07/20/1993                     To Present
        Street
        Cockeysville                            MD             21030
        City                                    State          ZIP Code
        United States
        Country



25.3    Diamond International Galleries, Inc.                                   5% Membership stake in auction house                                   EIN: XX-XXXXXXX
        Name                                                                                                                                           Dates business existed
        10150 York Rd
                                                                                                                                                         From          12/31/1993                     To Present
        Street
        Cockeysville                            MD             21030
        City                                    State          ZIP Code
        United States
        Country
26.                                     Case 25-10308 Doc 154 Filed 02/18/25 Page 14 of 54
      Books, records, and financial statements
      26a.List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
                 None

      26a.1.
                  Name and address                                                                                                      Dates of service

                 Larry Swanson
                                                                                                                                        From        06/22/1987         To Present
                 Name
                 10150 York Rd
                 Street
                 Cockeysville                                             MD                            21030
                 City                                                     State                         ZIP Code
                 United States
                 Country



      26a.2.
                  Name and address                                                                                                      Dates of service

                 Tom Garey
                                                                                                                                        From        11/14/1996         To Present
                 Name
                 10150 York Rd
                 Street
                 Cockeysville                                             MD                            21030
                 City                                                     State                         ZIP Code
                 United States
                 Country



      26a.3.
                  Name and address                                                                                                      Dates of service

                 Henry Priller
                                                                                                                                        From        08/24/1992         To 06/13/2023
                 Name
                 10150 York Rd
                 Street
                 Cockeysville                                             MD                            21030
                 City                                                     State                         ZIP Code
                 United States
                 Country


      26b.List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
      this case.
        ✔        None

      26c.List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
        ✔        None

      26d.List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
      filing this case.
               None


       26d.1.
                    Name and address

                  JPMorgan Chase Bank, N.A.
                  Name
                  P.O. Box 69165
                  Street
                  Baltimore                                               MD                            21264-9165
                  City                                                    State                         ZIP Code
                  United States
                  Country




       26d.2.
                    Name and address

                  Hasbro, Inc
                  Name
                  PO Box 281480
                  Street
                  Atlanta                                                 GA                            30384-1480
                  City                                                    State                         ZIP Code
                  United States
                  Country
                                                      Case 25-10308                      Doc 154                  Filed 02/18/25                     Page 15 of 54
            26d.3.
                         Name and address

                        Ultra Pro International LLC
                        Name
                        PO Box 8201
                        Street
                        Pasadena                                                            CA                                   91109-8201
                        City                                                                State                                ZIP Code
                        United States
                        Country



            26d.4.
                         Name and address

                        Wells Fargo Capital Finance
                        Name
                        333 South Grand Ave, 8th Fl
                        Street
                        Los Angeles                                                         CA                                   90071-1504
                        City                                                                State                                ZIP Code
                        United States
                        Country



27. Inventories
       ✔ No.
          Yes. Give the details about the two most recent inventories.


28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the time of the
    filing of this case.

       Name                                                               Address                                                             Position and nature of any interest                    % of interest, if any


   SG Resource LLC                                                       10150 York Rd, Cockeysville, MD 21030                              Member                                               99


   Steven A. Geppi Revocable Trust                                       10150 York Rd, Cockeysville, MD 21030                              Member                                               1


   Steven Geppi                                                          10150 York Rd, Cockeysville, MD 21030                              CEO, Diamond Comic Distributors


   Chuck Parker                                                          10150 York Rd, Cockeysville, MD 21030                              President, Diamond Comic Distributors


   Larry Swanson                                                         10150 York Rd, Cockeysville, MD 21030                              CFO, Diamond Comic Distributors


                                                                         c/o Getzler Henrich, 295 Madison Ave, 20th Fl., New York, NY
   Robert Gorin                                                          10017                                                              Co-CRO, Diamond Comic Distributors


                                                                         c/o Getzler Henrich, 295 Madison Ave, 20th Fl., New York, NY
   William Henrich                                                       10017                                                              Co-CRO, Diamond Comic Distributors


   Brad Scher                                                            10150 York Rd, Cockeysville, MD 21030                              Independent Director, Diamond Comic Distributors


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control​ of the debtor, or shareholders in control
    of the debtor who no longer hold these positions?
       ✔ No.
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
         No.
       ✔ Yes. Identify below.




                Name and address of recipient                                                       Amount of money or description and value of property             Dates             Reason for providing the value



30.1
         See SOFA 4

         Name




         City                                         State              ZIP Code



         Country
         Relationship to debtor
31. Within 6 years before filing this case,Case     25-10308
                                           has the debtor been a memberDoc    154 Filed
                                                                       of any consolidated       02/18/25
                                                                                           group for tax purposes?      Page 16 of 54
    ✔ No.
       Yes. Identify below.


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
    ✔ No.
       Yes. Identify below.


Part 14:         Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.

      I declare under penalty of perjury that the foregoing is true and correct

       Executed on                            02/17/2025
                                              MM / DD / YYYY

       /s/ Robert Gorin                                                                               Printed name Robert Gorin
       Signature of individual signing on behalf of the debtor


       Position or relationship to debtor                        Chief Restructuring Officer

      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         No
       ✔ Yes
    Case 25-10308    Doc 154   Filed 02/18/25   Page 17 of 54




    STATEMENT OF FINANCIAL AFFAIRS


                         EXHIBIT
                    PART 2, QUESTION 3

CERTAIN PAYMENTS OR TRANSFERS TO CREDITORS
   WITHIN 90 DAYS BEFORE FILING THIS CASE
                                           Case 25-10308                    Doc 154             Filed 02/18/25             Page 18 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                 Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                          Dates
                                                                                                                                                   or Value              or Transfer
   100 PERCENT SOFT LLC                                        124 S. KINGSLEY DRIVE, LOS ANGELES, CA, 90004, USA               11/18/2024   $         60,088.00   SUPPLIERS OR VENDORS
   100 PERCENT SOFT LLC                                        124 S. KINGSLEY DRIVE, LOS ANGELES, CA, 90004, USA                12/2/2024   $         14,100.00   SUPPLIERS OR VENDORS
   100 PERCENT SOFT LLC Total                                                                                                                $         74,188.00
   1000 TOYS, INC.                                             545 8TH AVE, SUITE 1410, NEW YORK, NY, 10018 USA                 11/21/2024   $          2,100.00   SUPPLIERS OR VENDORS
   1000 TOYS, INC.                                             545 8TH AVE, SUITE 1410, NEW YORK, NY, 10018 USA                 11/22/2024   $       122,400.00    SUPPLIERS OR VENDORS
   1000 TOYS, INC.                                             545 8TH AVE, SUITE 1410, NEW YORK, NY, 10018 USA                  12/6/2024   $       110,160.00    SUPPLIERS OR VENDORS
   1000 TOYS, INC. Total                                                                                                                     $       234,660.00
   AARDVARK-VANAHEIM, INC.                                     104 COLLEGE ST, KITCHENER, ON, N2H 5A3, CANADA                   12/20/2024   $          8,981.92   SUPPLIERS OR VENDORS
   AARDVARK-VANAHEIM, INC. Total                                                                                                             $          8,981.92
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               11/14/2024   $          7,301.28   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               11/20/2024   $          3,140.51   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               11/21/2024   $          1,605.24   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               11/26/2024   $          7,400.79   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               11/27/2024   $          2,382.47   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA                12/4/2024   $          3,487.17   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA                12/5/2024   $          3,092.15   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/11/2024   $          5,539.78   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/12/2024   $          5,409.20   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/18/2024   $            249.59   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/19/2024   $          1,947.22   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/24/2024   $          2,222.34   SUPPLIERS OR VENDORS
   ABLAZE, LLC.                                                11222 SE MAIN ST. #22906, PORTLAND, OR, 97269, USA               12/26/2024   $         14,567.30   SUPPLIERS OR VENDORS
   ABLAZE, LLC. Total                                                                                                                        $         58,345.04
   ABOVE THE TREELINE INC                                      P.O. BOX 7378, ANN ARBOR, MI, 48107, USA                         10/16/2024   $            220.00         SERVICES
   ABOVE THE TREELINE INC                                      P.O. BOX 7378, ANN ARBOR, MI, 48107, USA                         10/31/2024   $         19,325.00         SERVICES
   ABOVE THE TREELINE INC                                      P.O. BOX 7378, ANN ARBOR, MI, 48107, USA                         11/13/2024   $            560.00         SERVICES
   ABOVE THE TREELINE INC Total                                                                                                              $         20,105.00
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA   10/30/2024   $         17,876.49   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA    11/6/2024   $          2,365.51   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA   11/14/2024   $          1,287.08   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA   11/20/2024   $          4,587.96   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA   12/11/2024   $          4,947.89   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC                                          15002 NW 107TH AVENUE, UNIT 2, HIALEAH GARDENS, FL, 33018, USA   12/26/2024   $          3,196.81   SUPPLIERS OR VENDORS
   ABYSSE AMERICA INC Total                                                                                                                  $         34,261.74
   AC COMICS                                                   P.O. BOX 394, PLYMOUTH, FL, 32768-0394, USA                      10/16/2024   $          4,198.75   SUPPLIERS OR VENDORS
   AC COMICS                                                   P.O. BOX 394, PLYMOUTH, FL, 32768-0394, USA                      12/12/2024   $          2,292.11   SUPPLIERS OR VENDORS
   AC COMICS                                                   P.O. BOX 394, PLYMOUTH, FL, 32768-0394, USA                      12/19/2024   $          1,853.90   SUPPLIERS OR VENDORS
   AC COMICS Total                                                                                                                           $          8,344.76
   ACCENTURE LLP                                               P.O. BOX 70629, CHICAGO, IL, 60673-0629, USA                     12/17/2024   $         53,048.00         SERVICES
   ACCENTURE LLP Total                                                                                                                       $         53,048.00
                                                               5017-20 5TH FLOOR, 1 AEROCITY, NIBR PARK, ANDHERI-KURLA RD,
   ACK COMICS (AMAR CHITRA KATHA)
                                                               SAKINAKA,MUMBAI, 400072, INDIA                                    11/8/2024   $           106.00    SUPPLIERS OR VENDORS
                                                               5017-20 5TH FLOOR, 1 AEROCITY, NIBR PARK, ANDHERI-KURLA RD,
   ACK COMICS (AMAR CHITRA KATHA)
                                                               SAKINAKA,MUMBAI, 400072, INDIA                                   11/15/2024   $          3,246.00   SUPPLIERS OR VENDORS
                                                               5017-20 5TH FLOOR, 1 AEROCITY, NIBR PARK, ANDHERI-KURLA RD,
   ACK COMICS (AMAR CHITRA KATHA)
                                                               SAKINAKA,MUMBAI, 400072, INDIA                                   11/22/2024   $          2,180.00   SUPPLIERS OR VENDORS
                                                               5017-20 5TH FLOOR, 1 AEROCITY, NIBR PARK, ANDHERI-KURLA RD,
   ACK COMICS (AMAR CHITRA KATHA)
                                                               SAKINAKA,MUMBAI, 400072, INDIA                                   11/29/2024   $          1,702.00   SUPPLIERS OR VENDORS
                                                               5017-20 5TH FLOOR, 1 AEROCITY, NIBR PARK, ANDHERI-KURLA RD,
   ACK COMICS (AMAR CHITRA KATHA)
                                                               SAKINAKA,MUMBAI, 400072, INDIA                                   12/27/2024   $         1,494.00    SUPPLIERS OR VENDORS
   ACK COMICS (AMAR CHITRA KATHA) Total                                                                                                      $         8,728.00
   ACRYLICOS VALLEJO, S.L.                                     P.O. BOX 33708800, BARCELONA, SPAIN                              10/25/2024   $        72,026.12    SUPPLIERS OR VENDORS
   ACRYLICOS VALLEJO, S.L.                                     P.O. BOX 33708800, BARCELONA, SPAIN                              12/27/2024   $        68,326.05    SUPPLIERS OR VENDORS
   ACRYLICOS VALLEJO, S.L. Total                                                                                                             $       140,352.17
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     10/17/2024   $           802.99    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     10/24/2024   $           381.46    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     10/31/2024   $           947.57    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                      11/7/2024   $           447.38    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     11/14/2024   $           870.61    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     11/21/2024   $           563.15    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     11/27/2024   $         2,278.91    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                      12/5/2024   $         1,620.01    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     12/19/2024   $         1,572.67    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT                                    463 E MAIN STREET, UNIONTOWN, PA, 15401, USA                     12/26/2024   $           486.23    SUPPLIERS OR VENDORS
   ACTION LAB ENTERTAINMENT Total                                                                                                            $         9,970.98
   ADP INSTANT FUNDING                                         1 ADP BLVD, ROSELAND, NJ 07068                                   10/21/2024   $        10,000.00    SUPPLIERS OR VENDORS
   ADP INSTANT FUNDING                                         1 ADP BLVD, ROSELAND, NJ 07068                                   11/18/2024   $         5,000.00    SUPPLIERS OR VENDORS
   ADP INSTANT FUNDING                                         1 ADP BLVD, ROSELAND, NJ 07068                                   12/18/2024   $         5,000.00    SUPPLIERS OR VENDORS
   ADP INSTANT FUNDING                                         1 ADP BLVD, ROSELAND, NJ 07068                                   12/19/2024   $        10,000.00    SUPPLIERS OR VENDORS
   ADP INSTANT FUNDING                                         1 ADP BLVD, ROSELAND, NJ 07068                                    1/8/2025    $         5,000.00    SUPPLIERS OR VENDORS
   ADP INSTANT FUNDING Total                                                                                                                 $        35,000.00
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               10/18/2024   $         5,897.65          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               10/25/2024   $           117.70          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA                11/1/2024   $           140.75          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA                11/8/2024   $           102.45          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               11/15/2024   $         7,743.10          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               11/25/2024   $           102.45          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               11/29/2024   $           187.85          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA                12/6/2024   $            93.30          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA               12/27/2024   $         8,230.43          SERVICES
   ADP, INC.                                                   P.O. BOX 830272, PHILADELPHIA, PA, 19182-0272, USA                1/3/2025    $            64.60          SERVICES
   ADP, INC. Total                                                                                                                           $        22,680.28
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             10/16/2024   $         5,253.36    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             10/23/2024   $         1,113.23    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             10/30/2024   $         1,453.66    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA              11/6/2024   $        10,795.03    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             11/13/2024   $         1,315.33    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             11/20/2024   $         4,877.85    SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA             11/26/2024   $           515.16    SUPPLIERS OR VENDORS


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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                          Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                      Dates
                                                                                                                                            or Value              or Transfer
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA         12/4/2024   $        1,869.80   SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA        12/11/2024   $        7,547.31   SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA        12/18/2024   $        1,077.89   SUPPLIERS OR VENDORS
   AHOY COMICS                                                 499 S. WARREN ST. STE. 612, SYRACUSE, NY, 13202, USA        12/24/2024   $        2,816.51   SUPPLIERS OR VENDORS
   AHOY COMICS Total                                                                                                                    $       38,635.13
   AIREIT OPERATING PARTNERSHIP                                1200 17TH STREET STE 2900, DENVER, CO, 80202, USA            11/4/2024   $      194,959.99         SERVICES
   AIREIT OPERATING PARTNERSHIP                                1200 17TH STREET STE 2900, DENVER, CO, 80202, USA            12/2/2024   $      194,959.99         SERVICES
   AIREIT OPERATING PARTNERSHIP                                1200 17TH STREET STE 2900, DENVER, CO, 80202, USA            1/8/2025    $      196,021.97         SERVICES
   AIREIT OPERATING PARTNERSHIP Total                                                                                                   $      585,941.95
   ALDERAC ENT. GROUP, INC                                     555 N. EL CAMINO REAL, SAN CLEMENTE, CA, 92672, USA         10/17/2024   $        2,618.00   SUPPLIERS OR VENDORS
   ALDERAC ENT. GROUP, INC                                     555 N. EL CAMINO REAL, SAN CLEMENTE, CA, 92672, USA         10/25/2024   $       37,441.12   SUPPLIERS OR VENDORS
   ALDERAC ENT. GROUP, INC                                     555 N. EL CAMINO REAL, SAN CLEMENTE, CA, 92672, USA         11/14/2024   $        6,546.13   SUPPLIERS OR VENDORS
   ALDERAC ENT. GROUP, INC                                     555 N. EL CAMINO REAL, SAN CLEMENTE, CA, 92672, USA         11/18/2024   $       28,855.38   SUPPLIERS OR VENDORS
   ALDERAC ENT. GROUP, INC                                     555 N. EL CAMINO REAL, SAN CLEMENTE, CA, 92672, USA         12/11/2024   $       10,929.81   SUPPLIERS OR VENDORS
   ALDERAC ENT. GROUP, INC Total                                                                                                        $       86,390.44
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/16/2024   $       15,427.26   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/17/2024   $        1,138.18   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/23/2024   $       12,714.99   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/24/2024   $          363.14   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/30/2024   $       10,274.41   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            10/31/2024   $        1,642.32   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA             11/6/2024   $        9,985.17   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA             11/7/2024   $        2,223.50   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            11/13/2024   $       11,836.22   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            11/14/2024   $        4,684.00   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            11/20/2024   $       16,818.26   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            11/26/2024   $       13,619.58   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            11/27/2024   $          861.20   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA             12/4/2024   $        7,729.54   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA             12/5/2024   $        1,824.22   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/11/2024   $       16,087.78   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/12/2024   $        3,657.41   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/18/2024   $        3,682.37   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/19/2024   $        3,497.03   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/24/2024   $       13,546.80   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA            12/26/2024   $        3,055.95   SUPPLIERS OR VENDORS
   ALIEN BOOKS                                                 41 NE 107TH STREET, MIAMI SHORES, FL, 33161, USA             1/6/2025    $          194.43   SUPPLIERS OR VENDORS
   ALIEN BOOKS Total                                                                                                                    $      154,863.76
   ALLOY SOFTWARE, INC.                                        P.O. BOX 355, EAST HANOVER, NJ, 07936, USA                  11/22/2024   $       10,668.00         SERVICES
   ALLOY SOFTWARE, INC. Total                                                                                                           $       10,668.00
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 10/16/2024   $          794.05   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 10/23/2024   $        3,817.05   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 10/30/2024   $          785.79   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                  11/6/2024   $          280.64   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 11/13/2024   $          700.55   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 11/20/2024   $        1,455.35   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 11/26/2024   $        6,315.03   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                  12/4/2024   $        2,086.05   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 12/11/2024   $        1,075.92   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 12/18/2024   $        3,823.83   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS                              1411 CHEROKEE LANE, BEL AIR, MD, 21015, USA                 12/24/2024   $        1,309.05   SUPPLIERS OR VENDORS
   AMERICAN MYTHOLOGY PRODUCTIONS Total                                                                                                 $       22,443.31
   AMIGO GAMES INC                                             P.O. BOX 600, GRANTSVILLE, MD, 21536, USA                   10/25/2024   $        2,997.60   SUPPLIERS OR VENDORS
   AMIGO GAMES INC                                             P.O. BOX 600, GRANTSVILLE, MD, 21536, USA                   10/28/2024   $        4,305.30   SUPPLIERS OR VENDORS
   AMIGO GAMES INC                                             P.O. BOX 600, GRANTSVILLE, MD, 21536, USA                   11/25/2024   $        6,118.08   SUPPLIERS OR VENDORS
   AMIGO GAMES INC Total                                                                                                                $       13,420.98
   ANSON LOGISTICS ASSETS, LLC                                 2 SUN COURT, SUITE 400 PEACHTREE CORNERS, GA 30092           11/1/2024   $       39,846.17         SERVICES
   ANSON LOGISTICS ASSETS, LLC                                 2 SUN COURT, SUITE 400 PEACHTREE CORNERS, GA 30092           12/2/2024   $       40,685.95         SERVICES
   ANSON LOGISTICS ASSETS, LLC                                 2 SUN COURT, SUITE 400 PEACHTREE CORNERS, GA 30092          12/20/2024   $        3,984.62         SERVICES
   ANSON LOGISTICS ASSETS, LLC                                 2 SUN COURT, SUITE 400 PEACHTREE CORNERS, GA 30092           1/2/2025    $       39,846.17         SERVICES
   ANSON LOGISTICS ASSETS, LLC Total                                                                                                    $      124,362.91
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            10/17/2024   $        2,286.32   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            10/24/2024   $        1,677.50   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            10/31/2024   $          605.89   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA             11/7/2024   $        7,283.31   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            11/14/2024   $          178.75   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            11/21/2024   $        1,499.81   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            11/27/2024   $        1,773.12   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA             12/5/2024   $        5,251.95   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            12/12/2024   $        1,974.12   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            12/19/2024   $        3,327.84   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC                                         4334 PARKWOOD DRIVE, SAN ANTONIO, TX, 78218, USA            12/26/2024   $        2,990.67   SUPPLIERS OR VENDORS
   ANTARCTIC PRESS INC Total                                                                                                            $       28,849.28
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           10/16/2024   $       67,325.84   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           10/18/2024   $      183,647.61   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           10/25/2024   $      121,356.12   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           10/28/2024   $       42,926.77   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA            11/5/2024   $      133,341.12   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           11/13/2024   $      132,585.68   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           11/18/2024   $      122,921.81   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA           11/25/2024   $      127,894.41   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA            12/2/2024   $      179,879.84   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE)                                            P.O. BOX 855917, MINNEAPOLIS, MN, 55485-5917, USA            12/6/2024   $       76,895.93   SUPPLIERS OR VENDORS
   ARA, INC. (WIRE) Total                                                                                                               $    1,188,775.13
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                 10/24/2024   $       31,517.01   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                 10/31/2024   $      113,877.29   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                  11/1/2024   $      177,362.57   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                 11/12/2024   $       16,751.63   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                 11/18/2024   $          490.00   SUPPLIERS OR VENDORS


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Diamond Comic Distributors, Inc.
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                                                                                                                                             Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                       Dates
                                                                                                                                               or Value              or Transfer
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                  11/22/2024   $        278,042.12   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                   12/9/2024   $          4,165.81   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                  12/13/2024   $          2,163.06   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                  12/23/2024   $        167,100.82   SUPPLIERS OR VENDORS
   ARCANE TINMEN                                               BJOERNHOLMS ALLE 4-6, VIBY J, 8260, DENMARK                  12/27/2024   $            456.86   SUPPLIERS OR VENDORS
   ARCANE TINMEN Total                                                                                                                   $        791,927.17
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  10/18/2024   $          1,226.49         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  10/28/2024   $          3,535.34         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                   11/8/2024   $          7,513.73         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  11/15/2024   $          1,152.67         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                   12/9/2024   $            342.33         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  12/16/2024   $            637.79         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  12/23/2024   $            820.30         SERVICES
   ARCBEST                                                     2080 DUNN AVE, MEMPHIS, TN, 38114-4617, USA                  12/30/2024   $          2,630.16         SERVICES
   ARCBEST Total                                                                                                                         $         17,858.81
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     10/17/2024   $          2,964.44   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     10/31/2024   $         11,068.14   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                      11/6/2024   $          4,339.47   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                      11/7/2024   $          1,755.66   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     11/14/2024   $          6,175.77   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     11/21/2024   $          2,121.58   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     11/27/2024   $         12,264.53   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                      12/5/2024   $          2,391.43   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     12/12/2024   $          6,241.11   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     12/19/2024   $          6,670.95   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC                               629 FIFTH AVENUE, PELHAM, NY, 10803, USA                     12/26/2024   $          5,463.70   SUPPLIERS OR VENDORS
   ARCHIE COMIC PUBLICATIONS INC Total                                                                                                   $         61,456.78
   ARETE ADVISORS LLC                                          P.O. BOX 919860, ORLANDO, FL, 32891, USA                      11/8/2024   $          7,420.00         SERVICES
   ARETE ADVISORS LLC                                          P.O. BOX 919860, ORLANDO, FL, 32891, USA                      12/9/2024   $          7,420.00         SERVICES
   ARETE ADVISORS LLC Total                                                                                                              $         14,840.00
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                     10/23/2024   $            148.79   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                      11/6/2024   $            200.45   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                     11/20/2024   $            143.80   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                     12/11/2024   $            101.34   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                     12/18/2024   $            250.02   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                     12/24/2024   $            337.31   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC                               44 RACE STREET, SAN JOSE, CA, 95126, USA                      1/6/2025    $         11,465.00   SUPPLIERS OR VENDORS
   ART BOUTIKI ENTERTAINMENT LLC Total                                                                                                   $         12,646.71
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             10/16/2024   $          1,277.79   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             10/23/2024   $            122.85   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             10/30/2024   $            976.45   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA              11/6/2024   $            160.64   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             11/20/2024   $            527.99   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             11/26/2024   $          3,130.16   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             12/11/2024   $          3,138.03   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             12/18/2024   $            148.30   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC                              1359 BROADWAY, STE 800, NEW YORK, NY, 10018, USA             12/24/2024   $            101.56   SUPPLIERS OR VENDORS
   ARTISTS WRITERS & ARTISANS INC Total                                                                                                  $          9,583.77
   ASMADI GAMES                                                160 CAMBRIDGE ST, BURLINGTON, MA, 1803, USA                  11/29/2024   $          8,166.40   SUPPLIERS OR VENDORS
   ASMADI GAMES Total                                                                                                                    $          8,166.40
   ATLAS GAMES ATTN: ACCOUNTS RECEIVABLES                      PROCTOR, MN, 55810, USA                                      10/30/2024   $         11,738.06   SUPPLIERS OR VENDORS
   ATLAS GAMES ATTN: ACCOUNTS RECEIVABLES                      PROCTOR, MN, 55810, USA                                      11/13/2024   $            384.74   SUPPLIERS OR VENDORS
   ATLAS GAMES ATTN: ACCOUNTS RECEIVABLES                      PROCTOR, MN, 55810, USA                                      11/26/2024   $         12,393.69   SUPPLIERS OR VENDORS
   ATLAS GAMES ATTN: ACCOUNTS RECEIVABLES                      PROCTOR, MN, 55810, USA                                      12/24/2024   $         10,345.22   SUPPLIERS OR VENDORS
   ATLAS GAMES ATTN: ACCOUNTS RECEIVABLES Total                                                                                          $         34,861.71
   AVATAR PRESS INC.                                           515 N. CENTURY BLVD., RANTOUL, IL, 61866, USA                10/30/2024   $          1,917.80   SUPPLIERS OR VENDORS
   AVATAR PRESS INC.                                           515 N. CENTURY BLVD., RANTOUL, IL, 61866, USA                 11/4/2024   $         25,113.28   SUPPLIERS OR VENDORS
   AVATAR PRESS INC.                                           515 N. CENTURY BLVD., RANTOUL, IL, 61866, USA                11/27/2024   $         22,070.28   SUPPLIERS OR VENDORS
   AVATAR PRESS INC.                                           515 N. CENTURY BLVD., RANTOUL, IL, 61866, USA                12/31/2024   $          1,364.23   SUPPLIERS OR VENDORS
   AVATAR PRESS INC. Total                                                                                                               $         50,465.59
   BALENT, JIM                                                 P.O. BOX 596 BRODHEADSVILLE, PA 18322 US                     12/12/2024   $          8,502.96   SUPPLIERS OR VENDORS
   BALENT, JIM Total                                                                                                                     $          8,502.96
   BALTIMORE COUNTY                                            P.O. BOX 69506, M 152, BALTIMORE, MD, 21264-9506, USA        12/30/2024   $          9,460.55          OTHER
   BALTIMORE COUNTY Total                                                                                                                $          9,460.55
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              10/18/2024   $      1,382,328.96   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN               11/1/2024   $        246,599.00   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN               11/8/2024   $        407,125.44   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              11/15/2024   $        615,408.00   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              11/25/2024   $        361,152.00   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN               12/6/2024   $        215,310.72   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              12/16/2024   $      1,065,545.28   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              12/23/2024   $      2,218,928.84   SUPPLIERS OR VENDORS
   BANDAI CO., LTD                                             1-4-8 KOMAGATA, TAITO-KU, TOKYO, 111-8081 JAPAN              12/31/2024   $        949,988.48   SUPPLIERS OR VENDORS
   BANDAI CO., LTD Total                                                                                                                 $      7,462,386.72
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           10/22/2024   $        119,302.50   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           10/28/2024   $         28,219.44   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                            11/1/2024   $        105,233.20   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                            11/8/2024   $        218,892.53   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           11/15/2024   $        114,830.52   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           11/18/2024   $         47,096.00   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           11/22/2024   $        123,055.22   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                            12/6/2024   $         65,937.00   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                            12/9/2024   $         32,489.16   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           12/13/2024   $         87,090.82   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           12/19/2024   $         11,619.80   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS                                           23 ODYSSEY, IRVINE, CA, 92618, USA                           12/27/2024   $         73,403.96   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS Total                                                                                                               $      1,027,170.15
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                           10/25/2024   $          2,761.64   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                           10/25/2024   $         23,045.58   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                            11/4/2024   $         32,363.60   SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                       Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                                Dates
                                                                                                                                                         or Value              or Transfer
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                      11/6/2024   $         14,400.00   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/13/2024   $         17,991.68   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/14/2024   $          8,347.00   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/20/2024   $         15,180.12   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/21/2024   $          4,079.67   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/26/2024   $          9,811.32   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     11/27/2024   $          2,382.66   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                      12/5/2024   $         13,955.69   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                      12/6/2024   $         71,811.44   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     12/13/2024   $         27,106.58   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                     12/18/2024   $         18,594.74   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                      1/3/2025    $         66,240.16   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.               23 ODYSSEY, IRVINE, CA, 92618, USA                                      1/6/2025    $         67,609.24   SUPPLIERS OR VENDORS
   BANDAI NAMCO TOYS & COLLECTIBLES AMERICA INC.
   Total                                                                                                                                           $       395,681.12
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                 10/17/2024   $         8,645.97    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                 10/23/2024   $         2,375.75    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                  11/6/2024   $         9,109.30    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                 11/13/2024   $         2,283.30    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                 11/27/2024   $         3,033.65    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC                                  500 PRINCIPIO PARKWAY WEST, NORTH EAST, MD, 21901, USA                  12/4/2024   $         1,818.38    SUPPLIERS OR VENDORS
   BATTLEFRONT MINIATURES INC Total                                                                                                                $        27,266.35
                                                               12F., NO 210, SEC. 1 SANMIN RD, BANQIAO DIST., NEW TAIPEI CITY, 220,
   BEAST KINGDOM CO., LTD.
                                                               TAIWAN (ROC)                                                           10/18/2024   $         8,632.00    SUPPLIERS OR VENDORS
   BEAST KINGDOM CO., LTD. Total                                                                                                                   $         8,632.00
   BEAST KINGDOM NORTH AMERICA CO                              1004 HANSON CT, MILIPITAS, CA, 95035, USA                              12/20/2024   $        37,361.00    SUPPLIERS OR VENDORS
   BEAST KINGDOM NORTH AMERICA CO Total                                                                                                            $        37,361.00
   BEELINE CREATIVE INC.                                       P.O. BOX 681571, FRANKLIN, TN, 37068, USA                              10/31/2024   $         3,216.00    SUPPLIERS OR VENDORS
   BEELINE CREATIVE INC.                                       P.O. BOX 681571, FRANKLIN, TN, 37068, USA                               11/7/2024   $         6,138.00    SUPPLIERS OR VENDORS
   BEELINE CREATIVE INC.                                       P.O. BOX 681571, FRANKLIN, TN, 37068, USA                              11/27/2024   $         3,408.00    SUPPLIERS OR VENDORS
   BEELINE CREATIVE INC.                                       P.O. BOX 681571, FRANKLIN, TN, 37068, USA                              12/11/2024   $         2,736.00    SUPPLIERS OR VENDORS
   BEELINE CREATIVE INC. Total                                                                                                                     $        15,498.00
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  10/16/2024   $           636.62    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  10/23/2024   $         4,047.44    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  10/30/2024   $           287.25    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                   11/6/2024   $         3,356.54    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  11/13/2024   $        57,358.10    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  11/20/2024   $           365.26    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  11/26/2024   $         2,179.18    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                   12/4/2024   $           422.00    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  12/11/2024   $           706.16    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  12/18/2024   $           334.90    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC                                  651 N PLANO RD, SUITE 421, RICHARDSON, TX, 75081, USA                  12/24/2024   $           364.45    SUPPLIERS OR VENDORS
   BEHEMOTH ENTERTAINMENT LLC Total                                                                                                                $        70,057.90
   BIG BAD TOY STORE INC.                                      321 SMC DRIVE, SOMERSET, WI, 54025, USA                                10/21/2024   $        45,000.00    SUPPLIERS OR VENDORS
   BIG BAD TOY STORE INC. Total                                                                                                                    $        45,000.00
   BIG BOX PROPERTY OWNER E, LLC C/O EQT EXETER                RADNOR, PA, 19087, USA                                                 10/31/2024   $        19,349.31          SERVICES
   BIG BOX PROPERTY OWNER E, LLC C/O EQT EXETER                RADNOR, PA, 19087, USA                                                 11/27/2024   $        19,349.31          SERVICES
   BIG BOX PROPERTY OWNER E, LLC C/O EQT EXETER Total
                                                                                                                                                   $        38,698.62
   BLM FREIGHT                                                 11469 92ND AVENUE, DELTA, BC, V4C 3K8, CANADA                          10/18/2024   $         1,600.83          SERVICES
   BLM FREIGHT                                                 11469 92ND AVENUE, DELTA, BC, V4C 3K8, CANADA                          10/25/2024   $         1,226.17          SERVICES
   BLM FREIGHT                                                 11469 92ND AVENUE, DELTA, BC, V4C 3K8, CANADA                           11/1/2024   $         1,277.02          SERVICES
   BLM FREIGHT                                                 11469 92ND AVENUE, DELTA, BC, V4C 3K8, CANADA                          12/27/2024   $         6,054.71          SERVICES
   BLM FREIGHT Total                                                                                                                               $        10,158.73
   BLOOD MOON COMICS, LLC                                      P.O. BOX 548, BOILING SPRINGS, PA, 17007-0548, USA                     11/13/2024   $           718.56    SUPPLIERS OR VENDORS
   BLOOD MOON COMICS, LLC                                      P.O. BOX 548, BOILING SPRINGS, PA, 17007-0548, USA                     11/20/2024   $         5,414.50    SUPPLIERS OR VENDORS
   BLOOD MOON COMICS, LLC                                      P.O. BOX 548, BOILING SPRINGS, PA, 17007-0548, USA                      11/6/2024   $         2,015.96    SUPPLIERS OR VENDORS
   BLOOD MOON COMICS, LLC Total                                                                                                                    $         8,149.02
   BLUE ORANGE USA                                             SAN LEANDRO, CA, 94577, USA                                            10/25/2024   $         4,254.40    SUPPLIERS OR VENDORS
   BLUE ORANGE USA                                             SAN LEANDRO, CA, 94577, USA                                            11/21/2024   $           288.00    SUPPLIERS OR VENDORS
   BLUE ORANGE USA                                             SAN LEANDRO, CA, 94577, USA                                            11/27/2024   $         5,075.67    SUPPLIERS OR VENDORS
   BLUE ORANGE USA                                             SAN LEANDRO, CA, 94577, USA                                            12/30/2024   $         6,798.69    SUPPLIERS OR VENDORS
   BLUE ORANGE USA Total                                                                                                                           $        16,416.76
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           11/22/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           11/29/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                            12/6/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           12/13/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           12/18/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           12/24/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC.                                            P.O. BOX 841983, DALLAS, TX, 75284-1983, USA                           12/31/2024   $        20,000.00          SERVICES
   BLUEYONDER, INC. Total                                                                                                                          $       140,000.00
   BLUFF CITY PALLET, LLC                                      P.O. BOX 442, OAKLAND, TN, 38060, USA                                  10/18/2024   $         3,326.40    SUPPLIERS OR VENDORS
   BLUFF CITY PALLET, LLC                                      P.O. BOX 442, OAKLAND, TN, 38060, USA                                  11/18/2024   $         3,326.40    SUPPLIERS OR VENDORS
   BLUFF CITY PALLET, LLC                                      P.O. BOX 442, OAKLAND, TN, 38060, USA                                  12/20/2024   $         3,326.40    SUPPLIERS OR VENDORS
   BLUFF CITY PALLET, LLC Total                                                                                                                    $         9,979.20
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
                                                               FORT WAYNE, IN, 46802, USA
   COMPANY LLC                                                                                                                        10/18/2024   $          1,913.38         SERVICES
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
                                                               FORT WAYNE, IN, 46802, USA
   COMPANY LLC                                                                                                                        10/31/2024   $        39,495.93          SERVICES
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
                                                               FORT WAYNE, IN, 46802, USA
   COMPANY LLC                                                                                                                        11/15/2024   $          1,907.69         SERVICES
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
                                                               FORT WAYNE, IN, 46802, USA
   COMPANY LLC                                                                                                                        11/27/2024   $        39,495.93          SERVICES
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
                                                               FORT WAYNE, IN, 46802, USA
   COMPANY LLC                                                                                                                        12/6/2024    $          1,878.34         SERVICES
   BNC STRATEGIC CAPITAL VENTURES, LLC C/O THE ZER
   COMPANY LLC Total                                                                                                                               $        84,691.27
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA             10/21/2024   $       262,555.51    SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA             10/28/2024   $        55,545.76    SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                              Dates
                                                                                                                                                      or Value              or Transfer
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA           11/4/2024   $        108,495.20   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA          11/12/2024   $         49,328.50   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA          11/18/2024   $        102,782.12   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA          11/25/2024   $        143,954.91   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA           12/2/2024   $        209,243.56   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA          12/11/2024   $        107,568.84   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE)                                   5670 WILSHIRE BLVD. SUITE 400, LOS ANGELES, CA, 90036, USA          12/16/2024   $         25,614.22   SUPPLIERS OR VENDORS
   BOOM ENTERTAINMENT (WIRE) Total                                                                                                              $      1,065,088.62
   BOSS FIGHT STUDIO LLC                                       1050 WASHINGTON STREET, NORWOOD, MA, 02062, USA                     10/30/2024   $          3,298.50   SUPPLIERS OR VENDORS
   BOSS FIGHT STUDIO LLC                                       1050 WASHINGTON STREET, NORWOOD, MA, 02062, USA                     11/13/2024   $          8,765.56   SUPPLIERS OR VENDORS
   BOSS FIGHT STUDIO LLC Total                                                                                                                  $         12,064.06
   BOSTON AMERICA CORP                                         55 SIXTH ROAD, SUITE 8, WOBURN, MA, 01801, USA                       11/6/2024   $          2,145.00   SUPPLIERS OR VENDORS
   BOSTON AMERICA CORP                                         55 SIXTH ROAD, SUITE 8, WOBURN, MA, 01801, USA                      11/13/2024   $          3,088.80   SUPPLIERS OR VENDORS
   BOSTON AMERICA CORP                                         55 SIXTH ROAD, SUITE 8, WOBURN, MA, 01801, USA                      11/14/2024   $          4,940.40   SUPPLIERS OR VENDORS
   BOSTON AMERICA CORP                                         55 SIXTH ROAD, SUITE 8, WOBURN, MA, 01801, USA                      11/21/2024   $          4,108.80   SUPPLIERS OR VENDORS
   BOSTON AMERICA CORP                                         55 SIXTH ROAD, SUITE 8, WOBURN, MA, 01801, USA                       12/5/2024   $          2,720.70   SUPPLIERS OR VENDORS
   BOSTON AMERICA CORP Total                                                                                                                    $         17,003.70
   BROTHERWISE GAMES LLC                                       2110 ARTESIA BLVD, #B-385, REDONDO BEACH, CA, 90278, USA             11/6/2024   $          4,392.44   SUPPLIERS OR VENDORS
   BROTHERWISE GAMES LLC                                       2110 ARTESIA BLVD, #B-385, REDONDO BEACH, CA, 90278, USA            12/31/2024   $          3,883.68   SUPPLIERS OR VENDORS
   BROTHERWISE GAMES LLC Total                                                                                                                  $          8,276.12
   BUYOUT.COM LLC                                              120 PARK AVENUE SEAFORD, DE 19973                                   10/18/2024   $          3,920.00   SUPPLIERS OR VENDORS
   BUYOUT.COM LLC                                              120 PARK AVENUE SEAFORD, DE 19973                                   10/18/2024   $          8,377.00   SUPPLIERS OR VENDORS
   BUYOUT.COM LLC Total                                                                                                                         $         12,297.00
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         10/16/2024   $              2.31         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         10/23/2024   $         19,523.42         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         10/30/2024   $          8,848.84         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA          11/6/2024   $          7,169.73         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         11/13/2024   $            182.09         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         11/20/2024   $          5,490.86         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA          12/9/2024   $          4,936.01         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         12/12/2024   $          1,641.46         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         12/13/2024   $         24,941.54         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA         12/24/2024   $         11,290.94         SERVICES
   CANPAR TRANSPORT LTD                                        201 WEST CREEK BLVD, STE 102, BRAMPTON, ON, L6T 0G8, CANADA          1/1/2025    $          9,817.75         SERVICES
   CANPAR TRANSPORT LTD Total                                                                                                                   $         93,844.95
   CAPSTONE GAMES                                              2 TECHVIEW DRIVE, CINCINATTI, OH, 45215, USA                         11/7/2024   $         84,168.28   SUPPLIERS OR VENDORS
   CAPSTONE GAMES                                              2 TECHVIEW DRIVE, CINCINATTI, OH, 45215, USA                         12/9/2024   $         36,713.64   SUPPLIERS OR VENDORS
   CAPSTONE GAMES Total                                                                                                                         $        120,881.92
   CEACO                                                       250 ROYALL ST, CANTON, MA, 2021, USA                                10/21/2024   $         13,332.50   SUPPLIERS OR VENDORS
   CEACO                                                       250 ROYALL ST, CANTON, MA, 2021, USA                                11/22/2024   $         12,021.00   SUPPLIERS OR VENDORS
   CEACO                                                       250 ROYALL ST, CANTON, MA, 2021, USA                                12/23/2024   $          6,390.00   SUPPLIERS OR VENDORS
   CEACO Total                                                                                                                                  $         31,743.50
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     10/18/2024   $          8,160.97         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                      11/8/2024   $          8,456.00         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     11/22/2024   $          1,405.03         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     11/25/2024   $            442.64         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                      12/9/2024   $            754.00         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     12/13/2024   $         62,565.84         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     12/19/2024   $          6,317.00         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                     12/20/2024   $          2,274.87         SERVICES
   CH ROBINSON WORLDWIDE INC                                   P.O. BOX 9121, MINNEAPOLIS, MN, 55480-9121, USA                      1/2/2025    $            526.81         SERVICES
   CH ROBINSON WORLDWIDE INC Total                                                                                                              $         90,903.16
   CHAOSIUM, INC                                               3450 WOODDALE CT, ANN ARBOR, MI, 48104, USA                         11/11/2024   $         22,507.62   SUPPLIERS OR VENDORS
   CHAOSIUM, INC                                               3450 WOODDALE CT, ANN ARBOR, MI, 48104, USA                         12/11/2024   $         64,668.38   SUPPLIERS OR VENDORS
   CHAOSIUM, INC Total                                                                                                                          $         87,176.00
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  10/22/2024   $         20,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  10/29/2024   $         20,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   11/4/2024   $         50,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  11/14/2024   $         25,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   12/2/2024   $         45,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   12/4/2024   $         40,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  12/13/2024   $         10,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  12/18/2024   $         10,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                  12/24/2024   $         15,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   1/2/2025    $         20,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   1/6/2025    $         10,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004 7849        277 PARK AVENUE NEW YORK, NY 10012                                   1/10/2025   $         40,000.00   SUPPLIERS OR VENDORS
   CHASE PURCHASING CARD ACCT, ACCT 5563 7579 0004
   7849 Total                                                                                                                                   $       305,000.00
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     10/18/2024   $        44,207.11    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     10/25/2024   $        47,654.76    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                      11/8/2024   $        20,120.19    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     11/11/2024   $        28,963.05    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     11/22/2024   $        13,208.27    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     11/25/2024   $        52,972.59    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                      12/2/2024   $         3,526.14    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                      12/9/2024   $        28,511.68    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC                                        P.O. BOX 80255, FORT WAYNE, IN, 46898-0255, USA                     12/23/2024   $        48,975.23    SUPPLIERS OR VENDORS
   CHESSEX MFG. CO. LLC Total                                                                                                                   $       288,139.02
   CITY OF OLIVE BRANCH                                        9200 PIGEON ROOST ROAD, OLIVE BRANCH, MS, 38654, USA                11/29/2024   $       228,976.44          SERVICES
   CITY OF OLIVE BRANCH Total                                                                                                                   $       228,976.44
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        10/23/2024   $         4,510.04          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        10/30/2024   $           471.42          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA         11/6/2024   $           723.05          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        11/13/2024   $         2,532.46          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        11/20/2024   $         2,442.56          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        11/26/2024   $           400.28          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA         12/4/2024   $        11,082.41          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        12/11/2024   $         1,596.86          SERVICES
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA        12/18/2024   $         2,437.48          SERVICES

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                                           Case 25-10308                    Doc 154             Filed 02/18/25                Page 23 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                      Total Amount       Reasons for Payment
                          Creditor Name                                                          Address                               Dates
                                                                                                                                                        or Value             or Transfer
   CLOVER PRESS, LLC                                           12625 HIGH BLUFF DRIVE, SUITE 220, SAN DIEGO, CA, 92130, USA          12/24/2024   $          1,771.34         SERVICES
   CLOVER PRESS, LLC Total                                                                                                                        $         27,967.90
   COFFIN COMICS LLC                                           40 WEST BROWN ROAD, SUITE 105, MESA, AZ, 85201, USA                   11/20/2024   $          2,955.95   SUPPLIERS OR VENDORS
   COFFIN COMICS LLC                                           40 WEST BROWN ROAD, SUITE 105, MESA, AZ, 85201, USA                    12/4/2024   $         16,492.48   SUPPLIERS OR VENDORS
   COFFIN COMICS LLC                                           40 WEST BROWN ROAD, SUITE 105, MESA, AZ, 85201, USA                   12/18/2024   $          3,362.00   SUPPLIERS OR VENDORS
   COFFIN COMICS LLC Total                                                                                                                        $         22,810.43
   COMPOUND FUN INC                                            P.O. BOX 88, REDMOND, WA, 98073, USA                                  10/31/2024   $          8,715.00   SUPPLIERS OR VENDORS
   COMPOUND FUN INC                                            P.O. BOX 88, REDMOND, WA, 98073, USA                                   11/6/2024   $          1,627.50   SUPPLIERS OR VENDORS
   COMPOUND FUN INC                                            P.O. BOX 88, REDMOND, WA, 98073, USA                                  11/20/2024   $            470.00   SUPPLIERS OR VENDORS
   COMPOUND FUN INC                                            P.O. BOX 88, REDMOND, WA, 98073, USA                                  12/18/2024   $          2,128.50   SUPPLIERS OR VENDORS
   COMPOUND FUN INC                                            P.O. BOX 88, REDMOND, WA, 98073, USA                                   1/2/2025    $          1,260.00   SUPPLIERS OR VENDORS
   COMPOUND FUN INC Total                                                                                                                         $         14,201.00
                                                               POLOGONO INDUSTRIAL CASTINEIRAS, NAVE 19, PONTEVEDRA, 36939 BUEU,
   CORVUS BELLI S.L.L.
                                                               SPAIN                                                                 10/24/2024   $          5,131.96   SUPPLIERS OR VENDORS
                                                               POLOGONO INDUSTRIAL CASTINEIRAS, NAVE 19, PONTEVEDRA, 36939 BUEU,
   CORVUS BELLI S.L.L.
                                                               SPAIN                                                                 11/15/2024   $         3,932.19    SUPPLIERS OR VENDORS
   CORVUS BELLI S.L.L. Total                                                                                                                      $         9,064.15
   COSMIC LION PRODUCTIONS                                     4430 DULCINEA CT, WOODLAND HILLS, CA, 91364, USA                      10/24/2024   $         1,840.00    SUPPLIERS OR VENDORS
   COSMIC LION PRODUCTIONS                                     4430 DULCINEA CT, WOODLAND HILLS, CA, 91364, USA                      10/31/2024   $         1,780.00    SUPPLIERS OR VENDORS
   COSMIC LION PRODUCTIONS                                     4430 DULCINEA CT, WOODLAND HILLS, CA, 91364, USA                      11/26/2024   $         3,100.00    SUPPLIERS OR VENDORS
   COSMIC LION PRODUCTIONS                                     4430 DULCINEA CT, WOODLAND HILLS, CA, 91364, USA                      12/19/2024   $         1,040.00    SUPPLIERS OR VENDORS
   COSMIC LION PRODUCTIONS Total                                                                                                                  $         7,760.00
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                       10/16/2024   $        41,585.01    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                       10/23/2024   $        11,138.40    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                       10/31/2024   $         7,575.84    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                        11/6/2024   $        22,684.25    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                       11/14/2024   $        29,440.80    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                        12/6/2024   $        41,569.29    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC.                                     8309 WINDERMERE DRIVE, PASADENA, MD, 21122, USA                       12/23/2024   $        29,440.80    SUPPLIERS OR VENDORS
   CRAFTED PACKAGING, INC. Total                                                                                                                  $       183,434.39
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        10/16/2024   $        16,575.31    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        10/23/2024   $         7,774.94    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        10/30/2024   $         3,773.34    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        10/31/2024   $           162.33    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                         11/6/2024   $         6,639.18    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        11/13/2024   $        13,400.87    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        11/20/2024   $           561.46    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        11/21/2024   $           114.15    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        11/26/2024   $         1,242.99    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        11/27/2024   $         3,892.87    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                         12/4/2024   $           332.30    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                         12/5/2024   $         1,018.82    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        12/11/2024   $           472.04    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        12/12/2024   $           144.71    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        12/18/2024   $           289.60    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                        12/24/2024   $           908.95    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC                                    259 B W FRONT STREET, MISSOULA, MT, 59802, USA                         1/6/2025    $           228.59    SUPPLIERS OR VENDORS
   CREATIVE MIND ENERGY LLC Total                                                                                                                 $        57,532.45
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                          10/18/2024   $         6,508.86         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                          10/28/2024   $         6,508.86         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                           11/4/2024   $         6,508.86         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                           11/8/2024   $         6,535.00         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                          11/15/2024   $         6,561.14         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                          11/25/2024   $        13,070.00         SERVICES
   CRST LOGISTICS INC                                          P.O. BOX 71573, CHICAGO, IL, 60694-1573, USA                           12/6/2024   $         6,508.86         SERVICES
   CRST LOGISTICS INC Total                                                                                                                       $        52,201.58
   CRUSADE FINE ARTS, LTD. {}                                  429 MIDDLE ROAD, BAYPORT, NY, 11705, USA                              10/18/2024   $         1,178.65    SUPPLIERS OR VENDORS
   CRUSADE FINE ARTS, LTD. {}                                  429 MIDDLE ROAD, BAYPORT, NY, 11705, USA                              11/15/2024   $         1,699.32    SUPPLIERS OR VENDORS
   CRUSADE FINE ARTS, LTD. {}                                  429 MIDDLE ROAD, BAYPORT, NY, 11705, USA                              11/22/2024   $        12,400.50    SUPPLIERS OR VENDORS
   CRUSADE FINE ARTS, LTD. {}                                  429 MIDDLE ROAD, BAYPORT, NY, 11705, USA                              12/11/2024   $         3,987.71    SUPPLIERS OR VENDORS
   CRUSADE FINE ARTS, LTD. {} Total                                                                                                               $        19,266.18
   CRYPTOZOIC ENTERTAINMENT                                    23212 MILL CREEK DR, LAGUNA HILLS, CA, 92653, USA                     10/25/2024   $         7,652.00    SUPPLIERS OR VENDORS
   CRYPTOZOIC ENTERTAINMENT                                    23212 MILL CREEK DR, LAGUNA HILLS, CA, 92653, USA                     11/21/2024   $        11,241.25    SUPPLIERS OR VENDORS
   CRYPTOZOIC ENTERTAINMENT                                    23212 MILL CREEK DR, LAGUNA HILLS, CA, 92653, USA                     11/26/2024   $         3,924.00    SUPPLIERS OR VENDORS
   CRYPTOZOIC ENTERTAINMENT Total                                                                                                                 $        22,817.25
   CSN PRESS, LLC                                              22 PEARL STREET, BIDDEFORD, ME, 04005, USA                             11/6/2024   $        11,332.55    SUPPLIERS OR VENDORS
   CSN PRESS, LLC                                              22 PEARL STREET, BIDDEFORD, ME, 04005, USA                            12/18/2024   $        12,141.97    SUPPLIERS OR VENDORS
   CSN PRESS, LLC Total                                                                                                                           $        23,474.52
   CZECH GAMES EDITION, INC                                    MADISON, WI, 53713, USA                                                11/6/2024   $        18,584.16    SUPPLIERS OR VENDORS
   CZECH GAMES EDITION, INC                                    MADISON, WI, 53713, USA                                               11/21/2024   $        13,260.24    SUPPLIERS OR VENDORS
   CZECH GAMES EDITION, INC                                    MADISON, WI, 53713, USA                                               12/31/2024   $        23,085.76    SUPPLIERS OR VENDORS
   CZECH GAMES EDITION, INC Total                                                                                                                 $        54,930.16
   D4 TOYS CO., LTD (WIRE)                                     FLAT B-E,33/F, PLAZA 88, NO.88 YEUNG UK ROAD, TSUEN WAN, HONG KONG,
                                                                                                                                     11/22/2024   $        14,435.28    SUPPLIERS OR VENDORS
   D4 TOYS CO., LTD (WIRE) Total                                                                                                                  $        14,435.28
   DAN VERSSEN GAMES                                           1775 STATE HIGHWAY 26, GRAPEVINE, TX, 76051, USA                      11/11/2024   $         5,881.20    SUPPLIERS OR VENDORS
   DAN VERSSEN GAMES                                           1775 STATE HIGHWAY 26, GRAPEVINE, TX, 76051, USA                      12/11/2024   $         3,995.60    SUPPLIERS OR VENDORS
   DAN VERSSEN GAMES Total                                                                                                                        $         9,876.80
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       10/17/2024   $         2,840.19    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       10/24/2024   $        16,737.01    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                        11/4/2024   $         1,400.93    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                        11/7/2024   $         1,215.48    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       11/18/2024   $         4,083.10    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       11/25/2024   $         8,514.93    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       11/27/2024   $        19,657.10    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                        12/5/2024   $         2,179.29    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC                                       10956 SE MAIN STREET, MILWAUKIE, OR, 97222, USA                       12/12/2024   $         2,519.57    SUPPLIERS OR VENDORS
   DARK HORSE COMICS LLC Total                                                                                                                    $        59,147.60
   DAVID RAY GERHARDT                                          172 SMITH STREET, BROOKLYN, NY, 11201, USA                             11/8/2024   $         4,935.00         SERVICES
   DAVID RAY GERHARDT                                          172 SMITH STREET, BROOKLYN, NY, 11201, USA                            11/11/2024   $         4,230.40         SERVICES

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                       Total Amount       Reasons for Payment
                          Creditor Name                                                         Address                                 Dates
                                                                                                                                                         or Value             or Transfer
   DAVID RAY GERHARDT                                          172 SMITH STREET, BROOKLYN, NY, 11201, USA                             12/18/2024   $          8,768.88         SERVICES
   DAVID RAY GERHARDT                                          172 SMITH STREET, BROOKLYN, NY, 11201, USA                             12/31/2024   $         14,645.36         SERVICES
   DAVID RAY GERHARDT Total                                                                                                                        $         32,579.64
   DAVINCI EDITRICE SRL                                        VIA SANDRO PENNA 24, PERUGIA, ITALY                                    11/12/2024   $          9,867.15   SUPPLIERS OR VENDORS
   DAVINCI EDITRICE SRL Total                                                                                                                      $          9,867.15
   DAVIS VISION, INC , ACCOUNTS RECEIVABLE                     175 E HOUSTON ST, 5TH FLOOR, SAN ANTONIO, TX, 78205, USA               11/27/2024   $          3,253.36        SERVICES
   DAVIS VISION, INC , ACCOUNTS RECEIVABLE                     175 E HOUSTON ST, 5TH FLOOR, SAN ANTONIO, TX, 78205, USA               12/18/2024   $          3,186.96        SERVICES
   DAVIS VISION, INC , ACCOUNTS RECEIVABLE                     175 E HOUSTON ST, 5TH FLOOR, SAN ANTONIO, TX, 78205, USA                1/8/2025    $          2,937.34        SERVICES
   DAVIS VISION, INC , ACCOUNTS RECEIVABLE Total                                                                                                   $          9,377.66
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                10/21/2024   $         56,060.31   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                10/28/2024   $         52,700.88   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                 11/4/2024   $         51,668.30   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                11/12/2024   $         66,333.45   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                11/18/2024   $         73,087.68   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                11/25/2024   $         67,312.95   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                 12/2/2024   $         52,538.28   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                 12/9/2024   $         59,504.94   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                12/17/2024   $         82,413.57   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                12/23/2024   $         58,387.05   SUPPLIERS OR VENDORS
   DC COMICS                                                   1700 BROADWAY, NEW YORK, NY, 10019, USA                                12/30/2024   $         78,027.10   SUPPLIERS OR VENDORS
   DC COMICS Total                                                                                                                                 $       698,034.51
   DEVIR AMERICAS                                              8123 SOUTH ORANGE AVE, ORLANDO, FL, 32809, USA                         10/25/2024   $         13,323.36   SUPPLIERS OR VENDORS
   DEVIR AMERICAS                                              8123 SOUTH ORANGE AVE, ORLANDO, FL, 32809, USA                          12/5/2024   $         10,792.02   SUPPLIERS OR VENDORS
   DEVIR AMERICAS                                              8123 SOUTH ORANGE AVE, ORLANDO, FL, 32809, USA                         12/18/2024   $          1,366.94   SUPPLIERS OR VENDORS
   DEVIR AMERICAS                                              8123 SOUTH ORANGE AVE, ORLANDO, FL, 32809, USA                          1/2/2025    $         14,901.04   SUPPLIERS OR VENDORS
   DEVIR AMERICAS Total                                                                                                                            $         40,383.36
   DEX PROTECTION, LLC                                         402 S. SAN GABRIEL BLVD, SAN GABRIEL, CA, 91776, USA                   11/7/2024    $         18,502.80   SUPPLIERS OR VENDORS
   DEX PROTECTION, LLC                                         402 S. SAN GABRIEL BLVD, SAN GABRIEL, CA, 91776, USA                   12/9/2024    $         16,640.00   SUPPLIERS OR VENDORS
   DEX PROTECTION, LLC Total                                                                                                                       $         35,142.80
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        10/16/2024   $          1,600.27   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        10/23/2024   $            951.52   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        10/30/2024   $          1,105.86   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                         11/6/2024   $          1,007.54   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        11/13/2024   $          1,561.72   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        11/20/2024   $            324.83   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        11/26/2024   $          1,815.51   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                         12/4/2024   $            545.60   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        12/11/2024   $          1,200.68   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        12/18/2024   $          1,054.84   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC.                                          1447 WEST 178TH STREET, GARDENA, CA, 90248, USA                        12/24/2024   $            927.86   SUPPLIERS OR VENDORS
   DIGITAL MANGA INC. Total                                                                                                                        $         12,096.23
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    10/21/2024   $        13,497.00    SUPPLIERS OR VENDORS
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    11/8/2024    $        16,909.20    SUPPLIERS OR VENDORS
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    11/11/2024   $        12,898.50    SUPPLIERS OR VENDORS
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    11/22/2024   $        29,502.00    SUPPLIERS OR VENDORS
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    12/11/2024   $        35,266.70    SUPPLIERS OR VENDORS
                                                               DIRE WOLF DIGITAL, LLC 1865 SOUTH MANOR LANE, LAKEWOOD, CO, 80232,
   DIRE WOLF DIGITAL, LLC
                                                               USA                                                                    12/13/2024   $        20,310.60    SUPPLIERS OR VENDORS
   DIRE WOLF DIGITAL, LLC Total                                                                                                                    $       128,384.00
   DONNELLEY FINANCIAL,LLC                                     140 EAST 45TH STREET, 35TH FLOOR NEW YORK, NY 10017                    1/13/2025    $        76,513.40         SERVICES
   DONNELLEY FINANCIAL,LLC Total                                                                                                                   $        76,513.40
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                    10/18/2024   $         2,843.94    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                    10/25/2024   $         3,088.25    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                     11/1/2024   $         2,058.04    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                    12/20/2024   $        31,413.36    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                    12/27/2024   $         8,213.49    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC.                                7030 RUE SAINT-DENIS, MONTREAL, QC, H2S 2S4, CANADA                     1/6/2025    $           828.47    SUPPLIERS OR VENDORS
   DRAWN & QUARTERLY BOOKS INC. Total                                                                                                              $        48,445.55
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             10/21/2024   $        43,034.08    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             11/12/2024   $        47,759.18    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             11/18/2024   $        49,040.69    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             11/25/2024   $        61,675.20    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             11/27/2024   $          2,342.72   SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             12/5/2024    $          4,751.17   SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             12/12/2024   $          2,623.86   SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             12/23/2024   $        52,997.46    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                             12/30/2024   $        65,507.83    SUPPLIERS OR VENDORS
                                                               3680 WILSHIRE BLVD, STE P04-1420 ANTT: CHIP MOSHER, LOS ANGELES, CA,
   DSTLRY MEDIA
                                                               90010, USA                                                              1/6/2025    $        52,082.60    SUPPLIERS OR VENDORS
   DSTLRY MEDIA Total                                                                                                                              $       381,814.79
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                              10/21/2024   $       182,233.96    SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                              10/28/2024   $        93,328.67    SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                               11/4/2024   $       153,693.69    SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                              11/12/2024   $       101,452.96    SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                              11/18/2024   $       177,817.85    SUPPLIERS OR VENDORS


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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                   Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                             Dates
                                                                                                                                                     or Value              or Transfer
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                          11/25/2024   $        128,772.54   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                           12/2/2024   $        113,857.39   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                           12/9/2024   $         78,478.30   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                          12/16/2024   $        101,656.76   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                          12/23/2024   $        143,772.79   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                          12/30/2024   $        135,638.80   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC.                                        113 GAITHER DR, MT LAUREL, NJ, 08054, USA                           1/6/2025    $        253,634.81   SUPPLIERS OR VENDORS
   DYNAMIC FORCES, INC. Total                                                                                                                  $      1,664,338.52
   E GERBER PRODUCTS, LLC                                      1720 BELMONT AVE, STE C, WINDSOR MILL, MD 21244                    10/25/2024   $         55,762.00   SUPPLIERS OR VENDORS
   E GERBER PRODUCTS, LLC                                      1720 BELMONT AVE, STE C, WINDSOR MILL, MD 21244                    11/15/2024   $         35,613.80   SUPPLIERS OR VENDORS
   E GERBER PRODUCTS, LLC                                      1720 BELMONT AVE, STE C, WINDSOR MILL, MD 21244                    11/29/2024   $         31,775.00   SUPPLIERS OR VENDORS
   E GERBER PRODUCTS, LLC                                      1720 BELMONT AVE, STE C, WINDSOR MILL, MD 21244                    12/13/2024   $         80,000.00   SUPPLIERS OR VENDORS
   E GERBER PRODUCTS, LLC                                      1720 BELMONT AVE, STE C, WINDSOR MILL, MD 21244                    12/27/2024   $          1,625.00   SUPPLIERS OR VENDORS
   E GERBER PRODUCTS, LLC Total                                                                                                                $        204,775.80
   ENESCO LLC                                                  BOX # 26257, 26257 NETWORK PLACE, CHICAGO, IL, 60673-1262, USA      11/8/2024   $          2,092.50   SUPPLIERS OR VENDORS
   ENESCO LLC                                                  BOX # 26257, 26257 NETWORK PLACE, CHICAGO, IL, 60673-1262, USA     11/14/2024   $            141.36   SUPPLIERS OR VENDORS
   ENESCO LLC                                                  BOX # 26257, 26257 NETWORK PLACE, CHICAGO, IL, 60673-1262, USA     11/26/2024   $            830.03   SUPPLIERS OR VENDORS
   ENESCO LLC                                                  BOX # 26257, 26257 NETWORK PLACE, CHICAGO, IL, 60673-1262, USA      12/4/2024   $          4,694.64   SUPPLIERS OR VENDORS
   ENESCO LLC Total                                                                                                                            $          7,758.53
   ENTERTAINMENT EARTH DIST.                                   61 MORELAND ROAD, SIMI VALLEY, CA, 93065, USA                      10/18/2024   $         35,203.74   SUPPLIERS OR VENDORS
   ENTERTAINMENT EARTH DIST.                                   61 MORELAND ROAD, SIMI VALLEY, CA, 93065, USA                      10/23/2024   $          3,205.44   SUPPLIERS OR VENDORS
   ENTERTAINMENT EARTH DIST.                                   61 MORELAND ROAD, SIMI VALLEY, CA, 93065, USA                      10/31/2024   $          6,280.80   SUPPLIERS OR VENDORS
   ENTERTAINMENT EARTH DIST.                                   61 MORELAND ROAD, SIMI VALLEY, CA, 93065, USA                      11/13/2024   $         14,409.29   SUPPLIERS OR VENDORS
   ENTERTAINMENT EARTH DIST.                                   61 MORELAND ROAD, SIMI VALLEY, CA, 93065, USA                      12/11/2024   $          1,113.12   SUPPLIERS OR VENDORS
   ENTERTAINMENT EARTH DIST. Total                                                                                                             $         60,212.39
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    10/18/2024   $         10,297.86         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    10/28/2024   $          4,231.66         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                     11/4/2024   $          4,277.32         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    11/11/2024   $         26,983.25         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    11/22/2024   $          5,196.57         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    11/25/2024   $          3,221.77         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                     12/2/2024   $          3,072.21         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    12/13/2024   $          4,552.99         SERVICES
   EPOST GLOBAL LLC                                            P.O. BOX 996, BEDFORD PARK, IL, 60499-0996, USA                    12/27/2024   $        130,836.74         SERVICES
   EPOST GLOBAL LLC Total                                                                                                                      $        192,670.37
   ERASMUS FOX {}                                              3288 ADAMS AVE, #16297, SAN DIEGO, CA, 92116-9998, USA             11/20/2024   $         20,419.56   SUPPLIERS OR VENDORS
   ERASMUS FOX {} Total                                                                                                                        $         20,419.56
   EVIL HAT PRODUCTIONS LLC C/O FRED HICKS                     SILVER SPRING, MD, 20903, USA                                      10/25/2024   $          5,173.60   SUPPLIERS OR VENDORS
   EVIL HAT PRODUCTIONS LLC C/O FRED HICKS                     SILVER SPRING, MD, 20903, USA                                      11/18/2024   $          7,285.60   SUPPLIERS OR VENDORS
   EVIL HAT PRODUCTIONS LLC C/O FRED HICKS Total                                                                                               $         12,459.20
   EXALTED FUNERAL PRESS                                       6024 N SEACLIFF AVE., MERIDIAN, ID, 83646, USA                      11/4/2024   $          3,537.53   SUPPLIERS OR VENDORS
   EXALTED FUNERAL PRESS                                       6024 N SEACLIFF AVE., MERIDIAN, ID, 83646, USA                     11/15/2024   $         10,225.20   SUPPLIERS OR VENDORS
   EXALTED FUNERAL PRESS                                       6024 N SEACLIFF AVE., MERIDIAN, ID, 83646, USA                     11/25/2024   $          5,898.40   SUPPLIERS OR VENDORS
   EXALTED FUNERAL PRESS                                       6024 N SEACLIFF AVE., MERIDIAN, ID, 83646, USA                     12/23/2024   $          3,614.00   SUPPLIERS OR VENDORS
   EXALTED FUNERAL PRESS Total                                                                                                                 $         23,275.13
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           10/17/2024   $         18,307.77         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           10/18/2024   $         29,857.65         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           10/23/2024   $         11,111.77         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           10/28/2024   $         67,175.40         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA            11/5/2024   $         51,618.32         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA            11/7/2024   $         12,077.70         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           11/15/2024   $         37,999.25         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           11/18/2024   $         35,366.39         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           11/20/2024   $         10,939.28         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           11/25/2024   $         45,132.20         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           11/27/2024   $          6,673.10         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA            12/4/2024   $         12,318.82         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA            12/9/2024   $         26,278.89         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           12/17/2024   $         39,813.24         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           12/19/2024   $          2,883.73         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           12/27/2024   $         59,100.00         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA           12/31/2024   $         24,569.75         SERVICES
   EXPEDITORS INT'L                                            6005 FREEPORT AVENUE, SUITE 102, MEMPHIS, TN, 38141, USA            1/6/2025    $         11,093.75         SERVICES
   EXPEDITORS INT'L Total                                                                                                                      $        502,317.01
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      10/18/2024   $          5,145.52         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      10/28/2024   $          6,285.65         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                       11/4/2024   $          7,637.65         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      11/11/2024   $          5,716.87         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      11/18/2024   $          5,904.58         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      11/25/2024   $          6,882.20         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                       12/2/2024   $          8,383.39         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                       12/9/2024   $          4,661.50         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      12/16/2024   $          7,568.64         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      12/23/2024   $         10,449.65         SERVICES
   EXPRESS SERVICES INC                                        P.O. BOX 535434, ATLANTA, GA, 30353-5434, USA                      12/30/2024   $          9,596.34         SERVICES
   EXPRESS SERVICES INC Total                                                                                                                  $         78,231.99
   EXTENDED PLAY SLL WIRE                                      CALLE SEURA NO 1 NAVE 11, 28840 MEJORADA DEL CAMPO, MADRID SPAIN
                                                                                                                                  12/13/2024   $        32,537.28    SUPPLIERS OR VENDORS
   EXTENDED PLAY SLL WIRE Total                                                                                                                $        32,537.28
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         10/24/2024   $           375.84    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         10/31/2024   $         2,088.00    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA          11/7/2024   $         4,600.24    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         11/14/2024   $         2,037.82    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         11/21/2024   $         1,056.29    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         11/27/2024   $           544.29    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA          12/5/2024   $           518.75    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         12/12/2024   $           298.84    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         12/19/2024   $         1,265.37    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA         12/26/2024   $         1,602.68    SUPPLIERS OR VENDORS
   FAIR SQUARE GRAPHICS LLC                                    608 S. DUNSMUIR AVE, APT. 207, LOS ANGELES, CA, 90036, USA          1/6/2025    $           130.39    SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                            Total Amount       Reasons for Payment
                          Creditor Name                                                            Address                   Dates
                                                                                                                                              or Value             or Transfer
   FAIR SQUARE GRAPHICS LLC Total                                                                                                       $         14,518.51
   FANROLL LLC                                                 3236 ILLINOIS ROAD, FORT WAYNE, IN, 46802, USA              11/11/2024   $         73,331.84   SUPPLIERS OR VENDORS
   FANROLL LLC                                                 3236 ILLINOIS ROAD, FORT WAYNE, IN, 46802, USA              12/11/2024   $         68,804.32   SUPPLIERS OR VENDORS
   FANROLL LLC Total                                                                                                                    $       142,136.16
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             10/18/2024   $         16,761.32   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             10/25/2024   $         16,598.91   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA              11/1/2024   $          8,572.46   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA              11/8/2024   $          9,324.12   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             11/15/2024   $         21,222.32   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             11/22/2024   $          8,000.21   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             11/29/2024   $         26,685.70   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA              12/6/2024   $          3,367.04   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             12/13/2024   $         18,217.93   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS                                         7563 LAKE CITY WAY, NE, SEATTLE, WA, 98115, USA             12/20/2024   $         17,865.62   SUPPLIERS OR VENDORS
   FANTAGRAPHICS BOOKS Total                                                                                                            $       146,615.63
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               10/18/2024   $          5,847.52   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                10/18/2024   $       117,157.36          SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                10/21/2024   $             77.42         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               10/25/2024   $         18,738.94   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                10/25/2024   $         33,278.33         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                10/28/2024   $         17,473.28         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                 11/4/2024   $            374.29         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA                11/4/2024   $         10,039.77   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA                11/8/2024   $          6,649.93   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                 11/8/2024   $         33,430.45         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/11/2024   $            175.46         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               11/11/2024   $         11,141.79   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               11/15/2024   $          6,740.81   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/15/2024   $         20,375.96         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/18/2024   $         39,373.18         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/22/2024   $            254.17         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               11/22/2024   $          7,861.64   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/25/2024   $            238.10         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               11/25/2024   $          4,127.49   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                11/29/2024   $         71,641.76         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA                12/2/2024   $         11,406.07   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                 12/2/2024   $         69,258.87         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                 12/6/2024   $             56.47         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA                12/9/2024   $          9,266.86   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                 12/9/2024   $         29,608.75         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/13/2024   $         15,273.14   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                12/16/2024   $             31.14         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/16/2024   $            195.27   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/20/2024   $          9,733.76   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                12/20/2024   $         43,551.86         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/23/2024   $          9,530.43   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                12/23/2024   $         41,718.66         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/27/2024   $          9,443.42   SUPPLIERS OR VENDORS
   FEDEX FREIGHT                                               P.O. BOX 660481, DALLAS, TX, 75266-0481, USA                12/30/2024   $            186.87         SERVICES
   FEDEX FREIGHT                                               P.O. BOX 10306, PALATINE, IL, 60055-0306, USA               12/30/2024   $          3,800.60   SUPPLIERS OR VENDORS
   FEDEX FREIGHT Total                                                                                                                  $       658,059.82
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               10/18/2024   $            517.30        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               10/21/2024   $            283.30        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               10/25/2024   $            293.06        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                                11/1/2024   $            671.58        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                                11/4/2024   $          1,174.00        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                                11/8/2024   $          3,292.10        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               11/18/2024   $            658.82        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               11/22/2024   $          3,073.00        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               11/25/2024   $            449.38        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                                12/2/2024   $            917.35        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                                12/9/2024   $            787.99        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               12/13/2024   $            186.77        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               12/20/2024   $            491.02        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               12/23/2024   $          2,197.52        SERVICES
   FEDEX FREIGHT DEPT CH                                       PALATINE, IL, 60055-0306, USA                               12/27/2024   $          5,546.17        SERVICES
   FEDEX FREIGHT DEPT CH Total                                                                                                          $         20,539.36
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA            10/18/2024   $          1,363.81        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA            10/25/2024   $          1,118.95        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA             11/1/2024   $          1,297.30        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA             11/4/2024   $          1,519.41        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA             11/8/2024   $            663.22        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA            11/15/2024   $            627.82        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA            11/22/2024   $          1,471.01        SERVICES
   FEDEX FREIGHT, ACCT: #11270162                              P.O. BOX 223125, PITTSBURGH, PA, 15251-2125, USA            11/25/2024   $          1,359.62        SERVICES
   FEDEX FREIGHT, ACCT: #11270162 Total                                                                                                 $          9,421.14
   FIGPIN COLLECT AWESOME INC                                  14 GOODYEAR SUITE 120, IRVINE, CA, 92618, USA               11/14/2024   $          3,945.00   SUPPLIERS OR VENDORS
   FIGPIN COLLECT AWESOME INC                                  14 GOODYEAR SUITE 120, IRVINE, CA, 92618, USA                12/4/2024   $          3,350.00   SUPPLIERS OR VENDORS
   FIGPIN COLLECT AWESOME INC                                  14 GOODYEAR SUITE 120, IRVINE, CA, 92618, USA               12/18/2024   $          3,255.00   SUPPLIERS OR VENDORS
   FIGPIN COLLECT AWESOME INC                                  14 GOODYEAR SUITE 120, IRVINE, CA, 92618, USA               12/31/2024   $          1,860.00   SUPPLIERS OR VENDORS
   FIGPIN COLLECT AWESOME INC Total                                                                                                     $         12,410.00
   FINE COLLECTIBLES CORP                                      1221 S MAIN STREET, LOS ANGELES, CA, 90015-2542, USA         11/7/2024   $          8,783.56   SUPPLIERS OR VENDORS
   FINE COLLECTIBLES CORP                                      1221 S MAIN STREET, LOS ANGELES, CA, 90015-2542, USA        11/29/2024   $         29,994.00   SUPPLIERS OR VENDORS
   FINE COLLECTIBLES CORP                                      1221 S MAIN STREET, LOS ANGELES, CA, 90015-2542, USA         12/6/2024   $          7,451.04   SUPPLIERS OR VENDORS
   FINE COLLECTIBLES CORP Total                                                                                                         $         46,228.60
   FLAT RIVER GROUP, LLC                                       306 REED ST, BELDING, MI, 48809, USA                        10/21/2024   $       101,492.84    SUPPLIERS OR VENDORS
   FLAT RIVER GROUP, LLC                                       306 REED ST, BELDING, MI, 48809, USA                        11/13/2024   $         48,700.82   SUPPLIERS OR VENDORS
   FLAT RIVER GROUP, LLC                                       306 REED ST, BELDING, MI, 48809, USA                         12/4/2024   $         12,744.26   SUPPLIERS OR VENDORS
   FLAT RIVER GROUP, LLC                                       306 REED ST, BELDING, MI, 48809, USA                        12/30/2024   $         72,142.50   SUPPLIERS OR VENDORS
   FLAT RIVER GROUP, LLC Total                                                                                                          $       235,080.42

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                         Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                                  Dates
                                                                                                                                                           or Value              or Transfer
   FLESK PUBLICATIONS LLC                                      2871 MISSION STREET, SANTA CRUZ, CA, 95060, USA                          11/29/2024   $         11,789.40   SUPPLIERS OR VENDORS
   FLESK PUBLICATIONS LLC Total                                                                                                                      $         11,789.40
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            10/17/2024   $         17,881.58   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            10/25/2024   $         25,830.06   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                             11/7/2024   $         14,726.99   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                             11/8/2024   $         23,192.69   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            11/14/2024   $          2,528.19   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            11/15/2024   $         20,665.71   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            11/21/2024   $         12,491.86   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            11/26/2024   $          7,824.24   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                             12/2/2024   $         35,411.94   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            12/11/2024   $         11,699.22   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            12/18/2024   $         18,111.75   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            12/30/2024   $         20,340.41   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                            12/31/2024   $          2,510.18   SUPPLIERS OR VENDORS
   FLEX-PACC, INC.                                             P.O. BOX 623000, INDIANAPOLIS, IN, 46262, USA                             1/2/2025    $          9,556.09   SUPPLIERS OR VENDORS
   FLEX-PACC, INC. Total                                                                                                                             $       222,770.91
   FLYING FROG PRODUCTIONS, LLC                                2518 141ST STREET SW, LYNNWOOD, WA, 98087, USA                           10/18/2024   $          3,248.65   SUPPLIERS OR VENDORS
   FLYING FROG PRODUCTIONS, LLC                                2518 141ST STREET SW, LYNNWOOD, WA, 98087, USA                           10/28/2024   $          3,331.59   SUPPLIERS OR VENDORS
   FLYING FROG PRODUCTIONS, LLC                                2518 141ST STREET SW, LYNNWOOD, WA, 98087, USA                           11/29/2024   $          1,917.31   SUPPLIERS OR VENDORS
   FLYING FROG PRODUCTIONS, LLC Total                                                                                                                $          8,497.55
   FOLDED SPACE EOOD J.K.                                      SOFIA PARK, SOFIA, BULGARIA, 1766, BULGARIA                              11/7/2024    $          3,545.20   SUPPLIERS OR VENDORS
   FOLDED SPACE EOOD J.K.                                      SOFIA PARK, SOFIA, BULGARIA, 1766, BULGARIA                              12/9/2024    $          6,399.40   SUPPLIERS OR VENDORS
   FOLDED SPACE EOOD J.K. Total                                                                                                                      $          9,944.60
   FORKLIFTS ETC {}                                            3684 CHERRY ROAD, MEMPHIS, TN, 38118, USA                                10/28/2024   $          3,697.53         SERVICES
   FORKLIFTS ETC {}                                            3684 CHERRY ROAD, MEMPHIS, TN, 38118, USA                                 11/8/2024   $          1,621.76         SERVICES
   FORKLIFTS ETC {}                                            3684 CHERRY ROAD, MEMPHIS, TN, 38118, USA                                 12/4/2024   $          5,329.91         SERVICES
   FORKLIFTS ETC {}                                            3684 CHERRY ROAD, MEMPHIS, TN, 38118, USA                                12/11/2024   $          2,697.95         SERVICES
   FORKLIFTS ETC {}                                            3684 CHERRY ROAD, MEMPHIS, TN, 38118, USA                                12/31/2024   $            876.17         SERVICES
   FORKLIFTS ETC {} Total                                                                                                                            $         14,223.32
   FORMO TOYS LLC                                              1251 BLOOMFIELD AVE, WHITING, NJ, 08759-2749, USA                        10/17/2024   $          5,565.00   SUPPLIERS OR VENDORS
   FORMO TOYS LLC                                              1251 BLOOMFIELD AVE, WHITING, NJ, 08759-2749, USA                        10/24/2024   $          7,170.00   SUPPLIERS OR VENDORS
   FORMO TOYS LLC Total                                                                                                                              $         12,735.00
                                                               301 SOUTH HILLS VILLAGE DRIVE, SUITE LL200-184, PITTSBURGH, PA, 15241,
   FPG LLC
                                                               USA                                                                      11/4/2024    $         30,015.00   SUPPLIERS OR VENDORS
   FPG LLC Total                                                                                                                                     $         30,015.00
   FRED DISTRIBUTION                                           16761 W BROOKHAVEN COURT, SURPRISE, AZ, 85387, USA                        11/6/2024   $          2,907.78   SUPPLIERS OR VENDORS
   FRED DISTRIBUTION                                           16761 W BROOKHAVEN COURT, SURPRISE, AZ, 85387, USA                       11/26/2024   $          4,851.26   SUPPLIERS OR VENDORS
   FRED DISTRIBUTION                                           16761 W BROOKHAVEN COURT, SURPRISE, AZ, 85387, USA                       12/30/2024   $          5,382.31   SUPPLIERS OR VENDORS
   FRED DISTRIBUTION Total                                                                                                                           $         13,141.35
   FRIGHT-RAGS, INC                                            70 CASCADE DRIVE, ROCHESTER, NY, 14614, USA                              10/16/2024   $            495.00   SUPPLIERS OR VENDORS
   FRIGHT-RAGS, INC                                            70 CASCADE DRIVE, ROCHESTER, NY, 14614, USA                              10/30/2024   $         11,650.00   SUPPLIERS OR VENDORS
   FRIGHT-RAGS, INC                                            70 CASCADE DRIVE, ROCHESTER, NY, 14614, USA                               12/4/2024   $          7,930.00   SUPPLIERS OR VENDORS
   FRIGHT-RAGS, INC                                            70 CASCADE DRIVE, ROCHESTER, NY, 14614, USA                              12/18/2024   $         15,000.00   SUPPLIERS OR VENDORS
   FRIGHT-RAGS, INC                                            70 CASCADE DRIVE, ROCHESTER, NY, 14614, USA                              12/19/2024   $         30,000.00   SUPPLIERS OR VENDORS
   FRIGHT-RAGS, INC Total                                                                                                                            $         65,075.00
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             10/22/2024   $         14,496.00   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             10/25/2024   $         54,565.20   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             10/28/2024   $         51,011.35   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                              11/6/2024   $          6,651.00   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             11/12/2024   $         38,844.00   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             11/15/2024   $        147,760.84   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             11/22/2024   $        290,697.36   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             11/25/2024   $        190,107.92   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             11/29/2024   $         20,930.20   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                              12/5/2024   $          6,503.47   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                              12/6/2024   $         55,996.20   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             12/17/2024   $         46,707.60   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             12/19/2024   $          6,215.16   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             12/20/2024   $        100,794.20   SUPPLIERS OR VENDORS
   FUNKO LLC                                                   P.O. BOX 677876, DALLAS, TX, 75267-7876, USA                             12/27/2024   $         36,355.20   SUPPLIERS OR VENDORS
   FUNKO LLC Total                                                                                                                                   $      1,067,635.70
   GAMELYN GAMES                                               18933 EAST SUITE 103 SAN TAN BLVD, QUEEN CREEK, AZ, 85142, USA           11/11/2024   $         10,275.30   SUPPLIERS OR VENDORS
   GAMELYN GAMES                                               18933 EAST SUITE 103 SAN TAN BLVD, QUEEN CREEK, AZ, 85142, USA           12/11/2024   $          6,675.90   SUPPLIERS OR VENDORS
   GAMELYN GAMES Total                                                                                                                               $         16,951.20
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              10/17/2024   $            387.32   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              10/23/2024   $          3,830.60   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              10/30/2024   $            780.94   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              11/13/2024   $          2,025.28   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              11/20/2024   $          1,843.58   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              11/21/2024   $          1,053.36   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              11/26/2024   $         10,975.23   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              11/27/2024   $          3,136.42   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                               12/4/2024   $          3,253.96   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              12/11/2024   $          3,208.16   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              12/19/2024   $          9,272.94   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                              12/31/2024   $            538.72   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN                                   6211 E. HOLMES RD., MEMPHIS, TN, 38141, USA                               1/2/2025    $            201.96   SUPPLIERS OR VENDORS
   GAMES WORKSHOP RETAIL, IN Total                                                                                                                   $         40,508.47
   GATHERES' TAVERN PTE LTD WIRE                               120 HILLVIEW AVE, SINGAPORE, 669594, SINGAPORE                           11/4/2024    $         77,750.00   SUPPLIERS OR VENDORS
   GATHERES' TAVERN PTE LTD WIRE Total                                                                                                               $         77,750.00
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  10/21/2024   $          2,564.25         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  10/21/2024   $          2,933.59         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  10/25/2024   $            576.28         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                   11/1/2024   $          2,679.34         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                   11/8/2024   $          2,838.09         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  11/11/2024   $          3,861.82         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  11/18/2024   $            861.82         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  11/22/2024   $            870.46         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA                  11/25/2024   $          1,500.00         SERVICES

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount       Reasons for Payment
                          Creditor Name                                                          Address                             Dates
                                                                                                                                                      or Value             or Transfer
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             11/29/2024   $          1,500.00         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA              12/2/2024   $          3,325.16         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/13/2024   $          1,500.00         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/13/2024   $          4,559.89         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/16/2024   $          2,214.94         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/20/2024   $          1,082.14         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/23/2024   $          1,500.00         SERVICES
   GEODIS USA, INC                                             62216 COLLECTIONS CENTER DRIVE, CHICAGO, IL, 60693, USA             12/27/2024   $            738.70         SERVICES
   GEODIS USA, INC Total                                                                                                                        $         35,106.48
   GEORGIA POWER                                               1453 HWY 120 LAWRENCEVILLE, GA 30043                                10/23/2024   $          4,068.37        SERVICES
   GEORGIA POWER                                               1453 HWY 120 LAWRENCEVILLE, GA 30043                                11/22/2024   $          3,768.16        SERVICES
   GEORGIA POWER                                               1453 HWY 120 LAWRENCEVILLE, GA 30043                                12/26/2024   $          3,859.31        SERVICES
   GEORGIA POWER Total                                                                                                                          $         11,695.84
   GILMORES GLORIOUS GOODS, LLC                                2025 NORTH LINCOLN STREET. BURBANK, CA, 91504, USA                  10/17/2024   $          3,984.00   SUPPLIERS OR VENDORS
   GILMORES GLORIOUS GOODS, LLC                                2025 NORTH LINCOLN STREET. BURBANK, CA, 91504, USA                  11/20/2024   $          4,736.00   SUPPLIERS OR VENDORS
   GILMORES GLORIOUS GOODS, LLC                                2025 NORTH LINCOLN STREET. BURBANK, CA, 91504, USA                   12/4/2024   $          2,660.00   SUPPLIERS OR VENDORS
   GILMORES GLORIOUS GOODS, LLC                                2025 NORTH LINCOLN STREET. BURBANK, CA, 91504, USA                  12/18/2024   $          4,388.00   SUPPLIERS OR VENDORS
   GILMORES GLORIOUS GOODS, LLC                                2025 NORTH LINCOLN STREET. BURBANK, CA, 91504, USA                  12/31/2024   $          3,916.00   SUPPLIERS OR VENDORS
   GILMORES GLORIOUS GOODS, LLC Total                                                                                                           $         19,684.00
   GLOBAL EXPERIENCE SPECIALISTS, BANK OF AMERICA              P.O. BOX 96174, CHICAGO, IL, 60693, USA                             11/25/2024   $          2,171.14        SERVICES
   GLOBAL EXPERIENCE SPECIALISTS, BANK OF AMERICA              P.O. BOX 96174, CHICAGO, IL, 60693, USA                             12/13/2024   $       151,147.29         SERVICES
   GLOBAL EXPERIENCE SPECIALISTS, BANK OF AMERICA
   Total                                                                                                                                        $       153,318.43
   GLOBAL GAMES DEVELOPMENT, LLC                               2333 NE 47TH AVENUE, PORTLAND, OR, 97213-1913, USA                  10/31/2024   $        12,041.78    SUPPLIERS OR VENDORS
   GLOBAL GAMES DEVELOPMENT, LLC Total                                                                                                          $        12,041.78
   GMT GAMES, LLC                                              P.O. BOX 1308, HANFORD, CA, 93232, USA                              11/22/2024   $         5,540.55    SUPPLIERS OR VENDORS
   GMT GAMES, LLC                                              P.O. BOX 1308, HANFORD, CA, 93232, USA                              11/29/2024   $         5,333.29    SUPPLIERS OR VENDORS
   GMT GAMES, LLC                                              P.O. BOX 1308, HANFORD, CA, 93232, USA                              12/23/2024   $         6,383.78    SUPPLIERS OR VENDORS
   GMT GAMES, LLC Total                                                                                                                         $        17,257.62
                                                               AKIBA CO BLDG. 7F,3-16-12, SOTOKANDA, CHIYOD-KU, TOKYO, 101-0021,
   GOOD SMILE COMPANY
                                                               JAPAN                                                               10/25/2024   $       402,574.75    SUPPLIERS OR VENDORS
                                                               AKIBA CO BLDG. 7F,3-16-12, SOTOKANDA, CHIYOD-KU, TOKYO, 101-0021,
   GOOD SMILE COMPANY
                                                               JAPAN                                                               11/18/2024   $       685,437.21    SUPPLIERS OR VENDORS
                                                               AKIBA CO BLDG. 7F,3-16-12, SOTOKANDA, CHIYOD-KU, TOKYO, 101-0021,
   GOOD SMILE COMPANY
                                                               JAPAN                                                               12/2/2024    $        334,405.91   SUPPLIERS OR VENDORS
   GOOD SMILE COMPANY Total                                                                                                                     $      1,422,417.87
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           11/7/2024   $         10,967.09   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           12/9/2024   $         14,253.20   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          10/16/2024   $            215.43   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          10/17/2024   $          3,809.02   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          10/23/2024   $            171.95   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          10/31/2024   $          1,904.37   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           11/6/2024   $          1,624.72   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           11/7/2024   $          4,376.97   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/13/2024   $            151.54   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/14/2024   $          2,183.53   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/20/2024   $            859.64   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/21/2024   $            636.53   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/26/2024   $            690.20   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          11/27/2024   $            576.77   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           12/5/2024   $          4,350.06   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          12/11/2024   $            315.79   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          12/12/2024   $          4,013.18   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          12/19/2024   $         10,119.40   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          12/24/2024   $          6,231.42   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA          12/26/2024   $          7,808.66   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC                                           4040 CIVIC CENTER DR SUITE 200, SAN RAFAEL, CA, 94903, USA           1/6/2025    $          6,872.74   SUPPLIERS OR VENDORS
   GOODMAN GAMES LLC Total                                                                                                                      $         82,132.21
   GRAND WAYNE CONVENTION CENTER                               120 WEST JEFFERSON BLVD, FORT WAYNE, IN, 46802, USA                 12/20/2024   $         38,840.42        SERVICES
   GRAND WAYNE CONVENTION CENTER Total                                                                                                          $         38,840.42
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE               512 PATERNO LIBRARY, UNIVERSITY PARK, PA, 16802, USA                11/22/2024   $          3,140.81   SUPPLIERS OR VENDORS
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE               512 PATERNO LIBRARY, UNIVERSITY PARK, PA, 16802, USA                11/29/2024   $          2,134.42   SUPPLIERS OR VENDORS
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE               512 PATERNO LIBRARY, UNIVERSITY PARK, PA, 16802, USA                 12/6/2024   $          1,488.72   SUPPLIERS OR VENDORS
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE               512 PATERNO LIBRARY, UNIVERSITY PARK, PA, 16802, USA                12/20/2024   $            772.90   SUPPLIERS OR VENDORS
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE               512 PATERNO LIBRARY, UNIVERSITY PARK, PA, 16802, USA                12/27/2024   $          4,522.31   SUPPLIERS OR VENDORS
   GRAPHIC MUNDI- PSU PRESS, ACCOUNTS RECEIVABLE
   Total                                                                                                                                        $        12,059.16
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA      10/23/2024   $           186.20    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA       11/6/2024   $           401.80    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA       11/7/2024   $           147.00    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA      11/13/2024   $        95,287.50    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA      11/26/2024   $           223.44    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA       12/4/2024   $         1,268.60    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC.                                     33159 CAMINO CAPISTRANO STE G, SAN JUAN CAPIST, CA, 92675, USA      12/11/2024   $           145.04    SUPPLIERS OR VENDORS
   GRAPHITTI DESIGNS, INC. Total                                                                                                                $        97,659.58
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                            10/16/2024   $           864.00    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                            10/24/2024   $         4,404.00    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                             11/6/2024   $         6,573.02    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                            11/21/2024   $         7,653.60    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                            11/27/2024   $           322.70    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO.                                       610 W.CAROB ST., COMPTON, CA, 90220, USA                             12/4/2024   $        11,549.25    SUPPLIERS OR VENDORS
   GREAT EASTERN ENT CO. Total                                                                                                                  $        31,366.57
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     10/17/2024   $         1,380.59    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     10/23/2024   $           203.66    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     10/24/2024   $           648.14    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     10/31/2024   $           672.90    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                      11/7/2024   $         2,526.25    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     11/14/2024   $         2,644.00    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     11/20/2024   $           706.42    SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                     11/21/2024   $           479.56    SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                          Dates
                                                                                                                                                  or Value              or Transfer
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                 11/27/2024   $            481.89   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                  12/5/2024   $            702.60   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                 12/18/2024   $            122.50   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                 12/19/2024   $            417.08   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                 12/24/2024   $          1,086.27   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                 12/26/2024   $            207.08   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC                                 6731 29TH AVENUE SOUTH, SEATTLE, WA, 98108, USA                  1/6/2025    $            811.79   SUPPLIERS OR VENDORS
   GREEN RONIN PUBLISHING, LLC Total                                                                                                        $         13,090.73
   GUANGDONG PINQI CULTURE & TEC                               28 WILD ROSE PL, ALISO VIEJO, CA, 92656, USA                     11/1/2024   $          1,477.76   SUPPLIERS OR VENDORS
   GUANGDONG PINQI CULTURE & TEC                               28 WILD ROSE PL, ALISO VIEJO, CA, 92656, USA                     12/6/2024   $          6,649.50   SUPPLIERS OR VENDORS
   GUANGDONG PINQI CULTURE & TEC Total                                                                                                      $          8,127.26
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         10/18/2024   $            144.26   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         10/25/2024   $            337.95   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         11/11/2024   $            242.53   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         11/15/2024   $            792.46   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         11/22/2024   $          4,388.31   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         11/29/2024   $            977.31   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA          12/6/2024   $            569.20   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         12/13/2024   $             19.31   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         12/20/2024   $            279.96   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT                                       923 EUCLID STREET APT 301, SANTA MONICA, CA, 90403, USA         12/27/2024   $          2,167.70   SUPPLIERS OR VENDORS
   GUNGNIR ENTERTAINMENT Total                                                                                                              $          9,918.99
   HABERMAASS CORP, INC                                        HABA USA, SKANEATELES, NY, 13152, USA                           10/25/2024   $          1,441.46   SUPPLIERS OR VENDORS
   HABERMAASS CORP, INC                                        HABA USA, SKANEATELES, NY, 13152, USA                           11/18/2024   $          8,399.25   SUPPLIERS OR VENDORS
   HABERMAASS CORP, INC                                        HABA USA, SKANEATELES, NY, 13152, USA                           12/23/2024   $          4,649.58   SUPPLIERS OR VENDORS
   HABERMAASS CORP, INC                                        HABA USA, SKANEATELES, NY, 13152, USA                           12/30/2024   $          1,278.36   SUPPLIERS OR VENDORS
   HABERMAASS CORP, INC Total                                                                                                               $         15,768.65
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        10/23/2024   $         15,323.60   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        11/21/2024   $         33,838.00   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        11/27/2024   $            998.40   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                         12/4/2024   $          1,564.80   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        12/11/2024   $            124.80   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        12/18/2024   $          2,937.60   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA                                        SYRACUSE, NY, 13206, USA                                        12/19/2024   $          2,958.40   SUPPLIERS OR VENDORS
   HETTE BOARDGAMES USA Total                                                                                                               $         57,745.60
   HETTE BOOK GROUP USA                                        1290 AVENUE OF THE AMERICAS, NEW YORK, NY, 10104, USA           11/29/2024   $         23,184.02   SUPPLIERS OR VENDORS
   HETTE BOOK GROUP USA Total                                                                                                               $         23,184.02
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   10/24/2024   $            385.38   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   11/13/2024   $            677.98   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   11/20/2024   $          1,189.14   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   11/26/2024   $          5,034.54   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                    12/5/2024   $            654.79   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   12/11/2024   $          1,047.43   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS                                   P.O. BOX 21091, NEW YORK, NY, 10087-1091, USA                   12/18/2024   $          1,855.80   SUPPLIERS OR VENDORS
   HARPER COLLINS PUBLISHERS Total                                                                                                          $         10,845.06
   HASBRO INC-DI                                               P.O. BOX 281480, ATLANTA, GA, 30384-1480, USA                   11/22/2024   $       100,983.52    SUPPLIERS OR VENDORS
   HASBRO INC-DI Total                                                                                                                      $       100,983.52
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    10/18/2024   $       127,965.11    SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    10/28/2024   $         63,313.73   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                     11/4/2024   $       139,745.69    SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    11/15/2024   $         41,239.78   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    11/29/2024   $         77,076.66   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                     12/6/2024   $         27,575.44   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    12/18/2024   $       343,073.79    SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    12/23/2024   $         90,000.00   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP                                            P O BOX 281480, ATLANTA, GA, 30384-1480, USA                    12/27/2024   $         44,327.42   SUPPLIERS OR VENDORS
   HASBRO TOY GROUP Total                                                                                                                   $       954,317.62
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    10/17/2024   $          2,500.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    10/25/2024   $          3,390.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    11/26/2024   $          6,632.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    12/11/2024   $          1,130.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    12/18/2024   $          5,715.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC                                              3060 ATWATER DR., BURLINGAME, CA, 94010, USA                    12/24/2024   $          1,460.00   SUPPLIERS OR VENDORS
   HEAVY PLAY LLC Total                                                                                                                     $         20,827.00
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                10/17/2024   $          3,633.20   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                10/24/2024   $          2,581.98   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                10/31/2024   $         11,799.59   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                 11/7/2024   $          4,721.66   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                11/14/2024   $          4,175.74   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                11/21/2024   $          5,267.20   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                11/27/2024   $          1,641.78   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                 12/5/2024   $            358.23   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                12/12/2024   $          4,026.61   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                12/24/2024   $          3,296.35   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                12/26/2024   $          1,846.29   SUPPLIERS OR VENDORS
   HERMES PRESS                                                2100 WILMINGTON ROAD, NEW CASTLE, PA, 16105, USA                 1/6/2025    $          1,129.59   SUPPLIERS OR VENDORS
   HERMES PRESS Total                                                                                                                       $         44,478.22
   HILTON FORT WAYNE CONVENTION CENTER                         FORT WAYNE, IN, 46802, USA                                       11/8/2024   $         39,675.80         SERVICES
   HILTON FORT WAYNE CONVENTION CENTER Total                                                                                                $         39,675.80
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        10/16/2024   $          1,622.14   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        10/23/2024   $          3,839.81   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        10/30/2024   $          1,023.42   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA         11/6/2024   $          1,882.39   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        11/13/2024   $            853.75   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        11/20/2024   $          1,266.90   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        11/26/2024   $          1,885.39   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA         12/4/2024   $            491.11   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        12/11/2024   $          2,302.92   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        12/18/2024   $          1,997.88   SUPPLIERS OR VENDORS
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA        12/24/2024   $          1,538.94   SUPPLIERS OR VENDORS

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                                           Case 25-10308                    Doc 154              Filed 02/18/25           Page 30 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                  Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                           Dates
                                                                                                                                                    or Value              or Transfer
   HUMANOIDS INC                                               6464 SUNSET BLVD.SUITE 1180, LOS ANGELES, CA, 90028, USA          12/31/2024   $            328.84   SUPPLIERS OR VENDORS
   HUMANOIDS INC Total                                                                                                                        $         19,033.49
   HUSH HUSH PROJECTS USA (DARA STUDIOS)                       16 GULPH MILL RD, SOMERS POINT, NJ, 8244, USA                     11/7/2024    $         16,737.38   SUPPLIERS OR VENDORS
   HUSH HUSH PROJECTS USA (DARA STUDIOS)                       16 GULPH MILL RD, SOMERS POINT, NJ, 8244, USA                     12/9/2024    $         23,358.39   SUPPLIERS OR VENDORS
   HUSH HUSH PROJECTS USA (DARA STUDIOS) Total                                                                                                $         40,095.77
   ICON HEROES, LLC                                            P.O. BOX 4926, IRVINE, CA, 92616, USA                             11/21/2024   $         18,056.50   SUPPLIERS OR VENDORS
   ICON HEROES, LLC                                            P.O. BOX 4926, IRVINE, CA, 92616, USA                             12/18/2024   $          2,846.00   SUPPLIERS OR VENDORS
   ICON HEROES, LLC                                            P.O. BOX 4926, IRVINE, CA, 92616, USA                             12/26/2024   $            170.00   SUPPLIERS OR VENDORS
   ICON HEROES, LLC Total                                                                                                                     $         21,072.50
   INCREDIBLE DREAM STUDIOS, INC. (DBA "INCREDIBLE
                                                               2261 MARKET STREET #4475, SAN FRANCISCO, CA, 94114, USA
   DREAM")                                                                                                                       11/7/2024    $        12,034.39    SUPPLIERS OR VENDORS
   INCREDIBLE DREAM STUDIOS, INC. (DBA "INCREDIBLE
                                                               2261 MARKET STREET #4475, SAN FRANCISCO, CA, 94114, USA
   DREAM")                                                                                                                       12/9/2024    $        30,910.85    SUPPLIERS OR VENDORS
   INCREDIBLE DREAM STUDIOS, INC. (DBA "INCREDIBLE
   DREAM") Total                                                                                                                              $        42,945.24
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                  10/25/2024   $         2,519.20          SERVICES
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                  10/25/2024   $         2,707.57          SERVICES
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                  11/29/2024   $         2,317.81          SERVICES
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                  11/29/2024   $         3,135.09          SERVICES
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                   1/3/2025    $         2,719.01          SERVICES
   INDIANA MICHIGAN POWER 015 6 8                              P.O. BOX 371496, PITTSBURGH, PA, 15250-7496, USA                   1/3/2025    $         3,056.55          SERVICES
   INDIANA MICHIGAN POWER 015 6 8 Total                                                                                                       $        16,455.23
   INGRAM                                                      P.O. BOX 277616, ATLANTA, GA, 30384-7616, USA                     11/22/2024   $        20,093.46    SUPPLIERS OR VENDORS
   INGRAM                                                      P.O. BOX 277616, ATLANTA, GA, 30384-7616, USA                     11/26/2024   $         1,778.60    SUPPLIERS OR VENDORS
   INGRAM                                                      P.O. BOX 277616, ATLANTA, GA, 30384-7616, USA                     12/13/2024   $        33,865.22    SUPPLIERS OR VENDORS
   INGRAM Total                                                                                                                               $        55,737.28
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   10/21/2024   $        22,531.31          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   10/25/2024   $         8,367.80          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   10/28/2024   $         1,800.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   10/28/2024   $        20,490.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                    11/4/2024   $         1,500.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   11/25/2024   $         2,500.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   11/29/2024   $         3,900.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                    12/9/2024   $         4,100.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/16/2024   $         1,400.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/16/2024   $        59,229.72          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/20/2024   $        10,545.22          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/23/2024   $        16,700.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/27/2024   $         3,500.00          SERVICES
   INTEGRATED CONNECTION LLC                                   306 6TH AVENUE SE, CEDAR RAPIDS, IA, 52401, USA                   12/30/2024   $         7,100.00          SERVICES
   INTEGRATED CONNECTION LLC Total                                                                                                            $       163,664.05
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                  10/16/2024   $        32,134.35    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                   11/7/2024   $         3,975.05    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                   11/8/2024   $        67,002.51    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                  11/13/2024   $        23,573.33    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                  12/13/2024   $        42,631.74    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                  12/17/2024   $        37,511.72    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO.                                     P.O. BOX 644095, PITTSBURGH, PA, 15264-4095, USA                  12/20/2024   $        31,427.42    SUPPLIERS OR VENDORS
   INTERNATIONAL PAPER CO. Total                                                                                                              $       238,256.12
   ION GAME DESIGN (IONIZED GAME DESIGN AB)                    ALLHELGONAGATAN 5, STOCKHOLM, SWEDEN                              11/15/2024   $         7,501.20    SUPPLIERS OR VENDORS
   ION GAME DESIGN (IONIZED GAME DESIGN AB)                    ALLHELGONAGATAN 5, STOCKHOLM, SWEDEN                              11/18/2024   $         2,534.40    SUPPLIERS OR VENDORS
   ION GAME DESIGN (IONIZED GAME DESIGN AB)                    ALLHELGONAGATAN 5, STOCKHOLM, SWEDEN                              12/20/2024   $         3,600.90    SUPPLIERS OR VENDORS
   ION GAME DESIGN (IONIZED GAME DESIGN AB) Total                                                                                             $        13,636.50
                                                               STE 1901 19 FLR PRUDENTIAL TWR, 21 CANTON ROAD THE GATEWY HRBR,
   JADA TOYS
                                                               TSIM SHA TSUI, KOWLOON, HONG KONG                                 10/21/2024   $        31,840.20    SUPPLIERS OR VENDORS
   JADA TOYS Total                                                                                                                            $        31,840.20
   JADA TOYS INC                                               18521 RAILROAD STREET, CITY OF INDUSTR, CA, 91748, USA            11/13/2024   $         2,267.40    SUPPLIERS OR VENDORS
   JADA TOYS INC                                               18521 RAILROAD STREET, CITY OF INDUSTR, CA, 91748, USA            11/22/2024   $        45,273.12    SUPPLIERS OR VENDORS
   JADA TOYS INC                                               18521 RAILROAD STREET, CITY OF INDUSTR, CA, 91748, USA             12/9/2024   $        26,760.00    SUPPLIERS OR VENDORS
   JADA TOYS INC Total                                                                                                                        $        74,300.52
   JAKKS PACIFIC INC                                           P.O. BOX 772704, DETROIT, MI, 48277-2704, USA                     10/25/2024   $        77,404.00    SUPPLIERS OR VENDORS
   JAKKS PACIFIC INC                                           P.O. BOX 772704, DETROIT, MI, 48277-2704, USA                     10/30/2024   $         2,925.00    SUPPLIERS OR VENDORS
   JAKKS PACIFIC INC                                           P.O. BOX 772704, DETROIT, MI, 48277-2704, USA                     11/13/2024   $        19,587.35    SUPPLIERS OR VENDORS
   JAKKS PACIFIC INC                                           P.O. BOX 772704, DETROIT, MI, 48277-2704, USA                     11/14/2024   $        16,420.00    SUPPLIERS OR VENDORS
   JAKKS PACIFIC INC                                           P.O. BOX 772704, DETROIT, MI, 48277-2704, USA                     12/31/2024   $         4,449.84    SUPPLIERS OR VENDORS
   JAKKS PACIFIC INC Total                                                                                                                    $       120,786.19
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    10/18/2024   $        11,850.18    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    10/25/2024   $         7,396.08    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                     11/1/2024   $         7,728.75    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    11/15/2024   $        18,154.17    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    11/25/2024   $         5,032.62    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    11/29/2024   $           405.00    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES                               5075 CAMERON STREET, LAS VEGAS, NV, 89118, USA                    12/16/2024   $         7,841.10    SUPPLIERS OR VENDORS
   JASCO GAMES LLC DBD UVS GAMES Total                                                                                                        $        58,407.90
                                                                ROOM D, F9, BUILDING D, ZHONGHUAN WORLD TRADE CENTER,
   JOYTOY (BEIJING) TECHNOLOGYCHINA
                                                               JIANGUOMENWAI STREET, CHAOYANG DISTRICT, BEIJING                  11/8/2024    $        79,776.00    SUPPLIERS OR VENDORS
   JOYTOY (BEIJING) TECHNOLOGYCHINA Total                                                                                                     $        79,776.00
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               10/21/2024   $        47,555.52    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                                11/5/2024   $        44,807.10    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               11/18/2024   $        48,245.29    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                                12/2/2024   $         3,698.74    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                                12/3/2024   $         8,323.46    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                                12/4/2024   $        41,533.30    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               12/16/2024   $        11,486.17    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               12/26/2024   $        39,696.57    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               12/27/2024   $         5,823.46    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                               12/30/2024   $        39,780.35    SUPPLIERS OR VENDORS
   JPM ASSET MGMT                                              277 PARK AVENUE, NEW YORK, NY 10012                                1/9/2025    $         8,323.46    SUPPLIERS OR VENDORS
   JPM ASSET MGMT Total                                                                                                                       $       299,273.42
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                               10/16/2024   $        10,000.00           OTHER

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount       Reasons for Payment
                          Creditor Name                                                          Address                             Dates
                                                                                                                                                      or Value             or Transfer
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                                 10/28/2024   $          5,176.69          OTHER
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                                  11/4/2024   $         10,000.00          OTHER
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                                 11/21/2024   $         10,000.00          OTHER
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                                 11/29/2024   $          1,591.71          OTHER
   JPM CHASE CREDIT CARD-8938                                  277 PARK AVENUE, NEW YORK, NY 10012                                  12/9/2024   $         20,000.00          OTHER
   JPM CHASE CREDIT CARD-8938 Total                                                                                                             $         56,768.40
   KAIYODO CO., LTD                                            19-3 YANAGI-MACHI, KADOMA, OSAKA, 571-0041, JAPAN                   11/25/2024   $       181,968.00    SUPPLIERS OR VENDORS
   KAIYODO CO., LTD Total                                                                                                                       $       181,968.00
   KEENSPOT ENTERTAINMENT                                      16565 CHOCO ROAD, APPLE VALLEY, CA, 92307, USA                      10/23/2024   $          3,802.96   SUPPLIERS OR VENDORS
   KEENSPOT ENTERTAINMENT                                      16565 CHOCO ROAD, APPLE VALLEY, CA, 92307, USA                       11/7/2024   $          6,829.67   SUPPLIERS OR VENDORS
   KEENSPOT ENTERTAINMENT                                      16565 CHOCO ROAD, APPLE VALLEY, CA, 92307, USA                      11/27/2024   $         14,410.86   SUPPLIERS OR VENDORS
   KEENSPOT ENTERTAINMENT                                      16565 CHOCO ROAD, APPLE VALLEY, CA, 92307, USA                       12/5/2024   $         43,825.93   SUPPLIERS OR VENDORS
   KEENSPOT ENTERTAINMENT                                      16565 CHOCO ROAD, APPLE VALLEY, CA, 92307, USA                       1/6/2025    $         12,293.23   SUPPLIERS OR VENDORS
   KEENSPOT ENTERTAINMENT Total                                                                                                                 $         81,162.65
   KENZER & COMPANY                                            808 ENDICOTT ROAD, HIGHWOOD, IL, 60040, USA                         12/11/2024   $          9,408.52   SUPPLIERS OR VENDORS
   KENZER & COMPANY Total                                                                                                                       $          9,408.52
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       10/23/2024   $          6,085.16   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       10/25/2024   $          3,599.44   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       10/30/2024   $          1,237.68   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                        11/6/2024   $            416.00   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       11/13/2024   $            418.40   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       11/20/2024   $          5,512.70   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                        12/4/2024   $          7,578.93   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                       12/30/2024   $          2,235.31   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE)                        4150 NORMA AVENUE, SAINT PAUL, MN, 55112, USA                        1/2/2025    $          6,763.45   SUPPLIERS OR VENDORS
   KIEREN CONSULTING (DBA GOLDEN GOOSE) Total                                                                                                   $         33,847.07
   KMC USA, LLC                                                IRVING, TX, 75061, USA                                              10/17/2024   $          7,207.10   SUPPLIERS OR VENDORS
   KMC USA, LLC                                                IRVING, TX, 75061, USA                                              11/13/2024   $          4,571.10   SUPPLIERS OR VENDORS
   KMC USA, LLC                                                IRVING, TX, 75061, USA                                              12/31/2024   $          3,132.30   SUPPLIERS OR VENDORS
   KMC USA, LLC Total                                                                                                                           $         14,910.50
   KOBOLD PRESS                                                P.O. BOX 2811, KIRKLAND, WA, 98083, USA                             10/28/2024   $         21,364.00   SUPPLIERS OR VENDORS
   KOBOLD PRESS Total                                                                                                                           $         21,364.00
   KONAMI DIGITAL ENT INC                                      1 KONAMI WAY, HAWTHORNE, CA, 90250-1144, USA                        10/18/2024   $       124,679.52    SUPPLIERS OR VENDORS
   KONAMI DIGITAL ENT INC                                      1 KONAMI WAY, HAWTHORNE, CA, 90250-1144, USA                        11/15/2024   $         94,734.55   SUPPLIERS OR VENDORS
   KONAMI DIGITAL ENT INC                                      1 KONAMI WAY, HAWTHORNE, CA, 90250-1144, USA                        11/20/2024   $          6,368.04   SUPPLIERS OR VENDORS
   KONAMI DIGITAL ENT INC                                      1 KONAMI WAY, HAWTHORNE, CA, 90250-1144, USA                        11/22/2024   $          9,155.87   SUPPLIERS OR VENDORS
   KONAMI DIGITAL ENT INC                                      1 KONAMI WAY, HAWTHORNE, CA, 90250-1144, USA                        12/30/2024   $         96,324.26   SUPPLIERS OR VENDORS
   KONAMI DIGITAL ENT INC Total                                                                                                                 $       331,262.24
   KOTOBUKIYA CO., LTD                                         4-5 MIDORI-CHOSHI, TACHIKAWA-SHI, TOKYO 190-8542, 190-8542, JAPAN   11/19/2024   $       267,820.24    SUPPLIERS OR VENDORS
   KOTOBUKIYA CO., LTD                                         4-5 MIDORI-CHOSHI, TACHIKAWA-SHI, TOKYO 190-8542, 190-8542, JAPAN   12/20/2024   $         84,123.36   SUPPLIERS OR VENDORS
   KOTOBUKIYA CO., LTD Total                                                                                                                    $       351,943.60
   LEDER GAMES                                                 550 VANDALIA STREET STE 215, SAINT PAUL, MN, 55114-1995, USA        10/18/2024   $         29,292.00   SUPPLIERS OR VENDORS
   LEDER GAMES                                                 550 VANDALIA STREET STE 215, SAINT PAUL, MN, 55114-1995, USA        11/15/2024   $         39,111.20   SUPPLIERS OR VENDORS
   LEDER GAMES                                                 550 VANDALIA STREET STE 215, SAINT PAUL, MN, 55114-1995, USA        11/22/2024   $       150,048.00    SUPPLIERS OR VENDORS
   LEDER GAMES                                                 550 VANDALIA STREET STE 215, SAINT PAUL, MN, 55114-1995, USA        12/13/2024   $       123,707.20    SUPPLIERS OR VENDORS
   LEDER GAMES Total                                                                                                                            $       342,158.40
   LITTLE BUDDY LLC                                            7422 ORANGEWOOD AVENUE, GARDEN GROVE, CA, 92841, USA                11/15/2024   $         83,768.00   SUPPLIERS OR VENDORS
   LITTLE BUDDY LLC                                            7422 ORANGEWOOD AVENUE, GARDEN GROVE, CA, 92841, USA                 12/4/2024   $          2,520.00   SUPPLIERS OR VENDORS
   LITTLE BUDDY LLC Total                                                                                                                       $         86,288.00
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    10/16/2024   $          2,129.29   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    10/23/2024   $          7,336.41   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    10/30/2024   $          1,002.22   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                     11/6/2024   $          3,689.84   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    11/13/2024   $          2,790.26   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    11/20/2024   $            576.90   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    11/26/2024   $            957.90   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                     12/4/2024   $          1,606.22   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    12/11/2024   $          1,791.97   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    12/18/2024   $          1,570.46   SUPPLIERS OR VENDORS
   LIVING THE LINE                                             1477 ASHLAND AVENUE, STAINT PAUL, MN, 55104, USA                    12/24/2024   $            569.43   SUPPLIERS OR VENDORS
   LIVING THE LINE Total                                                                                                                        $         24,020.90
   LOCKE LORD LLP                                              P.O. BOX 911541, DALLAS, TX, 75391, USA                             10/25/2024   $       139,000.00         SERVICES
   LOCKE LORD LLP                                              P.O. BOX 911541, DALLAS, TX, 75391, USA                             11/15/2024   $         80,250.00        SERVICES
   LOCKE LORD LLP                                              P.O. BOX 911541, DALLAS, TX, 75391, USA                              12/9/2024   $         28,754.03        SERVICES
   LOCKE LORD LLP                                              P.O. BOX 911541, DALLAS, TX, 75391, USA                              1/8/2025    $       275,519.00         SERVICES
   LOCKE LORD LLP Total                                                                                                                         $       523,523.03
   LOONEY LABS                                                 P.O. BOX 20, WILLISTON,, VT, 5495, USA                              10/28/2024   $         15,067.60   SUPPLIERS OR VENDORS
   LOONEY LABS                                                 P.O. BOX 20, WILLISTON,, VT, 5495, USA                              11/22/2024   $          6,957.60   SUPPLIERS OR VENDORS
   LOONEY LABS                                                 P.O. BOX 20, WILLISTON,, VT, 5495, USA                              12/27/2024   $         11,229.20   SUPPLIERS OR VENDORS
   LOONEY LABS Total                                                                                                                            $         33,254.40
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/16/2024   $            219.94        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/17/2024   $       162,887.31         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/22/2024   $            394.29        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/24/2024   $         40,619.01        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/29/2024   $            809.79        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         10/31/2024   $       102,052.44         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          11/1/2024   $         59,883.30        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          11/5/2024   $          1,721.09        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          11/7/2024   $         48,578.30        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/13/2024   $       109,175.11         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/14/2024   $       103,211.49         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/19/2024   $            436.96        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/21/2024   $         65,878.15        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/26/2024   $          1,337.57        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         11/29/2024   $         69,444.66        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          12/2/2024   $         56,377.72        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          12/3/2024   $          1,301.32        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          12/4/2024   $         30,990.10        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA          12/5/2024   $         37,199.76        SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         12/12/2024   $         83,839.54        SERVICES

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                   Total Amount       Reasons for Payment
                          Creditor Name                                                         Address                             Dates
                                                                                                                                                     or Value             or Transfer
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/13/2024   $          1,015.59         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/17/2024   $            365.02         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/19/2024   $         51,428.27         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/24/2024   $            561.52         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/27/2024   $        165,959.05         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/30/2024   $         24,527.95         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA        12/31/2024   $            236.20         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         1/2/2025    $         55,049.33         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         1/3/2025    $          3,367.14         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         1/7/2025    $          3,649.06         SERVICES
   LUMINARE HEALTH BENEFITS                                    62707 COLLECTION CENTER DRIVE, CHICAGO, IL, 60693-0627, USA         1/9/2025    $         28,552.28         SERVICES
   LUMINARE HEALTH BENEFITS Total                                                                                                              $      1,311,069.26
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       10/16/2024   $        103,097.34   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       10/25/2024   $         69,364.56   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                        11/1/2024   $        127,378.65   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                        11/8/2024   $        118,713.72   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       11/15/2024   $        115,182.37   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       11/22/2024   $         82,772.44   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       11/29/2024   $        115,172.79   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                        12/6/2024   $        197,092.47   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       12/13/2024   $        103,159.25   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       12/20/2024   $        108,859.10   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                       12/24/2024   $         78,968.59   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION                                          10701 ROSE AVENUE, NEW HAVEN, IN, 46774, USA                        1/6/2025    $         71,072.86   SUPPLIERS OR VENDORS
   LUNAR DISTRIBUTION Total                                                                                                                    $      1,290,834.14
   M.O.N. HOLDINGS LLC D/B/A MONUMENT HOBBIES                  3829 N 3RD ST, PHOENIX, AZ, 85012, USA                             10/18/2024   $          9,327.57   SUPPLIERS OR VENDORS
   M.O.N. HOLDINGS LLC D/B/A MONUMENT HOBBIES                  3829 N 3RD ST, PHOENIX, AZ, 85012, USA                              12/6/2024   $          5,121.60   SUPPLIERS OR VENDORS
   M.O.N. HOLDINGS LLC D/B/A MONUMENT HOBBIES                  3829 N 3RD ST, PHOENIX, AZ, 85012, USA                             12/13/2024   $         25,430.09   SUPPLIERS OR VENDORS
   M.O.N. HOLDINGS LLC D/B/A MONUMENT HOBBIES Total                                                                                            $         39,879.26
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        10/18/2024   $         10,525.91   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        10/25/2024   $         20,223.11   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                         11/1/2024   $          2,852.18   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                         11/8/2024   $          6,459.56   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        11/15/2024   $         14,064.32   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        11/22/2024   $         14,834.98   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        11/29/2024   $         12,723.40   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                         12/6/2024   $          7,073.68   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        12/13/2024   $         15,728.14   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        12/20/2024   $          8,439.07   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC.                                       8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        12/27/2024   $         21,372.60   SUPPLIERS OR VENDORS
   MAD CAVE STUDIOS INC. Total                                                                                                                 $        134,296.95
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                10/25/2024   $         19,821.00        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                10/30/2024   $          7,466.07        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                 11/6/2024   $          9,577.62        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                11/13/2024   $         13,504.28        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                11/20/2024   $          8,026.98        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 180 PARK AVENUE, FLORHAM PARK, NJ, 07932, USA                      12/19/2024   $         23,061.81        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                12/30/2024   $          4,543.41        SERVICES
   MAERSK E-COMMERCE LOGISTICS                                 5160 WILEY POST WAY, SALT LAKE CITY, UT, 84116, USA                12/31/2024   $          5,574.19        SERVICES
   MAERSK E-COMMERCE LOGISTICS Total                                                                                                           $         91,575.36
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    10/16/2024   $          2,146.86   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    10/17/2024   $            104.39   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    10/23/2024   $          3,870.54   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    10/30/2024   $            263.80   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                     11/6/2024   $          5,150.27   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    11/13/2024   $          1,189.67   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    11/20/2024   $            808.10   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    11/21/2024   $            857.76   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    11/26/2024   $          1,878.82   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                     12/4/2024   $          3,950.11   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                     12/5/2024   $            736.06   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/11/2024   $            266.82   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/12/2024   $            498.45   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/18/2024   $            227.28   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/24/2024   $          3,407.23   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/26/2024   $          1,266.86   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                    12/31/2024   $            691.97   SUPPLIERS OR VENDORS
   MAGMA COMIX                                                 3130 WHITTIER STREET, SAN DIEGO, CA, 92106, USA                     1/6/2025    $            940.00   SUPPLIERS OR VENDORS
   MAGMA COMIX Total                                                                                                                           $         28,254.99
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/16/2024   $          2,048.90   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/17/2024   $          4,883.58   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/23/2024   $          1,442.27   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/24/2024   $          1,794.42   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/30/2024   $            728.52   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             10/31/2024   $          1,364.25   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA              11/6/2024   $          1,146.79   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA              11/7/2024   $          2,263.56   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/13/2024   $          1,223.55   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/14/2024   $          1,783.91   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/20/2024   $            182.34   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/21/2024   $          1,210.88   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/26/2024   $          1,173.98   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             11/27/2024   $          1,339.10   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA              12/4/2024   $          7,505.20   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA              12/5/2024   $            728.78   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             12/11/2024   $          5,003.22   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             12/18/2024   $         13,352.80   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             12/19/2024   $            519.03   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             12/24/2024   $          7,653.70   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             12/31/2024   $          1,144.38   SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                  Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                            Dates
                                                                                                                                                    or Value              or Transfer
   MAGNETIC PRESS LLC                                          227 N. LINDBERGH BLVD., ST. LOUIS, MO, 63141-7809, USA             1/6/2025    $          5,213.18   SUPPLIERS OR VENDORS
   MAGNETIC PRESS LLC Total                                                                                                                   $         63,706.34
   MAJOR BENDIES                                               P.O. BOX 7234, NORTH BERGEN, NJ, 07047, USA                       10/21/2024   $          1,440.00   SUPPLIERS OR VENDORS
   MAJOR BENDIES                                               P.O. BOX 7234, NORTH BERGEN, NJ, 07047, USA                        12/6/2024   $            570.00   SUPPLIERS OR VENDORS
   MAJOR BENDIES                                               P.O. BOX 7234, NORTH BERGEN, NJ, 07047, USA                       12/23/2024   $          7,200.00   SUPPLIERS OR VENDORS
   MAJOR BENDIES Total                                                                                                                        $          9,210.00
   MANGA CLASSICS, INC.                                        51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA           10/18/2024   $          5,885.84   SUPPLIERS OR VENDORS
   MANGA CLASSICS, INC.                                        51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA           10/25/2024   $          3,318.44   SUPPLIERS OR VENDORS
   MANGA CLASSICS, INC. Total                                                                                                                 $          9,204.28
   MANTIC ENTERTAINMENT LTD                                    CUMBERLAND HOUSE, NOTTINGHAM, NG1 6EE, UNITED KINGDOM             11/7/2024    $          6,097.33   SUPPLIERS OR VENDORS
   MANTIC ENTERTAINMENT LTD                                    CUMBERLAND HOUSE, NOTTINGHAM, NG1 6EE, UNITED KINGDOM             12/9/2024    $         80,954.39   SUPPLIERS OR VENDORS
   MANTIC ENTERTAINMENT LTD Total                                                                                                             $         87,051.72
   MANUSCRIPT PRESS                                            BOX 336, MOUNTAIN HOME, TN, 37684, USA                            10/28/2024   $          4,236.88   SUPPLIERS OR VENDORS
   MANUSCRIPT PRESS                                            BOX 336, MOUNTAIN HOME, TN, 37684, USA                            11/18/2024   $          2,518.74   SUPPLIERS OR VENDORS
   MANUSCRIPT PRESS                                            BOX 336, MOUNTAIN HOME, TN, 37684, USA                            11/22/2024   $          5,821.73   SUPPLIERS OR VENDORS
   MANUSCRIPT PRESS Total                                                                                                                     $         12,577.35
   MARQUIS BOOK PRINTING INC                                   350 DES ENTREPRENEURS ST, MONTMAGNY, QC, G5V 4T1, CANADA          11/8/2024    $         35,791.77         SERVICES
   MARQUIS BOOK PRINTING INC                                   350 DES ENTREPRENEURS ST, MONTMAGNY, QC, G5V 4T1, CANADA          12/2/2024    $         31,650.63         SERVICES
   MARQUIS BOOK PRINTING INC Total                                                                                                            $         67,442.40
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       10/18/2024   $          2,270.04         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       10/25/2024   $         11,528.20         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                        11/1/2024   $         25,298.29         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                        11/8/2024   $          2,402.08         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       11/15/2024   $         21,069.14         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       11/22/2024   $          5,461.97         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       11/29/2024   $          6,846.53         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                        12/6/2024   $            399.02         SERVICES
   MASSIVE PUBLISHING LLC                                      3404 LEATHA WAY, SACRAMENTO, CA, 95821, USA                       12/13/2024   $          1,100.50         SERVICES
   MASSIVE PUBLISHING LLC Total                                                                                                               $         76,375.77
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         10/18/2024   $          1,384.63         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         10/25/2024   $          2,852.86         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                          11/1/2024   $          3,898.11         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                          11/8/2024   $          4,350.44         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         11/15/2024   $          4,069.36         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         11/25/2024   $          5,798.94         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         11/29/2024   $          5,878.55         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                          12/6/2024   $          3,816.06         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         12/16/2024   $          5,955.97         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         12/20/2024   $          7,162.00         SERVICES
   MASTER STAFFING                                             1800 EAST MARKET ST, YORK, PA, 17402, USA                         12/27/2024   $          5,308.84         SERVICES
   MASTER STAFFING Total                                                                                                                      $         50,475.76
                                                               11/F SOUTH TOWER WORLD FINANCE, HARBOUR CITY TSIMSHATSUI,
   MATTEL BRANDS
                                                               KOWLOON, HK, HONG KONG                                            10/16/2024   $        34,609.02    SUPPLIERS OR VENDORS
                                                               11/F SOUTH TOWER WORLD FINANCE, HARBOUR CITY TSIMSHATSUI,
   MATTEL BRANDS
                                                               KOWLOON, HK, HONG KONG                                            10/29/2024   $        12,798.98    SUPPLIERS OR VENDORS
   MATTEL BRANDS Total                                                                                                                        $        47,408.00
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          10/24/2024   $        22,073.55    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          10/31/2024   $        39,974.92    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          11/13/2024   $         7,246.32    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          11/21/2024   $         8,045.96    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          11/26/2024   $        10,225.98    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA           12/4/2024   $        16,413.96    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA           12/5/2024   $        14,035.88    SUPPLIERS OR VENDORS
   MATTEL SALES CORP                                           5774-6584, P.O. BOX 100125, ATLANTA, GA, 30384-0125, USA          12/12/2024   $         7,504.24    SUPPLIERS OR VENDORS
   MATTEL SALES CORP Total                                                                                                                    $       125,520.81
   MDH F2 BAL BELTWAY NORTH, LLC                               3715 NORTHSIDE PARKWAY NW, SUITE 4-240, ATLANTA, GA, 30327, USA   10/31/2024   $        11,830.89          SERVICES
   MDH F2 BAL BELTWAY NORTH, LLC                               3715 NORTHSIDE PARKWAY NW, SUITE 4-240, ATLANTA, GA, 30327, USA    12/3/2024   $        11,830.89          SERVICES
   MDH F2 BAL BELTWAY NORTH, LLC Total                                                                                                        $        23,661.78
   MEDICOM TOY CORPORATION                                     4-12-10 JINGUMAE, SHIBUYA-KU, TOKYO 150-0001, JAPAN               10/25/2024   $       265,243.20    SUPPLIERS OR VENDORS
   MEDICOM TOY CORPORATION Total                                                                                                              $       265,243.20
                                                               BANDAI 2ND BUILDING, 2-5-4 KOMAGATA, TAITO-KU, TOKYO 111-0043,
   MEGAHOUSE CORPORATION
                                                               JAPAN                                                             11/19/2024   $        16,712.14    SUPPLIERS OR VENDORS
                                                               BANDAI 2ND BUILDING, 2-5-4 KOMAGATA, TAITO-KU, TOKYO 111-0043,
   MEGAHOUSE CORPORATION
                                                               JAPAN                                                             11/25/2024   $         1,584.09    SUPPLIERS OR VENDORS
   MEGAHOUSE CORPORATION Total                                                                                                                $        18,296.23
   MEMIC INDEMNITY COMPANY                                     P.O. BOX 9500, LEWISTON, ME, 04243, USA                           10/25/2024   $        22,019.90          SERVICES
   MEMIC INDEMNITY COMPANY                                     P.O. BOX 9500, LEWISTON, ME, 04243, USA                           11/25/2024   $        22,019.90          SERVICES
   MEMIC INDEMNITY COMPANY                                     P.O. BOX 9500, LEWISTON, ME, 04243, USA                           12/23/2024   $        22,019.90          SERVICES
   MEMIC INDEMNITY COMPANY Total                                                                                                              $        66,059.70
   MEZCO TOYZ LLC                                              37-38 13TH STREET, LONG ISLAND CTY, NY, 11101, USA                10/25/2024   $        57,375.00    SUPPLIERS OR VENDORS
   MEZCO TOYZ LLC                                              37-38 13TH STREET, LONG ISLAND CTY, NY, 11101, USA                11/22/2024   $        19,528.00    SUPPLIERS OR VENDORS
   MEZCO TOYZ LLC                                              37-38 13TH STREET, LONG ISLAND CTY, NY, 11101, USA                12/20/2024   $        21,570.00    SUPPLIERS OR VENDORS
   MEZCO TOYZ LLC Total                                                                                                                       $        98,473.00
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      10/18/2024   $         3,920.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      10/21/2024   $         7,875.57          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      10/25/2024   $        20,195.57          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                       11/1/2024   $         3,860.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                       11/4/2024   $         7,815.57          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      11/11/2024   $        19,574.80          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      11/15/2024   $         3,980.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      11/18/2024   $         3,997.40          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      11/25/2024   $         3,800.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      11/29/2024   $        13,459.23          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                       12/2/2024   $         1,500.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                       12/6/2024   $         7,700.68          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                       12/9/2024   $        11,621.06          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      12/16/2024   $        11,681.06          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      12/20/2024   $         4,010.00          SERVICES
   MID SOUTH TRANSPORT, INC.                                   P.O. BOX 16013, MEMPHIS, TN, 38186-0013, USA                      12/23/2024   $         3,942.89          SERVICES
   MID SOUTH TRANSPORT, INC. Total                                                                                                            $       128,933.83

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                              Dates
                                                                                                                                                      or Value              or Transfer
   MIGHTY JAXX AMERICA                                         3302 CANAL STREET, SUITE 62, HOUSTON, TX, 77003, USA                11/15/2024   $         10,134.00   SUPPLIERS OR VENDORS
   MIGHTY JAXX AMERICA Total                                                                                                                    $         10,134.00
   MINISTER OF REVENUE OF QUEBEC                               3800 RUE DE MARLY, SAINTE-FO, PQ, G1X 4A5, CANADA                   10/31/2024   $          7,504.17          OTHER
   MINISTER OF REVENUE OF QUEBEC                               3800 RUE DE MARLY, SAINTE-FO, PQ, G1X 4A5, CANADA                   11/30/2024   $          5,266.74          OTHER
   MINISTER OF REVENUE OF QUEBEC Total                                                                                                          $         12,770.91
   MONOGRAM INTERNATIONAL INC                                  21005 COMMERCE POINTE DR., WALNUT, CA, 91789, USA                   11/19/2024   $       128,514.90    SUPPLIERS OR VENDORS
   MONOGRAM INTERNATIONAL INC                                  21005 COMMERCE POINTE DR., WALNUT, CA, 91789, USA                   11/20/2024   $         22,161.60   SUPPLIERS OR VENDORS
   MONOGRAM INTERNATIONAL INC                                  21005 COMMERCE POINTE DR., WALNUT, CA, 91789, USA                   11/21/2024   $          9,836.10   SUPPLIERS OR VENDORS
   MONOGRAM INTERNATIONAL INC Total                                                                                                             $       160,512.60
   MONSTER FIGHT CLUB                                          395-190 REAS FORD ROAD, EARLYSVILLE, VA, 22936, USA                 10/23/2024   $            924.00   SUPPLIERS OR VENDORS
   MONSTER FIGHT CLUB                                          395-190 REAS FORD ROAD, EARLYSVILLE, VA, 22936, USA                 10/25/2024   $          6,268.00   SUPPLIERS OR VENDORS
   MONSTER FIGHT CLUB                                          395-190 REAS FORD ROAD, EARLYSVILLE, VA, 22936, USA                  11/7/2024   $          3,822.00   SUPPLIERS OR VENDORS
   MONSTER FIGHT CLUB                                          395-190 REAS FORD ROAD, EARLYSVILLE, VA, 22936, USA                 11/20/2024   $          4,968.00   SUPPLIERS OR VENDORS
   MONSTER FIGHT CLUB                                          395-190 REAS FORD ROAD, EARLYSVILLE, VA, 22936, USA                  12/9/2024   $          1,508.00   SUPPLIERS OR VENDORS
   MONSTER FIGHT CLUB Total                                                                                                                     $         17,490.00
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        10/21/2024   $         16,501.63   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        10/25/2024   $            454.11   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        10/28/2024   $          4,577.13   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                         11/4/2024   $            880.64   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                         11/8/2024   $            274.65   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        11/11/2024   $            539.72   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        11/15/2024   $             62.35   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        11/18/2024   $            544.91   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        11/22/2024   $            856.45   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        11/25/2024   $            642.81   SUPPLIERS OR VENDORS
   MPS                                                         DEPT CH 17571, PALATINE, IL, 60055-7571, USA                        12/20/2024   $          2,062.85   SUPPLIERS OR VENDORS
   MPS Total                                                                                                                                    $         27,397.25
   MULTITECH, CO                                               RM 30 5/F CAMBRIDGE PLAZA, HONG KONG, CHINA                         10/25/2024   $         20,683.84   SUPPLIERS OR VENDORS
   MULTITECH, CO                                               RM 30 5/F CAMBRIDGE PLAZA, HONG KONG, CHINA                         11/22/2024   $          5,115.12   SUPPLIERS OR VENDORS
   MULTITECH, CO                                               RM 30 5/F CAMBRIDGE PLAZA, HONG KONG, CHINA                         12/20/2024   $         11,754.00   SUPPLIERS OR VENDORS
   MULTITECH, CO Total                                                                                                                          $         37,552.96
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                      10/16/2024   $          5,933.84   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                       11/6/2024   $          8,964.48   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                       11/7/2024   $         13,231.72   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                      11/13/2024   $          4,391.20   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                       12/4/2024   $            452.88   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVENUE, HILLSIDE, NJ, 07205, USA                      12/18/2024   $            147.84   SUPPLIERS OR VENDORS
   N E C A Total                                                                                                                                $         33,121.96
   NACELLE COMPANY LLC                                         2660 W. OLIVE AVENUE, BURBANK, CA, 91505, USA                       12/23/2024   $         52,500.00   SUPPLIERS OR VENDORS
   NACELLE COMPANY LLC Total                                                                                                                    $         52,500.00
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         10/16/2024   $            253.90   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         10/23/2024   $            219.48   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         10/30/2024   $            729.61   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA          11/6/2024   $          1,520.35   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         11/13/2024   $          1,600.15   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         11/20/2024   $            199.93   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         11/26/2024   $            191.53   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA          12/4/2024   $            686.92   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         12/11/2024   $          1,665.34   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         12/18/2024   $            275.49   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         12/24/2024   $            592.18   SUPPLIERS OR VENDORS
   NBM                                                         STE. 700, EAST WING, 160 BROADWAY, NEW YORK, NY, 10038, USA         12/31/2024   $            179.13   SUPPLIERS OR VENDORS
   NBM Total                                                                                                                                    $          8,114.01
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                          10/25/2024   $       161,856.64    SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                           11/1/2024   $       362,723.52    SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                           11/8/2024   $         76,849.36   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                          11/25/2024   $         40,903.84   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                          12/12/2024   $         15,620.64   SUPPLIERS OR VENDORS
   NECA                                                        603 SWEETLAND AVE, HILLSIDE, NJ, 7205, USA                          12/19/2024   $       112,515.96    SUPPLIERS OR VENDORS
   NECA Total                                                                                                                                   $       770,469.96
                                                               108–114 CITY ROAD, STOKE-ON-TRENT, STAFFORDSHIRE, ST4 2PH, UNITED
   NEMESIS NOW INC.
                                                               KINGDOM                                                             11/27/2024   $        22,954.00    SUPPLIERS OR VENDORS
                                                               108–114 CITY ROAD, STOKE-ON-TRENT, STAFFORDSHIRE, ST4 2PH, UNITED
   NEMESIS NOW INC.
                                                               KINGDOM                                                             12/24/2024   $         1,475.50    SUPPLIERS OR VENDORS
   NEMESIS NOW INC. Total                                                                                                                       $        24,429.50
   NETCOMICS, INC                                              100 LOST TREE LANE, CARY, NC, 27513, USA                            10/30/2024   $         6,682.54    SUPPLIERS OR VENDORS
   NETCOMICS, INC                                              100 LOST TREE LANE, CARY, NC, 27513, USA                            11/26/2024   $         4,990.75    SUPPLIERS OR VENDORS
   NETCOMICS, INC                                              100 LOST TREE LANE, CARY, NC, 27513, USA                            12/26/2024   $         2,153.82    SUPPLIERS OR VENDORS
   NETCOMICS, INC                                              100 LOST TREE LANE, CARY, NC, 27513, USA                            12/27/2024   $         9,926.47    SUPPLIERS OR VENDORS
   NETCOMICS, INC Total                                                                                                                         $        23,753.58
   NMR DISTRIBUTION AMERICA INC                                28912 AVENUE PAINE, VALENCIA, CA, 91355, USA                        10/18/2024   $           240.00    SUPPLIERS OR VENDORS
   NMR DISTRIBUTION AMERICA INC                                28912 AVENUE PAINE, VALENCIA, CA, 91355, USA                         11/1/2024   $         4,262.40    SUPPLIERS OR VENDORS
   NMR DISTRIBUTION AMERICA INC                                28912 AVENUE PAINE, VALENCIA, CA, 91355, USA                        11/15/2024   $           240.00    SUPPLIERS OR VENDORS
   NMR DISTRIBUTION AMERICA INC                                28912 AVENUE PAINE, VALENCIA, CA, 91355, USA                         12/9/2024   $        12,672.00    SUPPLIERS OR VENDORS
   NMR DISTRIBUTION AMERICA INC Total                                                                                                           $        17,414.40
   NORTHCENTRAL ELECTRIC COOP                                  P.O. BOX 405, BYHALIA, MS, 38611-0405, USA                          11/11/2024   $        20,351.49          SERVICES
   NORTHCENTRAL ELECTRIC COOP                                  P.O. BOX 405, BYHALIA, MS, 38611-0405, USA                          12/13/2024   $        19,310.52          SERVICES
   NORTHCENTRAL ELECTRIC COOP Total                                                                                                             $        39,662.01
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             10/21/2024   $           137.85    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             10/28/2024   $           303.79    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             11/22/2024   $         4,203.14    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             11/25/2024   $         1,989.62    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             11/29/2024   $         1,992.80    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC.                                         P.O. BOX 2230, BOOTHWYN, PA, 19061, USA                             12/16/2024   $           399.74    SUPPLIERS OR VENDORS
   OFFICE BASICS, INC. Total                                                                                                                    $         9,026.94
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                    10/16/2024   $        38,770.78    SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                    10/17/2024   $           521.16    SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                    10/23/2024   $        30,600.59    SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                    10/24/2024   $         1,502.08    SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                    10/30/2024   $        53,914.57    SUPPLIERS OR VENDORS

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                                           Case 25-10308                    Doc 154              Filed 02/18/25             Page 35 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                  Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                           Dates
                                                                                                                                                    or Value              or Transfer
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  10/31/2024   $          1,522.06   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                   11/6/2024   $         26,011.73   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                   11/7/2024   $         28,171.66   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/13/2024   $         28,504.61   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/14/2024   $         15,015.43   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/20/2024   $         15,896.17   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/21/2024   $          2,196.92   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/26/2024   $         29,811.49   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  11/27/2024   $            776.73   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                   12/4/2024   $         28,227.86   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                   12/5/2024   $            367.04   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/11/2024   $         26,209.02   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/12/2024   $         41,725.20   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/18/2024   $         12,890.87   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/19/2024   $          5,420.65   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/24/2024   $         21,348.41   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/26/2024   $          2,189.45   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                  12/31/2024   $         35,291.92   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC                                227 N. LINDBERGH BLVD., ST LOUIS, MO, 63141, USA                   1/6/2025    $            480.36   SUPPLIERS OR VENDORS
   ONI-LF PUBLISHING GROUP, LLC Total                                                                                                         $       447,366.76
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 10/18/2024   $          9,650.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 10/25/2024   $          5,500.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                  11/1/2024   $          5,500.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 11/15/2024   $          6,850.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 11/18/2024   $          5,500.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 11/29/2024   $          9,650.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                  12/6/2024   $          3,000.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                  12/9/2024   $            250.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 12/16/2024   $            250.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 12/23/2024   $          4,150.00         SERVICES
   ONLINE FREIGHT SERVICES                                     P.O. BOX 860789, MINNEAPOLIS, MN, 55486-0789, USA                 12/30/2024   $          4,150.00         SERVICES
   ONLINE FREIGHT SERVICES Total                                                                                                              $         54,450.00
   OPEN ROAD BRANDS LLC                                        3718 N ROCK ROAD, WICHITA, KS, 67226, USA                         10/21/2024   $          4,678.41   SUPPLIERS OR VENDORS
   OPEN ROAD BRANDS LLC                                        3718 N ROCK ROAD, WICHITA, KS, 67226, USA                          11/8/2024   $            281.40   SUPPLIERS OR VENDORS
   OPEN ROAD BRANDS LLC                                        3718 N ROCK ROAD, WICHITA, KS, 67226, USA                         11/29/2024   $          5,515.99   SUPPLIERS OR VENDORS
   OPEN ROAD BRANDS LLC                                        3718 N ROCK ROAD, WICHITA, KS, 67226, USA                          12/9/2024   $            223.35   SUPPLIERS OR VENDORS
   OPEN ROAD BRANDS LLC                                        3718 N ROCK ROAD, WICHITA, KS, 67226, USA                         12/20/2024   $          2,188.45   SUPPLIERS OR VENDORS
   OPEN ROAD BRANDS LLC Total                                                                                                                 $         12,887.60
   PAI TECHNOLOGY INC.                                         177 E. COLORADO BLVD., SUITE 200, PASADENA, CA, 91105, USA         11/1/2024   $         44,388.48   SUPPLIERS OR VENDORS
   PAI TECHNOLOGY INC.                                         177 E. COLORADO BLVD., SUITE 200, PASADENA, CA, 91105, USA        11/22/2024   $         70,419.64   SUPPLIERS OR VENDORS
   PAI TECHNOLOGY INC. Total                                                                                                                  $       114,808.12
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      10/18/2024   $         31,871.38   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      10/23/2024   $         15,066.52   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                       11/1/2024   $         39,833.00   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                       11/8/2024   $         27,498.65   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      11/15/2024   $         26,494.16   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      11/22/2024   $         45,947.13   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      11/26/2024   $         37,449.68   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                       12/4/2024   $         73,626.06   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      12/13/2024   $         68,435.14   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      12/18/2024   $         55,153.30   SUPPLIERS OR VENDORS
   PAIZO INC.                                                  P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      12/27/2024   $         33,286.30   SUPPLIERS OR VENDORS
   PAIZO INC. Total                                                                                                                           $       454,661.32
   PAIZO, INC.                                                 P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                       11/1/2024   $         17,933.85   SUPPLIERS OR VENDORS
   PAIZO, INC.                                                 P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                       11/4/2024   $         25,896.97   SUPPLIERS OR VENDORS
   PAIZO, INC.                                                 P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      11/18/2024   $         23,190.24   SUPPLIERS OR VENDORS
   PAIZO, INC.                                                 P.O. BOX 84311, SEATTLE, WA, 98124-5611, USA                      11/25/2024   $         49,806.82   SUPPLIERS OR VENDORS
   PAIZO, INC. Total                                                                                                                          $       116,827.88
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     10/21/2024   $          1,890.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     10/25/2024   $            180.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                      11/1/2024   $            180.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     11/11/2024   $            300.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     11/22/2024   $          4,380.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     11/25/2024   $          7,260.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                      12/6/2024   $          6,099.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS                                           P.O. BOX 18380, PALATINE, IL, 60055-8380, USA                     12/13/2024   $            864.00   SUPPLIERS OR VENDORS
   PALADONE PRODUCTS Total                                                                                                                    $         21,153.00
   PALLADIUM BOOKS                                             39074 WEBB COURT, WESTLAND, MI, 48185, USA                        10/21/2024   $          3,973.05   SUPPLIERS OR VENDORS
   PALLADIUM BOOKS                                             39074 WEBB COURT, WESTLAND, MI, 48185, USA                        11/29/2024   $          7,041.27   SUPPLIERS OR VENDORS
   PALLADIUM BOOKS                                             39074 WEBB COURT, WESTLAND, MI, 48185, USA                        12/27/2024   $          3,413.60   SUPPLIERS OR VENDORS
   PALLADIUM BOOKS Total                                                                                                                      $         14,427.92
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                  10/18/2024   $           223.92    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                  10/21/2024   $           423.15    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                  10/25/2024   $        16,713.70    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                  10/28/2024   $          1,582.71   SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                   11/1/2024   $           768.61    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                   11/8/2024   $           259.92    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                  11/12/2024   $           539.79    SUPPLIERS OR VENDORS
                                                               BROCKBOURNE HOUSE LEVEL 2, 77 MOUNT EPHRAIM, TUNBRIDGE WELLS,
   PANINI UK LTD
                                                               TN4 8BS, ENGLAND                                                   12/9/2024   $           168.97    SUPPLIERS OR VENDORS
   PANINI UK LTD Total                                                                                                                        $        20,680.77
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       10/18/2024   $           200.55    SUPPLIERS OR VENDORS


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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                  Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                            Dates
                                                                                                                                                    or Value              or Transfer
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       10/25/2024   $          1,408.43   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        11/1/2024   $             84.08   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        11/8/2024   $          1,370.72   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       11/15/2024   $          2,549.89   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       11/22/2024   $            159.62   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       11/29/2024   $          1,352.25   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                        12/6/2024   $          2,444.12   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       12/13/2024   $          1,176.90   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       12/20/2024   $          1,411.91   SUPPLIERS OR VENDORS
   PAPERCUTZ INC.                                              8838 SW 129TH STREET, MIAMI, FL, 33176, USA                       12/27/2024   $          2,687.31   SUPPLIERS OR VENDORS
   PAPERCUTZ INC. Total                                                                                                                       $         14,845.78
   PASSAGE TRADING CO., LTD                                    3-1-4-904 TSUKIJI, CHUO-KU, TOKYO, 104-0045, JAPAN                10/28/2024   $         20,048.25   SUPPLIERS OR VENDORS
   PASSAGE TRADING CO., LTD                                    3-1-4-904 TSUKIJI, CHUO-KU, TOKYO, 104-0045, JAPAN                 12/2/2024   $         12,979.86   SUPPLIERS OR VENDORS
   PASSAGE TRADING CO., LTD Total                                                                                                             $         33,028.11
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                         10/31/2024   $          3,700.00         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                          11/8/2024   $         45,837.24         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                         11/26/2024   $          3,052.98         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                          12/6/2024   $         49,537.24         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                         12/12/2024   $          3,042.69         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                         12/24/2024   $          3,700.00         SERVICES
   PBW COMMUNICATIONS LLC.                                     P.O. BOX 32863, BALTIMORE, MD, 21282, USA                         12/31/2024   $          6,390.00         SERVICES
   PBW COMMUNICATIONS LLC. Total                                                                                                              $        115,260.15
   PEGASUS SPIELE NORTH AMERICA CORPORATION                    2955 LONE OAK DRIVE, EAGAN, MN, 55121, USA                        10/17/2024   $          2,362.56   SUPPLIERS OR VENDORS
   PEGASUS SPIELE NORTH AMERICA CORPORATION                    2955 LONE OAK DRIVE, EAGAN, MN, 55121, USA                         11/6/2024   $          4,895.23   SUPPLIERS OR VENDORS
   PEGASUS SPIELE NORTH AMERICA CORPORATION                    2955 LONE OAK DRIVE, EAGAN, MN, 55121, USA                         12/6/2024   $         32,794.39   SUPPLIERS OR VENDORS
   PEGASUS SPIELE NORTH AMERICA CORPORATION                    2955 LONE OAK DRIVE, EAGAN, MN, 55121, USA                        12/31/2024   $         15,767.40   SUPPLIERS OR VENDORS
   PEGASUS SPIELE NORTH AMERICA CORPORATION Total                                                                                             $         55,819.58
   PENGUIN BOOKS LTD                                           80 STRAND, LONDON, WC2R 0RL, UNITED KINGDOM                       10/24/2024   $         15,390.98   SUPPLIERS OR VENDORS
   PENGUIN BOOKS LTD                                           80 STRAND, LONDON, WC2R 0RL, UNITED KINGDOM                        11/8/2024   $         42,860.90   SUPPLIERS OR VENDORS
   PENGUIN BOOKS LTD Total                                                                                                                    $         58,251.88
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  10/17/2024   $          1,336.90   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  10/25/2024   $         10,977.81   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       10/28/2024   $        892,379.32   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       10/31/2024   $        860,920.14   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                   11/7/2024   $          6,734.56   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  11/13/2024   $          3,381.86   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       11/13/2024   $        799,992.51   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  11/14/2024   $          4,944.43   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       11/15/2024   $        475,409.50   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  11/26/2024   $          7,948.70   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       11/29/2024   $      1,655,274.77   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  12/11/2024   $          5,729.46   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       12/17/2024   $        257,774.28   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  12/18/2024   $          4,008.05   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  12/19/2024   $          1,160.96   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       12/23/2024   $        608,905.01   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  12/30/2024   $          5,385.91   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    P.O. BOX 223384, PITTSBURGH, PA, 15251-2384, USA                  12/31/2024   $            359.94   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                       12/31/2024   $        600,000.00   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                        1/8/2025    $        469,860.16   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC                                    BOX 223384, PITTSBURGH, PA, 15251-2384, USA                        1/13/2025   $        527,319.30   SUPPLIERS OR VENDORS
   PENGUIN RANDOM HOUSE LLC Total                                                                                                             $      7,199,803.57
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                   10/24/2024   $          3,640.00         SERVICES
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                    11/5/2024   $          3,625.00         SERVICES
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                   11/20/2024   $          2,775.00         SERVICES
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                    12/4/2024   $          1,700.00         SERVICES
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                   12/13/2024   $          3,075.00         SERVICES
   PHILIP L ELLENBERG                                          445 TYSON CIR ROSWELL, GA 30076                                   12/27/2024   $          2,645.00         SERVICES
   PHILIP L ELLENBERG Total                                                                                                                   $         17,460.00
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   10/21/2024   $          1,102.50   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                    11/4/2024   $          8,398.68   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   11/15/2024   $          7,908.96   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   11/25/2024   $          6,840.00   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   11/29/2024   $          1,577.88   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                    12/2/2024   $          1,740.15   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   12/13/2024   $          5,892.00   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   12/16/2024   $          1,589.66   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   12/27/2024   $          9,400.90   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION                               P.O. BOX 890938, CHARLOTTE, NC, 28289-0938, USA                   12/30/2024   $          9,451.50   SUPPLIERS OR VENDORS
   PIEDMONT NATIONAL CORPORATION Total                                                                                                        $         53,902.23
   PINTRILL, LLC                                               37 GREENPOINT AVE., STE 320, BROOKLYN, NY, 11222, USA             10/16/2024   $         14,209.00   SUPPLIERS OR VENDORS
   PINTRILL, LLC Total                                                                                                                        $         14,209.00
   PLAYMATES TOYS INC.                                         909 N PACIFIC COAST HWY, SUITE 800, EL SEGUNDO, CA, 90245, USA    12/27/2024   $         30,379.00   SUPPLIERS OR VENDORS
   PLAYMATES TOYS INC. Total                                                                                                                  $         30,379.00
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          10/18/2024   $         90,254.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          10/23/2024   $         21,421.52   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          10/25/2024   $          1,695.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          10/30/2024   $         23,910.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                           11/4/2024   $         59,730.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                           11/6/2024   $         10,530.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          11/15/2024   $        564,479.60   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          11/25/2024   $        503,637.40   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                          11/29/2024   $         87,498.35   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL                               BELLEVUE, WA, 98004, USA                                           12/4/2024   $         23,760.00   SUPPLIERS OR VENDORS
   POKEMON COMPANY INTERNATIONAL Total                                                                                                        $      1,386,915.87
   POLLY SIMONE INC.                                           3960 CORNELL ROAD, AGOURA, CA, 91301, USA                         11/11/2024   $          8,595.00   SUPPLIERS OR VENDORS
   POLLY SIMONE INC. Total                                                                                                                    $          8,595.00
   POPFUN MERCHANDISING LLC                                    P.O. BOX 311, SHREWSBURY, MA, 01545, USA                          10/18/2024   $          5,049.89   SUPPLIERS OR VENDORS
   POPFUN MERCHANDISING LLC                                    P.O. BOX 311, SHREWSBURY, MA, 01545, USA                          11/15/2024   $          2,741.55   SUPPLIERS OR VENDORS
   POPFUN MERCHANDISING LLC                                    P.O. BOX 311, SHREWSBURY, MA, 01545, USA                          11/29/2024   $          2,281.44   SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount        Reasons for Payment
                          Creditor Name                                                         Address                              Dates
                                                                                                                                                      or Value              or Transfer
   POPFUN MERCHANDISING LLC                                    P.O. BOX 311, SHREWSBURY, MA, 01545, USA                            12/27/2024   $          1,455.00   SUPPLIERS OR VENDORS
   POPFUN MERCHANDISING LLC Total                                                                                                               $         11,527.88
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       10/17/2024   $         15,756.47   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       10/17/2024   $         29,073.22   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       10/25/2024   $         81,468.54   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       10/30/2024   $          2,440.60   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       10/31/2024   $         37,947.26   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                        11/7/2024   $        276,260.48   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       11/13/2024   $        123,482.29   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       11/21/2024   $         78,284.12   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       11/26/2024   $         15,390.96   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       11/27/2024   $         28,432.47   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                        12/5/2024   $         15,578.01   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                        12/9/2024   $        190,142.61   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       12/12/2024   $         40,002.63   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       12/18/2024   $          3,289.98   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       12/19/2024   $          3,662.92   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                       12/24/2024   $          5,884.32   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC                                     2800 VISTA RIDGE DR., SUWANEE, GA, 30024, USA                        1/2/2025    $         18,399.09   SUPPLIERS OR VENDORS
   PUBLISHER SERVICES, INC Total                                                                                                                $        965,495.97
   PW FUND B LP                                                555 CAPITAL MALL SUITE 900, SACRAMENTO, CA, 95814, USA              10/31/2024   $         19,397.06         SERVICES
   PW FUND B LP                                                555 CAPITAL MALL SUITE 900, SACRAMENTO, CA, 95814, USA              11/27/2024   $         19,397.06         SERVICES
   PW FUND B LP Total                                                                                                                           $         38,794.12
   PYRAMID AMERICA LTD.                                        1 HAVEN AVENUE, MT. VERNON, NY, 10553, USA                          10/25/2024   $          8,061.00   SUPPLIERS OR VENDORS
   PYRAMID AMERICA LTD.                                        1 HAVEN AVENUE, MT. VERNON, NY, 10553, USA                           11/8/2024   $         12,777.00   SUPPLIERS OR VENDORS
   PYRAMID AMERICA LTD.                                        1 HAVEN AVENUE, MT. VERNON, NY, 10553, USA                           12/2/2024   $          8,706.00   SUPPLIERS OR VENDORS
   PYRAMID AMERICA LTD.                                        1 HAVEN AVENUE, MT. VERNON, NY, 10553, USA                          12/20/2024   $          2,415.00   SUPPLIERS OR VENDORS
   PYRAMID AMERICA LTD. Total                                                                                                                   $         31,959.00
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       10/18/2024   $         25,241.56   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       10/25/2024   $          2,016.36   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       11/22/2024   $          5,539.48   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       11/25/2024   $          1,084.52   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                        12/9/2024   $          8,749.96   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       12/13/2024   $          4,690.24   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT                                        8550 S US HWY 17/92, MAITLAND, FL, 32751, USA                       12/20/2024   $          4,523.28   SUPPLIERS OR VENDORS
   QUARTERMASTER DIRECT Total                                                                                                                   $         51,845.40
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               10/18/2024   $          5,900.09         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               10/25/2024   $          8,945.47         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               10/28/2024   $          1,144.72         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                11/1/2024   $             20.00         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                11/4/2024   $          8,310.32         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                11/8/2024   $         10,229.27         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               11/15/2024   $         11,500.09         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               11/22/2024   $         11,138.02         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                12/2/2024   $          2,325.84         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                12/2/2024   $         12,405.11         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                12/6/2024   $          9,341.89         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA                12/9/2024   $            969.50         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               12/13/2024   $         13,395.66         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               12/20/2024   $         12,295.66         SERVICES
   RANDSTAD                                                    P.O. BOX 7247-6655, PHILADELPHIA, PA, 19170-6655, USA               12/27/2024   $         11,239.28         SERVICES
   RANDSTAD Total                                                                                                                               $        119,160.92
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        10/17/2024   $        101,700.00   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        10/23/2024   $        210,876.75   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        10/30/2024   $            947.70   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        11/14/2024   $          1,422.00   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        11/20/2024   $         50,600.40   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        11/27/2024   $      1,445,060.00   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                         12/5/2024   $         18,775.60   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        12/11/2024   $         16,252.20   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        12/18/2024   $          6,169.50   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                        12/24/2024   $            940.50   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC.                            P.O. BOX 845233, BOSTON, MA, 02284-5233, USA                         1/2/2025    $            888.30   SUPPLIERS OR VENDORS
   RAVENSBURGER NORTH AMERICA, INC. Total                                                                                                       $      1,853,632.95
   RCM&D                                                       P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA                      10/30/2024   $         15,392.62         SERVICES
   RCM&D                                                       P.O. BOX 74608, CLEVELANDHIA, OH, 44194-0691, USA                    11/1/2024   $         26,326.88   SUPPLIERS OR VENDORS
   RCM&D                                                       555 FAIRMOUNT AVENUE, BALTIMORE, MD, 21286, USA                     11/22/2024   $          5,951.00   SUPPLIERS OR VENDORS
   RCM&D                                                       P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA                      11/26/2024   $         15,392.62         SERVICES
   RCM&D                                                       555 FAIRMOUNT AVENUE, BALTIMORE, MD, 21286, USA                      12/2/2024   $         26,326.88   SUPPLIERS OR VENDORS
   RCM&D                                                       P.O. BOX 74608, CLEVELAND, OH, 44194-0691, USA                       1/3/2025    $         16,648.87         SERVICES
   RCM&D                                                       555 FAIRMOUNT AVENUE, BALTIMORE, MD, 21286, USA                      1/3/2025    $         28,462.50   SUPPLIERS OR VENDORS
   RCM&D Total                                                                                                                                  $        134,501.37
   RCM&D - CONSOLIDATED INSURANCE CENTER                       P.O. BOX 74608 CLEVELAND, OH 44194-0691                              11/1/2024   $          3,556.06         SERVICES
   RCM&D - CONSOLIDATED INSURANCE CENTER                       P.O. BOX 74608 CLEVELAND, OH 44194-0691                             11/25/2024   $          3,556.06         SERVICES
   RCM&D - CONSOLIDATED INSURANCE CENTER                       P.O. BOX 74608 CLEVELAND, OH 44194-0691                              1/2/2025    $          3,723.56         SERVICES
   RCM&D - CONSOLIDATED INSURANCE CENTER Total                                                                                                  $         10,835.68
   REALBAT INC                                                 1560 MILITARY TURNPIKE, PLATTSBURGH, NY, 12901-7458, USA            11/4/2024    $         53,089.61         SERVICES
   REALBAT INC Total                                                                                                                            $         53,089.61
   REAPER MINIATURES                                           P.O. BOX 2107, LAKE DALLAS, TX, 75065-2107, USA                     10/25/2024   $          1,071.68   SUPPLIERS OR VENDORS
   REAPER MINIATURES                                           P.O. BOX 2107, LAKE DALLAS, TX, 75065-2107, USA                     11/11/2024   $          7,447.07   SUPPLIERS OR VENDORS
   REAPER MINIATURES                                           P.O. BOX 2107, LAKE DALLAS, TX, 75065-2107, USA                     12/11/2024   $          9,294.57   SUPPLIERS OR VENDORS
   REAPER MINIATURES                                           P.O. BOX 2107, LAKE DALLAS, TX, 75065-2107, USA                     12/13/2024   $          1,593.25   SUPPLIERS OR VENDORS
   REAPER MINIATURES Total                                                                                                                      $         19,406.57
   RECEIVER GENERAL / GST, GST ACT# 123840050                  OTTAWA, ON, K1A 1J8, CANADA                                         10/31/2024   $         52,747.29          OTHER
   RECEIVER GENERAL / GST, GST ACT# 123840050                  OTTAWA, ON, K1A 1J8, CANADA                                         11/30/2024   $         86,059.71          OTHER
   RECEIVER GENERAL / GST, GST ACT# 123840050                  OTTAWA, ON, K1A 1J8, CANADA                                         12/31/2024   $         41,131.50          OTHER
   RECEIVER GENERAL / GST, GST ACT# 123840050 Total                                                                                             $        179,938.50
   RENEGADE GAME STUDIOS                                       153 SUGAR BELLE DRIVE SUITE B #166, WINTER GARDEN, FL, 34787, USA   11/11/2024   $        215,019.97   SUPPLIERS OR VENDORS
   RENEGADE GAME STUDIOS                                       153 SUGAR BELLE DRIVE SUITE B #166, WINTER GARDEN, FL, 34787, USA   12/11/2024   $        100,415.38   SUPPLIERS OR VENDORS
   RENEGADE GAME STUDIOS Total                                                                                                                  $        315,435.35

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                            Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                     Dates
                                                                                                                                              or Value              or Transfer
   REPUBLIC SERVICES #091-0590056                              P.O. BOX 677156, DALLAS, TX, 75267-7156, USA                10/25/2024   $          4,993.81   SUPPLIERS OR VENDORS
   REPUBLIC SERVICES #091-0590056                              P.O. BOX 677156, DALLAS, TX, 75267-7156, USA                10/31/2024   $         19,656.40   SUPPLIERS OR VENDORS
   REPUBLIC SERVICES #091-0590056                              P.O. BOX 677156, DALLAS, TX, 75267-7156, USA                12/24/2024   $          4,590.35   SUPPLIERS OR VENDORS
   REPUBLIC SERVICES #091-0590056 Total                                                                                                 $         29,240.56
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        10/21/2024   $          2,090.17   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        10/28/2024   $            939.05   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA         11/4/2024   $            751.24   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        11/11/2024   $          1,039.34   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        11/18/2024   $            751.24   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        11/25/2024   $          1,445.21   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA         12/9/2024   $          3,821.66   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        12/16/2024   $          1,069.59   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        12/23/2024   $          1,607.84   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC.                                 454 WEST NAPA STREET, UNIT B, SONOMA, CA, 95476, USA        12/27/2024   $          1,056.39   SUPPLIERS OR VENDORS
   RETAIL MANAGEMENT HERO INC. Total                                                                                                    $         14,571.73
   RIO GRANDE GAMES                                            18 SANTA ANA LOOP, PLACITAS, NM, 87043, USA                 10/17/2024   $         35,465.95   SUPPLIERS OR VENDORS
   RIO GRANDE GAMES                                            18 SANTA ANA LOOP, PLACITAS, NM, 87043, USA                 11/14/2024   $         17,191.43   SUPPLIERS OR VENDORS
   RIO GRANDE GAMES                                            18 SANTA ANA LOOP, PLACITAS, NM, 87043, USA                 11/20/2024   $          4,701.06   SUPPLIERS OR VENDORS
   RIO GRANDE GAMES                                            18 SANTA ANA LOOP, PLACITAS, NM, 87043, USA                 12/19/2024   $          8,510.24   SUPPLIERS OR VENDORS
   RIO GRANDE GAMES                                            18 SANTA ANA LOOP, PLACITAS, NM, 87043, USA                 12/24/2024   $          3,631.92   SUPPLIERS OR VENDORS
   RIO GRANDE GAMES Total                                                                                                               $         69,500.60
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     10/18/2024   $            406.31         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     10/21/2024   $            268.49         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     10/28/2024   $            429.00         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                      11/1/2024   $            191.73         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                      11/4/2024   $            649.09         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     11/11/2024   $            815.80         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     11/18/2024   $            115.61         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     11/22/2024   $            153.85         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     11/25/2024   $            442.84         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                      12/2/2024   $            457.96         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                      12/6/2024   $            982.43         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                      12/9/2024   $            233.51         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     12/13/2024   $          2,062.05         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     12/20/2024   $            608.13         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     12/23/2024   $          1,638.95         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     12/27/2024   $            487.25         SERVICES
   ROADRUNNER TRANSPORTATION                                   P.O. BOX 74857, CHICAGO, IL, 60694, USA                     12/30/2024   $            273.49         SERVICES
   ROADRUNNER TRANSPORTATION Total                                                                                                      $         10,216.49
   ROCK LEASE ADMINISTRATION C/O ROCK COMMERCIAL
                                                               YORK, PA, 17401, USA
   REAL ESTATE, LLC                                                                                                        10/31/2024   $        15,936.75          SERVICES
   ROCK LEASE ADMINISTRATION C/O ROCK COMMERCIAL
                                                               YORK, PA, 17401, USA
   REAL ESTATE, LLC                                                                                                        11/27/2024   $        15,936.75          SERVICES
   ROCK LEASE ADMINISTRATION C/O ROCK COMMERCIAL
   REAL ESTATE, LLC Total                                                                                                               $        31,873.50
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                10/25/2024   $         1,036.05          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                10/28/2024   $         2,707.10          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                 11/4/2024   $         1,133.12          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                 11/8/2024   $         1,200.65          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/11/2024   $           691.18          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/18/2024   $           750.14          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/22/2024   $           709.40          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/29/2024   $           673.33          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                 12/2/2024   $           147.20          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                 12/9/2024   $         3,130.89          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/13/2024   $           261.55          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/16/2024   $           267.07          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/20/2024   $         1,911.45          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/23/2024   $         4,122.72          SERVICES
   SAIA MOTOR FREIGHT LINE LLC.                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/30/2024   $           752.24          SERVICES
   SAIA MOTOR FREIGHT LINE LLC. Total                                                                                                   $        19,494.09
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                10/18/2024   $           302.49          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                10/21/2024   $         1,054.13          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/11/2024   $           233.55          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/15/2024   $           552.11          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/18/2024   $         1,837.25          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                11/25/2024   $           966.94          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                 12/6/2024   $           556.15          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/20/2024   $         3,335.86          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/23/2024   $         2,820.17          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/27/2024   $           867.64          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC                                P.O. BOX 730532, DALLAS, TX, 75373-0532, USA                12/30/2024   $           101.50          SERVICES
   SAIA MOTOR FREIGHT LINE, LLC Total                                                                                                   $        12,627.79
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L             412 BROOK ROAD, TOWSON, MD, 21286, USA                      10/30/2024   $         9,396.00          SERVICES
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L             412 BROOK ROAD, TOWSON, MD, 21286, USA                      11/26/2024   $         6,250.00          SERVICES
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L             412 BROOK ROAD, TOWSON, MD, 21286, USA                       12/4/2024   $         9,984.10          SERVICES
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L             412 BROOK ROAD, TOWSON, MD, 21286, USA                      12/18/2024   $         6,550.00          SERVICES
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L             412 BROOK ROAD, TOWSON, MD, 21286, USA                       1/10/2025   $        11,750.00          SERVICES
   SCALLY, KEVIN G, SCALLY CERTIFIED PUBLIC ACCT L
   Total                                                                                                                                $        43,930.10
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              10/16/2024   $        22,841.58          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              10/18/2024   $        27,778.59          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              10/23/2024   $        22,454.83          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              10/24/2024   $         2,907.01          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              10/30/2024   $        22,129.86          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA               11/6/2024   $        19,862.64          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              11/13/2024   $        19,182.30          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              11/29/2024   $        52,777.71          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              12/11/2024   $        49,488.04          SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA              12/18/2024   $        18,358.35          SERVICES

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                 Total Amount       Reasons for Payment
                          Creditor Name                                                          Address                          Dates
                                                                                                                                                   or Value             or Transfer
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA                   12/24/2024   $         21,562.05         SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA                   12/31/2024   $            894.38         SERVICES
   SCAN GLOBAL LOGISTICS                                       P.O. BOX 7410684, CHICAGO, IL, 60674-0684, USA                    1/6/2025    $         27,686.54         SERVICES
   SCAN GLOBAL LOGISTICS Total                                                                                                               $       307,923.88
   SCB DISTRIBUTORS                                            15608 SOUTH NEW CENTURY DRIVE, GARDENA, CA, 90248, USA           10/28/2024   $          4,942.58   SUPPLIERS OR VENDORS
   SCB DISTRIBUTORS                                            15608 SOUTH NEW CENTURY DRIVE, GARDENA, CA, 90248, USA           11/15/2024   $            720.00   SUPPLIERS OR VENDORS
   SCB DISTRIBUTORS                                            15608 SOUTH NEW CENTURY DRIVE, GARDENA, CA, 90248, USA           11/25/2024   $          2,584.40   SUPPLIERS OR VENDORS
   SCB DISTRIBUTORS                                            15608 SOUTH NEW CENTURY DRIVE, GARDENA, CA, 90248, USA            12/6/2024   $          1,855.00   SUPPLIERS OR VENDORS
   SCB DISTRIBUTORS                                            15608 SOUTH NEW CENTURY DRIVE, GARDENA, CA, 90248, USA           12/13/2024   $          2,036.20   SUPPLIERS OR VENDORS
   SCB DISTRIBUTORS Total                                                                                                                    $         12,138.18
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 10/18/2024   $          2,928.59   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 10/25/2024   $          6,803.34   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                  11/1/2024   $          1,578.51   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                  11/4/2024   $            358.52   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                  11/8/2024   $            478.04   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 11/14/2024   $          5,475.44   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 11/20/2024   $          2,240.02   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 11/26/2024   $          2,790.31   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                  12/5/2024   $            413.75   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323                                P.O. BOX 639851, CINCINNATI, OH, 45263-9851, USA                 12/12/2024   $          7,112.14   SUPPLIERS OR VENDORS
   SCHOLASTIC INC , ACC#2621323 Total                                                                                                        $         30,178.66
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA        11/21/2024   $            137.27   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA        11/27/2024   $          1,781.98   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA         12/5/2024   $          3,178.63   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA        12/12/2024   $          3,974.75   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA        12/19/2024   $          1,707.65   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT                              12541 METRO PARKWAY, SUITE 20, FORT MYERS, FL, 33966, USA        12/26/2024   $          1,234.38   SUPPLIERS OR VENDORS
   SCOUT COMICS AND ENTERTAINMENT Total                                                                                                      $         12,014.66
   SCS DIRECT, INC                                             TRUMBULL, CT, 6611, USA                                          12/13/2024   $          9,240.00   SUPPLIERS OR VENDORS
   SCS DIRECT, INC Total                                                                                                                     $          9,240.00
   SFV YORK ROAD, LLC                                          2328 W JOPPA RD, STE 200, LUTHERVILLE, MD, 21093, USA            10/31/2024   $         69,280.99        SERVICES
   SFV YORK ROAD, LLC                                          2328 W JOPPA RD, STE 200, LUTHERVILLE, MD, 21093, USA             1/2/2025    $         65,668.66        SERVICES
   SFV YORK ROAD, LLC Total                                                                                                                  $       134,949.65
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     10/18/2024   $          4,958.93   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     10/21/2024   $          2,920.28   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     10/25/2024   $         25,432.73   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     10/28/2024   $            230.26   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                      11/1/2024   $          2,266.26   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                      11/8/2024   $         22,056.29   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/11/2024   $          5,758.56   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/15/2024   $         20,750.98   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/18/2024   $          1,819.71   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/22/2024   $          3,324.02   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/25/2024   $          2,748.36   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                     11/29/2024   $         12,168.97   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                      12/6/2024   $          3,302.96   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC                                       P.O. BOX 70660, CHICAGO, IL, 60673-0660, USA                      12/9/2024   $          3,273.27   SUPPLIERS OR VENDORS
   SIMON & SCHUSTER, LLC Total                                                                                                               $       111,011.58
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           10/25/2024   $          6,267.20   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           10/30/2024   $          7,122.80   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           11/20/2024   $         14,384.80   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           11/26/2024   $          3,030.00   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           11/27/2024   $          9,267.12   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                            12/9/2024   $       101,775.67    SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           12/13/2024   $       152,975.80    SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           12/16/2024   $         58,235.87   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           12/18/2024   $         14,827.91   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           12/24/2024   $            866.45   SUPPLIERS OR VENDORS
   SIRIUS DICE                                                 1 CITY POINT, BROOKLYN, NY, 11201, USA                           12/31/2024   $            989.00   SUPPLIERS OR VENDORS
   SIRIUS DICE Total                                                                                                                         $       369,742.62
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   10/21/2024   $            440.62   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   10/25/2024   $            599.88   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   10/28/2024   $            768.62   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                    11/4/2024   $          6,100.57   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                    11/8/2024   $             19.99   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   11/11/2024   $            487.41   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   11/18/2024   $          5,163.05   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                   11/29/2024   $          1,049.71   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC                                      16 CONTINENTAL ROAD, SCARSDALE, NY, 10583, USA                    12/2/2024   $            749.88   SUPPLIERS OR VENDORS
   SKYSCRAPER STUDIOS INC Total                                                                                                              $         15,379.73
   SMART ZONE GAMES                                            PLAINVIEW, NY, 11803, USA                                         11/1/2024   $          9,033.00   SUPPLIERS OR VENDORS
   SMART ZONE GAMES                                            PLAINVIEW, NY, 11803, USA                                        11/29/2024   $          2,611.60   SUPPLIERS OR VENDORS
   SMART ZONE GAMES Total                                                                                                                    $         11,644.60
   SONJA MERZ INTERNATIONAL                                    68 PIGEON STREET, ROCKPORT, MA, 01966, USA                       11/25/2024   $         10,778.49   SUPPLIERS OR VENDORS
   SONJA MERZ INTERNATIONAL Total                                                                                                            $         10,778.49
   SPERO TOY ENTERPRISES, LLC                                  1122 TERRACE HWY, BROUSSARD, LA, 70518, USA                      10/21/2024   $          2,934.56   SUPPLIERS OR VENDORS
   SPERO TOY ENTERPRISES, LLC                                  1122 TERRACE HWY, BROUSSARD, LA, 70518, USA                      11/22/2024   $          9,313.28   SUPPLIERS OR VENDORS
   SPERO TOY ENTERPRISES, LLC Total                                                                                                          $         12,247.84
   SQUARE ENIX LLC                                             P.O. BOX 60079, LOS ANGELES, CA, 90060-0079, USA                 11/19/2024   $       179,282.00    SUPPLIERS OR VENDORS
   SQUARE ENIX LLC                                             P.O. BOX 60079, LOS ANGELES, CA, 90060-0079, USA                 11/27/2024   $          7,718.40   SUPPLIERS OR VENDORS
   SQUARE ENIX LLC Total                                                                                                                     $       187,000.40
   STANTON PUBLIC RELATIONS& MKTG                              14TH FLOOR, 909 THIRD AVENUE, NEW YORK, NY, 10022, USA           11/20/2024   $         15,000.00        SERVICES
   STANTON PUBLIC RELATIONS& MKTG                              14TH FLOOR, 909 THIRD AVENUE, NEW YORK, NY, 10022, USA           12/19/2024   $         10,000.00        SERVICES
   STANTON PUBLIC RELATIONS& MKTG Total                                                                                                      $         25,000.00
   STAR ACE TOYS LIMITED                                       20E, BLOCK 4, BELAIR MONTE, 3 MA SIK ROAD, FANLING, HONG KONG    10/18/2024   $         27,669.36   SUPPLIERS OR VENDORS
   STAR ACE TOYS LIMITED                                       20E, BLOCK 4, BELAIR MONTE, 3 MA SIK ROAD, FANLING, HONG KONG    10/25/2024   $         33,068.56   SUPPLIERS OR VENDORS
   STAR ACE TOYS LIMITED                                       20E, BLOCK 4, BELAIR MONTE, 3 MA SIK ROAD, FANLING, HONG KONG    11/22/2024   $         29,918.88   SUPPLIERS OR VENDORS
   STAR ACE TOYS LIMITED                                       20E, BLOCK 4, BELAIR MONTE, 3 MA SIK ROAD, FANLING, HONG KONG    12/20/2024   $         39,741.63   SUPPLIERS OR VENDORS
   STAR ACE TOYS LIMITED Total                                                                                                               $       130,398.43
   STATE BOARD OF EQUALIZATION                                 P.O. BOX 942879, SACRAMENTO, CA, 94279-0001, USA                 10/29/2024   $         15,239.00   SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                   Total Amount       Reasons for Payment
                          Creditor Name                                                         Address                             Dates
                                                                                                                                                     or Value             or Transfer
   STATE BOARD OF EQUALIZATION Total                                                                                                           $         15,239.00
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            10/18/2024   $           944.00    SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            11/1/2024    $        11,289.34    SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            11/4/2024    $          3,521.19   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            11/22/2024   $          5,086.00   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            11/25/2024   $          5,580.00   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            11/29/2024   $          1,800.00   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            12/9/2024    $          4,512.58   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            12/13/2024   $          3,760.00   SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                            12/27/2024   $        37,428.96    SUPPLIERS OR VENDORS
                                                               HANOVER HOUSE, GREG STREET, STOCKPORT, CHESHIRE, SK5 7NR, UNITED
   STEAMFORGED GAMES LTD
                                                               KINGDOM                                                             1/6/2025    $         1,240.00    SUPPLIERS OR VENDORS
   STEAMFORGED GAMES LTD Total                                                                                                                 $        75,162.07
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          10/16/2024   $           934.87    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          10/17/2024   $           409.23    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          10/23/2024   $         3,324.79    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          10/30/2024   $         1,167.46    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          10/31/2024   $           424.58    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          11/13/2024   $           715.17    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          11/14/2024   $           100.06    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          11/20/2024   $           299.06    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          11/26/2024   $           164.72    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          11/27/2024   $         1,896.71    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA           12/4/2024   $           157.94    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA           12/5/2024   $           751.14    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          12/11/2024   $           532.59    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          12/12/2024   $         2,554.21    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          12/19/2024   $           575.66    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA          12/26/2024   $           142.29    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC.                                9255 W. SUNSET BLVD, STE 300, LOS ANGELES, CA, 90069, USA           1/6/2025    $           546.55    SUPPLIERS OR VENDORS
   STORM KING PRODUCTIONS, INC. Total                                                                                                          $        14,697.03
   STUDIO 2 PUBLISHING, INC                                    2663 BYINGTON SOLWAY RD, KNOXVILLE, TN, 37931, USA                 10/21/2024   $        12,371.87    SUPPLIERS OR VENDORS
   STUDIO 2 PUBLISHING, INC                                    2663 BYINGTON SOLWAY RD, KNOXVILLE, TN, 37931, USA                  11/4/2024   $         5,071.87    SUPPLIERS OR VENDORS
   STUDIO 2 PUBLISHING, INC                                    2663 BYINGTON SOLWAY RD, KNOXVILLE, TN, 37931, USA                 11/18/2024   $        22,160.70    SUPPLIERS OR VENDORS
   STUDIO 2 PUBLISHING, INC                                    2663 BYINGTON SOLWAY RD, KNOXVILLE, TN, 37931, USA                 11/29/2024   $         3,061.49    SUPPLIERS OR VENDORS
   STUDIO 2 PUBLISHING, INC                                    2663 BYINGTON SOLWAY RD, KNOXVILLE, TN, 37931, USA                 12/13/2024   $        13,141.77    SUPPLIERS OR VENDORS
   STUDIO 2 PUBLISHING, INC Total                                                                                                              $        55,807.70
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA                11/1/2024   $        26,043.62    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA                11/8/2024   $         5,560.97    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               11/15/2024   $           277.48    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               11/22/2024   $           738.83    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               11/29/2024   $         1,986.34    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA                12/6/2024   $        14,303.49    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               12/13/2024   $           777.09    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               12/20/2024   $           341.31    SUPPLIERS OR VENDORS
   SUMERIAN COMICS                                             434 HOUSTON ST, SUITE 230, NASHVILLE, TN, 37203, USA               12/27/2024   $         2,448.36    SUPPLIERS OR VENDORS
   SUMERIAN COMICS Total                                                                                                                       $        52,477.49
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   10/25/2024   $        64,400.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   10/30/2024   $        21,828.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   11/12/2024   $        73,048.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   11/20/2024   $        24,120.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   11/26/2024   $        14,784.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   11/29/2024   $        30,302.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                    12/4/2024   $         5,600.00    SUPPLIERS OR VENDORS
   SUPER 7                                                     P.O. BOX 989746, WEST SACRAMENTO, CA, 95798, USA                   12/18/2024   $        13,538.50    SUPPLIERS OR VENDORS
   SUPER 7 Total                                                                                                                               $       247,620.50
   SUPER IMPULSE USA LLC                                       10 CANAL STREET, STE 330, BRISTOL, PA, 19007, USA                  10/25/2024   $         1,137.00    SUPPLIERS OR VENDORS
   SUPER IMPULSE USA LLC                                       10 CANAL STREET, STE 330, BRISTOL, PA, 19007, USA                  11/29/2024   $        24,025.20    SUPPLIERS OR VENDORS
   SUPER IMPULSE USA LLC Total                                                                                                                 $        25,162.20
   TEETURTLE                                                   6200 PERSHALL RD., HAZELWOOD, MO, 63042, USA                       11/7/2024    $        25,507.53    SUPPLIERS OR VENDORS
   TEETURTLE                                                   TEETURTLE 6200 PERSHALL RD., HAZELWOOD, MO, 63042, USA             12/9/2024    $        34,648.90    SUPPLIERS OR VENDORS
   TEETURTLE Total                                                                                                                             $        60,156.43
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                   10/16/2024   $         4,793.97         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                   10/23/2024   $         4,833.45         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                   10/30/2024   $           878.98         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                    11/6/2024   $         1,201.36         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                   11/13/2024   $         1,752.52         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                    12/9/2024   $         1,819.23         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE)                              99 ROUTE 271 SUD, ST-EPHREM, QC, G0M 1R0, CANADA                   12/13/2024   $           861.49         SERVICES
   TFI TRANSPORT 11 INC.(COUTURE) Total                                                                                                        $        16,141.00
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          10/17/2024   $         1,240.00    SUPPLIERS OR VENDORS
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          10/23/2024   $        12,621.70    SUPPLIERS OR VENDORS
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          10/30/2024   $           216.00    SUPPLIERS OR VENDORS
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          11/14/2024   $        15,856.80    SUPPLIERS OR VENDORS
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          11/21/2024   $         6,888.00    SUPPLIERS OR VENDORS
   THAMES & KOSMOS                                             PROVIDENCE, RI, 2903, USA                                          12/11/2024   $        15,389.60    SUPPLIERS OR VENDORS
   THAMES & KOSMOS Total                                                                                                                       $        52,212.10
   THE ARMY PAINTER APS                                        CHRISTIANSMINDEVEJ 12, SKANDERBORG, DK-8660, DENMARK               11/12/2024   $       441,293.11    SUPPLIERS OR VENDORS
   THE ARMY PAINTER APS                                        CHRISTIANSMINDEVEJ 12, SKANDERBORG, DK-8660, DENMARK               12/11/2024   $       340,055.26    SUPPLIERS OR VENDORS
   THE ARMY PAINTER APS Total                                                                                                                  $       781,348.37


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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount       Reasons for Payment
                          Creditor Name                                                           Address                            Dates
                                                                                                                                                      or Value             or Transfer
   THE HARTFORD                                                P.O. BOX 783690, PHILADELPHIA, PA, 19178-3690, USA                  11/29/2024   $         55,767.62         SERVICES
   THE HARTFORD                                                P.O. BOX 783690, PHILADELPHIA, PA, 19178-3690, USA                  12/13/2024   $         15,979.19         SERVICES
   THE HARTFORD                                                P.O. BOX 783690, PHILADELPHIA, PA, 19178-3690, USA                   1/10/2025   $         18,237.05         SERVICES
   THE HARTFORD Total                                                                                                                           $         89,983.86
   THE LOYAL SUBJECTS                                          155 W. WASHINGTON BLVD, STE 207, LOS ANGELES, CA, 90015, USA        10/17/2024   $          5,183.12   SUPPLIERS OR VENDORS
   THE LOYAL SUBJECTS                                          155 W. WASHINGTON BLVD, STE 207, LOS ANGELES, CA, 90015, USA        10/30/2024   $          3,209.32   SUPPLIERS OR VENDORS
   THE LOYAL SUBJECTS                                          155 W. WASHINGTON BLVD, STE 207, LOS ANGELES, CA, 90015, USA        11/14/2024   $          2,052.00   SUPPLIERS OR VENDORS
   THE LOYAL SUBJECTS                                          155 W. WASHINGTON BLVD, STE 207, LOS ANGELES, CA, 90015, USA        11/26/2024   $          1,380.48   SUPPLIERS OR VENDORS
   THE LOYAL SUBJECTS                                          155 W. WASHINGTON BLVD, STE 207, LOS ANGELES, CA, 90015, USA         12/4/2024   $            613.12   SUPPLIERS OR VENDORS
   THE LOYAL SUBJECTS Total                                                                                                                     $         12,438.04
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      10/18/2024   $          1,980.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      10/25/2024   $            480.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                       11/1/2024   $            740.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                       11/8/2024   $          1,820.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      11/15/2024   $          2,220.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      11/22/2024   $          1,440.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      11/29/2024   $          1,800.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                       12/6/2024   $          2,380.00        SERVICES
   THE TAILORED STAFF, LLC.                                    3639 NEW GETWELL ROAD, MEMPHIS, TN, 38118, USA                      12/13/2024   $            480.00        SERVICES
   THE TAILORED STAFF, LLC. Total                                                                                                               $         13,340.00
   THREEZERO ( HONG KONG) LTD                                  169 WAI YIP ST, KWUN TONG, KLN, HONG KONG                           11/22/2024   $       217,754.90    SUPPLIERS OR VENDORS
   THREEZERO ( HONG KONG) LTD                                  169 WAI YIP ST, KWUN TONG, KLN, HONG KONG                           12/13/2024   $         24,839.30   SUPPLIERS OR VENDORS
   THREEZERO ( HONG KONG) LTD Total                                                                                                             $       242,594.20
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                10/18/2024   $         41,518.34   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                10/25/2024   $         97,176.37   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                 11/1/2024   $         40,235.79   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                 11/8/2024   $         52,073.89   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                11/15/2024   $         39,190.06   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                11/22/2024   $         66,184.34   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                11/29/2024   $       110,003.08    SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                 12/6/2024   $         62,381.07   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                12/13/2024   $         83,870.33   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                12/20/2024   $         65,452.73   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                12/27/2024   $         65,444.05   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD                                  144 SOUTHWARK STREET, LONDON, SE10UP, UNITED KINGDOM                12/31/2024   $         33,429.99   SUPPLIERS OR VENDORS
   TITAN PUBLISHING GROUP LTD Total                                                                                                             $       756,960.04
   TLC GLOBAL IMPRESSION                                       2455 GUENETTE, ST-LAURENT, QC, H4R 2E9, CANADA                       11/4/2024   $          9,818.20   SUPPLIERS OR VENDORS
   TLC GLOBAL IMPRESSION                                       2455 GUENETTE, ST-LAURENT, QC, H4R 2E9, CANADA                       12/6/2024   $          5,270.79   SUPPLIERS OR VENDORS
   TLC GLOBAL IMPRESSION Total                                                                                                                  $         15,088.99
   TMP INTERNATIONAL, INC.                                     1711 W GREENTREE DRIVE STE 212, TEMPE, AZ, 85284, USA               11/15/2024   $         91,229.48   SUPPLIERS OR VENDORS
   TMP INTERNATIONAL, INC. Total                                                                                                                $         91,229.48
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            10/16/2024   $          3,372.97   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            10/23/2024   $          5,720.19   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            10/30/2024   $          2,048.26   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                             11/6/2024   $          3,609.15   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            11/13/2024   $          3,281.95   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            11/20/2024   $          4,543.08   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            11/26/2024   $          2,528.12   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                             12/4/2024   $          3,252.57   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            12/11/2024   $          5,833.49   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            12/18/2024   $          6,981.42   SUPPLIERS OR VENDORS
   TOKYOPOP, INC.                                              P.O. BOX 2815, CAMARILLO, CA, 93011, USA                            12/24/2024   $          3,163.38   SUPPLIERS OR VENDORS
   TOKYOPOP, INC. Total                                                                                                                         $         44,334.58
   TOMY INTERNATIONAL INC                                      39792 TREASURY CENTER, CHICAGO, IL, 60694-9700, USA                 10/16/2024   $          9,015.00   SUPPLIERS OR VENDORS
   TOMY INTERNATIONAL INC                                      39792 TREASURY CENTER, CHICAGO, IL, 60694-9700, USA                 10/23/2024   $            409.00   SUPPLIERS OR VENDORS
   TOMY INTERNATIONAL INC                                      39792 TREASURY CENTER, CHICAGO, IL, 60694-9700, USA                 11/21/2024   $          7,093.80   SUPPLIERS OR VENDORS
   TOMY INTERNATIONAL INC Total                                                                                                                 $         16,517.80
   TOYNK TOYS LLC                                              P.O. BOX 778773, CHICAGO, IL, 60677-8773, USA                       10/17/2024   $          2,256.00   SUPPLIERS OR VENDORS
   TOYNK TOYS LLC                                              P.O. BOX 778773, CHICAGO, IL, 60677-8773, USA                       10/30/2024   $         47,125.00   SUPPLIERS OR VENDORS
   TOYNK TOYS LLC                                              P.O. BOX 778773, CHICAGO, IL, 60677-8773, USA                        11/6/2024   $          2,331.00   SUPPLIERS OR VENDORS
   TOYNK TOYS LLC                                              P.O. BOX 778773, CHICAGO, IL, 60677-8773, USA                       12/11/2024   $          2,761.76   SUPPLIERS OR VENDORS
   TOYNK TOYS LLC                                              P.O. BOX 778773, CHICAGO, IL, 60677-8773, USA                       12/18/2024   $          7,776.00   SUPPLIERS OR VENDORS
   TOYNK TOYS LLC Total                                                                                                                         $         62,249.76
   TRANSCONTINENTAL PRINTING INC                               1603, MONTARVILLE BOUL., BOUCHERVILLE, QC, J4B 5Y2, CANADA           1/10/2025   $         70,000.00        SERVICES
   TRANSCONTINENTAL PRINTING INC Total                                                                                                          $         70,000.00
   TRANSGLOBAL DISTRIBUTION                                    233131 RR 275, ROCKYVIEW, AB, T1X 0H6, CANADA                       10/16/2024   $          7,187.46        SERVICES
   TRANSGLOBAL DISTRIBUTION                                    233131 RR 275, ROCKYVIEW, AB, T1X 0H6, CANADA                       10/23/2024   $          6,524.57        SERVICES
   TRANSGLOBAL DISTRIBUTION                                    233131 RR 275, ROCKYVIEW, AB, T1X 0H6, CANADA                       10/30/2024   $          6,454.78        SERVICES
   TRANSGLOBAL DISTRIBUTION                                    233131 RR 275, ROCKYVIEW, AB, T1X 0H6, CANADA                       12/13/2024   $         29,950.58        SERVICES
   TRANSGLOBAL DISTRIBUTION Total                                                                                                               $         50,117.39
   TRENDS INTERNATIONAL, LLC                                   5188 WEST 74TH STREET, INDIANAPOLIS, IN, 46268, USA                 10/24/2024   $         13,725.60   SUPPLIERS OR VENDORS
   TRENDS INTERNATIONAL, LLC Total                                                                                                              $         13,725.60
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                           10/23/2024   $          1,063.28   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                            11/6/2024   $          1,102.92   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                           11/13/2024   $            515.64   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                           12/18/2024   $          6,268.40   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                           12/24/2024   $          2,664.27   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVE, SANTA CRUZ, CA, 95003, USA                           12/31/2024   $          5,313.67   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS Total                                                                                                                 $         16,928.18
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    10/25/2024   $         40,566.75   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    11/12/2024   $         25,042.50   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    11/13/2024   $         16,297.12   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    11/21/2024   $         56,083.50   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    11/26/2024   $          2,550.00   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                    11/27/2024   $          9,487.50   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS                                      1005 17TH AVENUE, CA, 95062, USA                                     1/6/2025    $         17,736.75   SUPPLIERS OR VENDORS
   TRICK OR TREAT STUDIOS Total                                                                                                                 $       167,764.12
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                    10/16/2024   $          2,602.45   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                    10/23/2024   $          4,150.72   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                    10/30/2024   $         37,274.91   SUPPLIERS OR VENDORS

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                                           Case 25-10308                    Doc 154              Filed 02/18/25             Page 42 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                         Total Amount        Reasons for Payment
                          Creditor Name                                                          Address                                  Dates
                                                                                                                                                           or Value              or Transfer
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         11/13/2024   $          1,043.42   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         11/20/2024   $          1,762.04   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         11/26/2024   $            474.58   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                          12/4/2024   $            354.03   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         12/11/2024   $            273.07   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         12/24/2024   $          2,322.46   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING                                       10407 BEDFORDTOWN DRIVE, RALEIGH, NC, 27614, USA                         12/31/2024   $          3,696.18   SUPPLIERS OR VENDORS
   TWOMORROWS PUBLISHING Total                                                                                                                       $         53,953.86
   UCC DISTRIBUTING INC.                                       2580 PIONEER AVE, SUITE A, VISTA, CA, 92081, USA                         11/8/2024    $         81,455.67   SUPPLIERS OR VENDORS
   UCC DISTRIBUTING INC. Total                                                                                                                       $         81,455.67
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  10/18/2024   $         50,527.93   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  10/25/2024   $         41,618.53   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                   11/1/2024   $         32,524.20   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                   11/8/2024   $         40,283.21   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  11/15/2024   $         44,185.21   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  11/22/2024   $         52,535.86   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  11/29/2024   $         48,447.70   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                   12/6/2024   $         53,785.29   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  12/13/2024   $         68,307.44   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  12/20/2024   $       196,081.38    SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC                                      51 RIDGESTONE DRIVE, RICHMOND HILL, ON, L4S 0E3, CANADA                  12/27/2024   $         71,925.09   SUPPLIERS OR VENDORS
   UDON ENTERTAINMENT INC Total                                                                                                                      $       700,221.84
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             10/17/2024   $            698.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             10/24/2024   $            741.60   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             10/31/2024   $          2,064.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/13/2024   $          3,371.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/14/2024   $          2,484.60   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/21/2024   $          4,123.80   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/26/2024   $          1,689.60   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/11/2024   $            871.20   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/18/2024   $            990.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/24/2024   $            290.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL                                     P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                              1/6/2025    $          1,500.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL Total                                                                                                                     $         18,824.60
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             10/23/2024   $         10,718.60   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             10/30/2024   $         14,282.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                              11/4/2024   $         63,256.16   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/13/2024   $         17,898.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/18/2024   $         27,457.20   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/20/2024   $            553.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/22/2024   $         28,404.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             11/26/2024   $          2,630.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                              12/2/2024   $         68,469.70   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                              12/4/2024   $          3,145.20   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/12/2024   $          1,899.60   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/20/2024   $         32,330.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/27/2024   $         55,384.00   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC                                P.O. BOX 8201, PASADENA, CA, 91109-8201, USA                             12/31/2024   $          6,785.40   SUPPLIERS OR VENDORS
   ULTRA PRO INTERNATIONAL, LLC Total                                                                                                                $       333,214.06
   UNCANNY BRANDS, LLC                                         350 SENTRY PARKWAY, BUILDING 670, SUITE 120, BLUE BELL, PA, 19422, USA
                                                                                                                                        12/24/2024   $          6,912.00   SUPPLIERS OR VENDORS
   UNCANNY BRANDS, LLC                                         350 SENTRY PARKWAY, BUILDING 670, SUITE 120, BLUE BELL, PA, 19422, USA
                                                                                                                                         1/6/2025    $         11,250.00   SUPPLIERS OR VENDORS
   UNCANNY BRANDS, LLC Total                                                                                                                         $         18,162.00
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 10/22/2024   $         76,684.68         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 10/28/2024   $         69,755.68         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                  11/4/2024   $         57,822.48         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 11/12/2024   $         86,096.93         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 11/18/2024   $        114,902.39         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 11/25/2024   $         78,528.26         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                  12/2/2024   $        115,875.59         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                  12/9/2024   $        112,334.42         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 12/16/2024   $         91,916.09         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 12/23/2024   $         80,698.14         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                 12/30/2024   $        104,359.98         SERVICES
   UPS                                                         P.O. BOX 809488, CHICAGO, IL, 60680, USA                                  1/6/2025    $        112,865.20         SERVICES
   UPS Total                                                                                                                                         $      1,101,839.84
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                10/16/2024   $        164,230.53   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                10/22/2024   $        161,500.61   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                10/28/2024   $        134,769.64   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                 11/4/2024   $        133,346.33   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                11/13/2024   $        137,289.97   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                11/19/2024   $        126,711.39   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                11/25/2024   $        137,531.39   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                 12/3/2024   $        137,800.86   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                 12/9/2024   $        135,305.70   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                12/17/2024   $        125,214.83   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                12/27/2024   $        115,893.81   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                12/31/2024   $        141,171.32   SUPPLIERS OR VENDORS
   UPS/ ACCT                                                   55 GLENLAKE PARKWAY, NE ATLANTA, GA 30328                                 1/6/2025    $        118,720.35   SUPPLIERS OR VENDORS
   UPS/ ACCT Total                                                                                                                                   $      1,769,486.73
   US CUSTOMS & BORDER PROTECTION                              6650 TELECOM DRIVE, STE 100, INDIANAPOLIS, IN, 46278, USA                10/23/2024   $         12,947.03         SERVICES
   US CUSTOMS & BORDER PROTECTION                              6650 TELECOM DRIVE, STE 100, INDIANAPOLIS, IN, 46278, USA                11/25/2024   $         35,700.23         SERVICES
   US CUSTOMS & BORDER PROTECTION                              6650 TELECOM DRIVE, STE 100, INDIANAPOLIS, IN, 46278, USA                12/23/2024   $         30,463.11         SERVICES
   US CUSTOMS & BORDER PROTECTION Total                                                                                                              $         79,110.37
   USA OPOLY INC                                               P.O. BOX 848593, LOS ANGELES, CA, 90084-8593, USA                        10/17/2024   $          2,976.48   SUPPLIERS OR VENDORS
   USA OPOLY INC                                               P.O. BOX 848593, LOS ANGELES, CA, 90084-8593, USA                        10/23/2024   $         12,700.84   SUPPLIERS OR VENDORS
   USA OPOLY INC                                               P.O. BOX 848593, LOS ANGELES, CA, 90084-8593, USA                         11/6/2024   $            918.00   SUPPLIERS OR VENDORS
   USA OPOLY INC                                               P.O. BOX 848593, LOS ANGELES, CA, 90084-8593, USA                        11/21/2024   $          2,244.48   SUPPLIERS OR VENDORS
   USA OPOLY INC                                               P.O. BOX 848593, LOS ANGELES, CA, 90084-8593, USA                        11/26/2024   $          2,910.06   SUPPLIERS OR VENDORS

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                    Total Amount       Reasons for Payment
                          Creditor Name                                                           Address                            Dates
                                                                                                                                                      or Value             or Transfer
   USA OPOLY INC Total                                                                                                                          $         21,749.86
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA             10/18/2024   $         30,105.96   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA             10/31/2024   $         12,755.80   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA             11/13/2024   $         21,312.46   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA             11/21/2024   $          4,309.94   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA              12/5/2024   $         14,826.43   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA             12/12/2024   $          7,372.21   SUPPLIERS OR VENDORS
   USAOPOLY, INC                                               5999 AVENIDA ENCINAS, STE 150, CARLSBAD, CA, 92008, USA              1/2/2025    $         14,559.09   SUPPLIERS OR VENDORS
   USAOPOLY, INC Total                                                                                                                          $        105,241.89
   VAN RYDER GAMES LLC                                         3011 HARRAH DR., SPRING HILL, TN, 37174, USA                         11/7/2024   $         53,026.42   SUPPLIERS OR VENDORS
   VAN RYDER GAMES LLC                                         3011 HARRAH DR., SPRING HILL, TN, 37174, USA                         12/9/2024   $         42,685.20   SUPPLIERS OR VENDORS
   VAN RYDER GAMES LLC Total                                                                                                                    $         95,711.62
   VANGUARD PRODUCTIONS                                        705 RANCHO DR, MESQUITE, TX, 75149, USA                             11/14/2024   $         16,447.92   SUPPLIERS OR VENDORS
   VANGUARD PRODUCTIONS Total                                                                                                                   $         16,447.92
   VENTURE MANUFACTURING LTD                                   283 QUEEN'S RD CENTRAL, UNIT D, HONG KONG                           10/25/2024   $          6,679.00        SERVICES
   VENTURE MANUFACTURING LTD                                   283 QUEEN'S RD CENTRAL, UNIT D, HONG KONG                           12/27/2024   $          4,130.00        SERVICES
   VENTURE MANUFACTURING LTD Total                                                                                                              $         10,809.00
   VENTURES TRADING (SHANGHAI) CO                              NORTH JUANGSU ROAD, ROOM 405 NO 30, CHANGNING, SH,                  10/21/2024   $        242,682.00   SUPPLIERS OR VENDORS
   VENTURES TRADING (SHANGHAI) CO                              NORTH JUANGSU ROAD, ROOM 405 NO 30, CHANGNING, SH,                  11/18/2024   $        102,600.00   SUPPLIERS OR VENDORS
   VENTURES TRADING (SHANGHAI) CO                              NORTH JUANGSU ROAD, ROOM 405 NO 30, CHANGNING, SH,                  12/20/2024   $        146,050.00   SUPPLIERS OR VENDORS
   VENTURES TRADING (SHANGHAI) CO Total                                                                                                         $        491,332.00
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA         11/1/2024   $        163,464.99   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA         11/6/2024   $          2,389.18   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA        11/15/2024   $         69,519.56   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA        11/22/2024   $         25,304.26   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA         12/6/2024   $        217,078.42   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA        12/30/2024   $        133,252.97   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC                                              1355 MARKET STREET, SUITE 200, SAN FRANCISCO, CA, 94103, USA         1/6/2025    $        117,207.57   SUPPLIERS OR VENDORS
   VIZ MEDIA, LLC Total                                                                                                                         $        728,216.95
   WARLORD GAMES T04/T10 TECHNOLOGY WING                       NOTTINGHAM, NG7 2BD, UNITED KINGDOM                                  11/7/2024   $         24,314.21   SUPPLIERS OR VENDORS
   WARLORD GAMES T04/T10 TECHNOLOGY WING                       NOTTINGHAM, NG7 2BD, UNITED KINGDOM                                  12/9/2024   $         11,718.67   SUPPLIERS OR VENDORS
   WARLORD GAMES T04/T10 TECHNOLOGY WING Total                                                                                                  $         36,032.88
   WASHINGTON DEPT. OF REVENUE                                 P.O. BOX 1619, BOTHELL, WA, 98041-1619, USA                         10/28/2024   $          4,010.35          OTHER
   WASHINGTON DEPT. OF REVENUE                                 P.O. BOX 1619, BOTHELL, WA, 98041-1619, USA                         11/27/2024   $          4,872.57          OTHER
   WASHINGTON DEPT. OF REVENUE Total                                                                                                            $          8,882.92
   WEBSTER BANK                                                200 ELM STREET, STAMFORD, CT 06901                                  10/24/2024   $          2,268.00   SUPPLIERS OR VENDORS
   WEBSTER BANK                                                200 ELM STREET, STAMFORD, CT 06901                                   11/7/2024   $         15,984.00   SUPPLIERS OR VENDORS
   WEBSTER BANK                                                200 ELM STREET, STAMFORD, CT 06901                                  11/15/2024   $         20,250.00   SUPPLIERS OR VENDORS
   WEBSTER BANK Total                                                                                                                           $         38,502.00
   WEHRLEGIG GAMES                                             1007 S LINCOLN ST., BLOOMINGTON, IN, 47401, USA                     10/18/2024   $          5,232.00   SUPPLIERS OR VENDORS
   WEHRLEGIG GAMES                                             1007 S LINCOLN ST., BLOOMINGTON, IN, 47401, USA                     11/15/2024   $          5,568.00   SUPPLIERS OR VENDORS
   WEHRLEGIG GAMES Total                                                                                                                        $         10,800.00
   WIESE USA                                                   1435 WOODSON ROAD, ST. LOUIS, MO, 63132, USA                        10/25/2024   $          1,928.38   SUPPLIERS OR VENDORS
   WIESE USA                                                   1435 WOODSON ROAD, ST. LOUIS, MO, 63132, USA                         11/8/2024   $          2,678.12   SUPPLIERS OR VENDORS
   WIESE USA                                                   1435 WOODSON ROAD, ST. LOUIS, MO, 63132, USA                         12/2/2024   $            107.50   SUPPLIERS OR VENDORS
   WIESE USA                                                   1435 WOODSON ROAD, ST. LOUIS, MO, 63132, USA                        12/27/2024   $          4,869.09   SUPPLIERS OR VENDORS
   WIESE USA Total                                                                                                                              $          9,583.09
   WISE WIZARD GAMES LLC                                       719 WATER STREET, FRAMINGHAM, MA, 1701, USA                         10/18/2024   $          8,297.63   SUPPLIERS OR VENDORS
   WISE WIZARD GAMES LLC                                       719 WATER STREET, FRAMINGHAM, MA, 1701, USA                         11/11/2024   $          2,990.55   SUPPLIERS OR VENDORS
   WISE WIZARD GAMES LLC                                       719 WATER STREET, FRAMINGHAM, MA, 1701, USA                         11/22/2024   $          3,285.38   SUPPLIERS OR VENDORS
   WISE WIZARD GAMES LLC                                       719 WATER STREET, FRAMINGHAM, MA, 1701, USA                         12/23/2024   $          6,731.01   SUPPLIERS OR VENDORS
   WISE WIZARD GAMES LLC Total                                                                                                                  $         21,304.57
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        10/21/2024   $        394,335.24   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        10/28/2024   $         56,505.60   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                         11/5/2024   $         29,203.20   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        11/12/2024   $      1,897,800.83   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        11/15/2024   $        960,726.24   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        11/22/2024   $        834,242.75   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        11/25/2024   $         63,774.60   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        11/29/2024   $         81,389.20   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                         12/2/2024   $        112,656.96   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                         12/6/2024   $         70,292.72   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                         12/9/2024   $         34,786.08   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        12/13/2024   $        309,810.16   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        12/20/2024   $        421,200.00   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO IN         ATLANTA, GA, 30384-3050, USA                                        12/30/2024   $      1,973,195.21   SUPPLIERS OR VENDORS
   WIZARDS OF THE COAST, INC A SUBSIDIARY OF HASBRO
   IN Total                                                                                                                                     $      7,239,918.79
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             10/18/2024   $          3,618.44        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             10/25/2024   $          2,541.72        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                              11/1/2024   $          3,800.20        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                              11/8/2024   $          3,913.70        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             11/15/2024   $          3,018.26        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             11/22/2024   $          2,438.83        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             11/29/2024   $          1,445.43        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                              12/6/2024   $          1,473.14        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             12/13/2024   $          1,862.71        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             12/20/2024   $          7,165.62        SERVICES
   WORLDWIDE EXPRESS                                           P.O.BOX 21272, NEW YORK, NY, 10087, USA                             12/27/2024   $          2,744.42        SERVICES
   WORLDWIDE EXPRESS Total                                                                                                                      $         34,022.47
   WYRD MINIATURES LLC                                         2197 CANTON ROAD, MARIETTA, GA, 30066, USA                           11/4/2024   $          7,034.00   SUPPLIERS OR VENDORS
   WYRD MINIATURES LLC                                         2197 CANTON ROAD, MARIETTA, GA, 30066, USA                           12/2/2024   $          2,046.60   SUPPLIERS OR VENDORS
   WYRD MINIATURES LLC Total                                                                                                                    $          9,080.60
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                   10/21/2024   $          3,718.61        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                   10/28/2024   $          1,748.22        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                    11/4/2024   $          4,157.82        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                   11/11/2024   $          2,892.18        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                   11/22/2024   $          1,488.50        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                   11/25/2024   $          2,885.67        SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                    12/2/2024   $          1,057.06        SERVICES

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Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

                                                                                                                                                 Total Amount       Reasons for Payment
                          Creditor Name                                                         Address                           Dates
                                                                                                                                                   or Value             or Transfer
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                 12/9/2024   $          2,869.94         SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/16/2024   $          6,804.80         SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/23/2024   $          3,300.49         SERVICES
   XPO LOGISTICS FREIGHT INC                                   29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/30/2024   $          1,300.92         SERVICES
   XPO LOGISTICS FREIGHT INC Total                                                                                                           $         32,224.21
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                10/17/2024   $         22,756.80        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                10/25/2024   $         49,096.35        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                 11/1/2024   $         29,441.28        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                 11/8/2024   $         28,535.46        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                11/15/2024   $         30,660.23        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                11/20/2024   $         15,981.06        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                11/29/2024   $         29,661.02        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                 12/6/2024   $         22,470.78        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/13/2024   $         20,095.08        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/18/2024   $         22,357.51        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/24/2024   $         17,832.44        SERVICES
   XPO LOGISTICS FREIGHT, INC.                                 29559 NETWORK PLACE, CHICAGO, IL, 60673-1559, USA                12/31/2024   $         12,114.58        SERVICES
   XPO LOGISTICS FREIGHT, INC. Total                                                                                                         $       301,002.59
   YOUTOOZ                                                     4223 GLENCOE AVE, C203, MARINA DEL RAY, CA, 90292, USA           11/15/2024   $         25,728.00   SUPPLIERS OR VENDORS
   YOUTOOZ                                                     4223 GLENCOE AVE, C203, MARINA DEL RAY, CA, 90292, USA           11/20/2024   $          6,464.00   SUPPLIERS OR VENDORS
   YOUTOOZ Total                                                                                                                             $         32,192.00
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          10/16/2024   $            129.96   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          10/30/2024   $          1,241.23   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                           11/6/2024   $          1,595.99   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          11/13/2024   $          1,764.43   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          11/20/2024   $            715.78   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          11/26/2024   $          1,258.21   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          11/27/2024   $            413.06   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                           12/4/2024   $            453.79   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                           12/5/2024   $            120.99   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          12/11/2024   $            253.90   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          12/18/2024   $            175.04   SUPPLIERS OR VENDORS
   Z2 COMICS                                                   201 EAST 69TH, NEW YORK, NY, 10021, USA                          12/24/2024   $            177.93   SUPPLIERS OR VENDORS
   Z2 COMICS Total                                                                                                                           $          8,300.31
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            10/18/2024   $         10,716.19        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            10/25/2024   $         14,851.81        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA             11/1/2024   $          6,892.83        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA             11/8/2024   $         10,420.12        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            11/15/2024   $         11,256.75        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            11/22/2024   $         10,300.95        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            11/29/2024   $          9,375.22        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA             12/6/2024   $         11,437.36        SERVICES
   ZENESCOPE ENTERTAINMENT                                     2381 PHILMONT AVENUE, HUNTINGDON VLLY, PA, 19006, USA            12/13/2024   $          1,771.87        SERVICES
   ZENESCOPE ENTERTAINMENT Total                                                                                                             $         87,023.10
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   10/18/2024   $            448.12   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   10/25/2024   $            493.25   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA    11/1/2024   $          4,725.75   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA    11/8/2024   $            193.24   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   11/15/2024   $            290.20   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   11/22/2024   $            257.75   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   11/29/2024   $          1,642.62   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA    12/6/2024   $             32.66   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   12/13/2024   $          1,683.81   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC.                                    21031 VENTURA BLVD, SUITE 1000, WOODLAND HILLS, CA, 91364, USA   12/27/2024   $            172.97   SUPPLIERS OR VENDORS
   ZOMBIE LOVE STUDIOS,LLC. Total                                                                                                            $          9,940.37
   ZORBITZ, INC                                                5948 LINDENHURST AVENUE, LOS ANGELES, CA, 90036, USA             12/16/2024   $          3,519.12   SUPPLIERS OR VENDORS
   ZORBITZ, INC                                                5948 LINDENHURST AVENUE, LOS ANGELES, CA, 90036, USA             12/27/2024   $          4,189.68   SUPPLIERS OR VENDORS
   ZORBITZ, INC Total                                                                                                                        $          7,708.80
   GRAND TOTAL                                                                                                                               $    67,571,586.30




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     STATEMENT OF FINANCIAL AFFAIRS


                          EXHIBIT
                     PART 2, QUESTION 4

PAYMENTS OR OTHER TRANSFERS OF PROPERTY MADE
   WITHIN 1 YEAR BEFORE FILING THIS CASE THAT
             BENEFITTED ANY INSIDER
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                                                          Total Amount                     Reasons for Payment                  Relationship
             Insider's Name                 Dates
                                                         or Value                              or Transfer                       to Debtor

   BREANNA GEPPI                      01/26/24 - 07/26/24 $      31,230.78 COMPENSATION                             ADMINISTRATIVE ASSISTANT

   BREANNA GEPPI                          08/09/24       $        5,115.81 SEVERANCE                                ADMINISTRATIVE ASSISTANT

   BREANNA GEPPI                      09/20/24 - 01/10/25 $        362.44 CONTRACTOR SERVICES                       ADMINISTRATIVE ASSISTANT

   BREANNA GEPPI Total                                   $       36,709.03

   CHARLIE TYSON                      01/26/24 - 12/13/24 $     315,503.90 COMPENSATION                             CO-PRESIDENT - ALLIANCE

   CHARLIE TYSON Total                                   $      315,503.90

   CHUCK PARKER                       01/26/24 - 12/13/24 $     234,830.83 COMPENSATION                             PRESIDENT

   CHUCK PARKER Total                                    $      234,830.83

   DAN HIRSCH                         01/26/24 - 12/13/24 $     355,888.63 COMPENSATION                             CO-PRESIDENT - ALLIANCE

   DAN HIRSCH Total                                      $      355,888.63

   DANIELLE GEPPI-PATRAS              01/26/24 - 08/09/24 $      28,845.60 COMPENSATION                             DIRECTOR OF SPECIAL EVENTS

   DANIELLE GEPPI-PATRAS Total                           $       28,845.60
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         02/22/24       $       50,000.00 RETURN OF 1/26 LOAN FROM GALLERY         AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         02/26/24       $      100,000.00 ADVANCE (NOT REIMBURSED)                 AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         02/27/24       $       50,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         02/29/24       $       20,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/01/24       $       10,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/04/24       $       30,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/07/24       $       20,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/11/24       $       10,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/18/24       $       25,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         03/21/24       $       40,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         05/20/24       $       22,000.00 ADVANCE/LOAN (NOT REIMBURSED)            AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         06/26/24       $       17,000.00 ADVANCE/LOAN (REIMBURSED)                AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         07/03/24       $       10,000.00 ADVANCE/LOAN (REIMBURSED)                AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         07/05/24       $        9,000.00 ADVANCE/LOAN (REIMBURSED)                AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC                         07/09/24       $       20,000.00 ADVANCE/LOAN (REIMBURSED)                AFFILIATED ENTITY
   DIAMOND INTERNATIONAL
   GALLERIES, LLC Total                                  $      433,000.00
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/18/24       $      160,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/22/24       $       58,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/25/24       $       40,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/30/24       $      160,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      02/05/24       $      190,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                   PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      02/08/24       $       20,000.00 INVOICING                                AFFILIATED ENTITY


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                                                       Total Amount                 Reasons for Payment                 Relationship
             Insider's Name                Dates
                                                      or Value                          or Transfer                      to Debtor
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      02/09/24    $     213,918.16 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      02/16/24    $     111,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      02/23/24    $     339,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      03/01/24    $     138,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      03/08/24    $     200,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      03/18/24    $     475,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      03/29/24    $     150,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      04/08/24    $      88,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      04/12/24    $     100,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      04/18/24    $      40,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      04/19/24    $      30,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      04/26/24    $      70,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/02/24    $      40,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/03/24    $     203,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/06/24    $      10,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/10/24    $      20,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/17/24    $     295,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/21/24    $      10,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/23/24    $      20,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/24/24    $      33,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/29/24    $     220,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/30/24    $      51,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      05/31/24    $     125,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/07/24    $      60,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/12/24    $     168,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/13/24    $      54,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/14/24    $      95,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/26/24    $      15,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      06/27/24    $      50,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      07/01/24    $       5,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      07/05/24    $     160,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      07/11/24    $      30,000.00 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      07/24/24    $     260,528.40 INVOICING                             AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      08/02/24    $     270,316.28 INVOICING                             AFFILIATED ENTITY


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                                                       Total Amount                     Reasons for Payment                Relationship
             Insider's Name                Dates
                                                      or Value                              or Transfer                     to Debtor
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      08/09/24    $     216,567.70 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      08/20/24    $     248,924.22 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      08/23/24    $     236,555.78 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      08/30/24    $     279,498.17 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      09/09/24    $      77,739.26 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      10/08/24    $      71,710.31 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      10/15/24    $      50,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      10/17/24    $      36,984.55 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      10/29/24    $      50,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      11/07/24    $      50,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      11/14/24    $      20,800.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &
   COLLECTIBLES, LLC                      11/15/24    $       50,000.00 AFFILIATE ADVANCE (RETURNED 11/22/24)    AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      11/21/24    $      171,812.16 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      11/26/24    $       30,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      11/26/24    $    1,033,345.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      12/24/24    $       60,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      12/27/24    $      205,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                                PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/03/25    $      250,000.00 INVOICING                                AFFILIATED ENTITY
   DIAMOND SELECT TOYS &
   COLLECTIBLES, LLC                      01/06/25    $      90,000.00 ADVANCE (NOT REIMBURSED)                  AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/06/25    $      90,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/07/25    $     100,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &                                               PARTIAL PAYMENT ON BUY/SELL
   COLLECTIBLES, LLC                      01/08/25    $      25,000.00 INVOICING                                 AFFILIATED ENTITY
   DIAMOND SELECT TOYS &
   COLLECTIBLES, LLC Total                            $    8,221,699.99
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 01/25/24    $       1,700.00 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 02/02/24    $       1,828.00 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 02/09/24    $      54,819.70 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 02/15/24    $           0.01 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 02/16/24    $      43,192.20 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 02/22/24    $       6,063.00 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 03/11/24    $       9,624.50 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 03/29/24    $       1,700.00 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 04/12/24    $      57,153.50 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 04/24/24    $      44,510.20 GERBER                                    AFFILIATED ENTITY
                                                                       PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 05/02/24    $      18,144.00 GERBER                                    AFFILIATED ENTITY


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                                                          Total Amount                      Reasons for Payment                Relationship
                Insider's Name              Dates
                                                         or Value                               or Transfer                     to Debtor
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 05/10/24       $        3,121.20 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 05/30/24       $        1,700.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 06/03/24       $        1,700.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 06/07/24       $       44,305.30 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 06/14/24       $       80,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 06/27/24       $        7,200.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 07/01/24       $        1,775.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 07/05/24       $       45,219.30 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 07/29/24       $        1,700.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 08/02/24       $       13,739.50 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 08/20/24       $      200,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 08/23/24       $       44,252.60 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 08/30/24       $        8,239.40 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 09/13/24       $        8,453.00 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 09/18/24       $       60,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 09/27/24       $       26,538.50 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 10/02/24       $       20,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 10/11/24       $       30,655.60 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 10/25/24       $       55,762.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 11/15/24       $       35,613.80 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 11/29/24       $        1,775.00 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 11/29/24       $       30,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           RETURN OF SHORT TERM LOAN FROM
   E GERBER PRODUCTS, LLC                 12/13/24       $       80,000.00 GERBER                                    AFFILIATED ENTITY
                                                                           PAYMENT ON BUY/SELL PURCHASE FROM
   E GERBER PRODUCTS, LLC                 12/27/24       $        1,625.00 GERBER                                    AFFILIATED ENTITY

   E GERBER PRODUCTS, LLC Total                          $     1,042,110.31

   GEMSTONE PUBLISHING, INC               02/08/24       $         5,000.00 LOAN/ADVANCE (NOT REIMBURSED)            AFFILIATED ENTITY

   GEMSTONE PUBLISHING, INC               02/22/24       $       20,000.00 LOAN/ADVANCE (NOT REIMBURSED)             AFFILIATED ENTITY

   GEMSTONE PUBLISHING, INC               05/09/24       $         5,000.00 LOAN/ADVANCE (NOT REIMBURSED)            AFFILIATED ENTITY
                                                                            PAYMENT FOR AD IN GEMSTONE PRICE
   GEMSTONE PUBLISHING, INC               05/31/24       $         2,000.00 GUIDE                                    AFFILIATED ENTITY

   GEMSTONE PUBLISHING, INC               07/11/24       $       10,000.00 LOAN/ADVANCE (NOT REIMBURSED)             AFFILIATED ENTITY
                                                                           CONSIGNMENT PAYMENT, REVERSED
   GEMSTONE PUBLISHING, INC               07/30/24       $       65,109.74 NEXT DAY                                  AFFILIATED ENTITY

   GEMSTONE PUBLISHING, INC Total                        $      107,109.74

   GINA GEPPI                         01/26/24 - 07/26/24 $      35,000.00 COMPENSATION                              SOCIAL MEDIA MANAGER

   GINA GEPPI                             08/09/24       $         8,438.77 SEVERANCE                                SOCIAL MEDIA MANAGER


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                                 Case 25-10308                Doc 154           Filed 02/18/25             Page 50 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                          Total Amount                     Reasons for Payment                 Relationship
                Insider's Name              Dates
                                                         or Value                              or Transfer                      to Debtor

   GINA GEPPI Total                                      $       43,438.77

   JOSH GEPPI                         01/26/24 - 07/26/24 $     107,692.20 COMPENSATION                             PRESIDENT - SAPPHIRE STUDIOS

   JOSH GEPPI                             08/09/24       $       22,583.40 SEVERANCE                                PRESIDENT - SAPPHIRE STUDIOS

   JOSH GEPPI Total                                      $      130,275.60

   LARRY SWANSON                      01/26/24 - 01/10/25 $     275,600.18 COMPENSATION                             CFO

   LARRY SWANSON                        02/24 - 01/25    $        1,266.48 CELL PHONE (USED FOR BUSINESS)           CFO

   LARRY SWANSON                          04/11/24       $       23,161.00 CASH ADVANCE (REIMBURSED 4/12/24)        CFO

   LARRY SWANSON                          12/27/24       $         803.87 BUSINESS FLIGHT REIMBURSEMENT             CFO

   LARRY SWANSON Total                                   $      300,831.53

   MELISSA BOWERSOX                   01/26/24 - 07/26/24 $      35,000.00 COMPENSATION                             EVP - GEPPI FAMILY ENTERPRISES

   MELISSA BOWERSOX                       08/09/24       $       13,763.60 SEVERANCE                                EVP - GEPPI FAMILY ENTERPRISES

   MELISSA BOWERSOX Total                                $       48,763.60

   OCEAN RIDGE CAPITAL ADVISORS L         09/29/24       $        3,119.83 EXPENSE REIMBURSEMENT                    INDEPENDENT BOARD MEMBER

   OCEAN RIDGE CAPITAL ADVISORS L         09/30/24       $        5,416.67 EXPENSE REIMBURSEMENT                    INDEPENDENT BOARD MEMBER

   OCEAN RIDGE CAPITAL ADVISORS L     10/01/24 - 01/09/25 $      50,000.00 DIRECTOR FEES                            INDEPENDENT BOARD MEMBER

   OCEAN RIDGE CAPITAL ADVISORS L Total                  $       58,536.50
                                                                           ROSEBUD CUSTOMER PAYMENT
   ROSEBUD ENTERTAINMENT, LLC             04/16/24       $        3,085.25 DEPOSITED INTO DCD                       AFFILIATED ENTITY

   ROSEBUD ENTERTAINMENT, LLC Total                      $        3,085.25

   STEPHEN A. GEPPI                   01/26/24 - 12/13/24 $     635,215.30 COMPENSATION                             OWNER - CEO
                                                                           INSURANCE PREMIUM AND CLAIMS PAID
   STEPHEN A. GEPPI                       12/27/24       $       21,912.39 FOR S.G. & DEPENDANTS                    OWNER - CEO

   STEPHEN A. GEPPI                       01/16/24       $            1.39 LIFE INSURANCE                           OWNER - CEO

   STEPHEN A. GEPPI                   01/23/24 - 09/24/24 $     184,994.22 PERSONAL CHARGES ON CREDIT CARD          OWNER - CEO

   STEPHEN A. GEPPI                       03/29/24       $       28,500.00 PERSONAL COLLECTION PURCHASES            OWNER - CEO

   STEPHEN A. GEPPI                   01/22/24 - 12/13/24 $       1,176.42 PHONE                                    OWNER - CEO

   STEPHEN A. GEPPI Total                                $      871,799.72

   Grand Total                                           $ 12,232,429.00




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STATEMENT OF FINANCIAL AFFAIRS

                 EXHIBIT
            PART 6, QUESTION 11

 PAYMENTS RELATED TO BANKRUPTCY
                                   Case 25-10308             Doc 154            Filed 02/18/25                  Page 52 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 11. Payments related to bankruptcy

          Who was paid or who            If not money, describe                       Total Amount                 Email or Website        Who made the payment,
                                                                     Dates
          received the transfer?        any property transferred                        or Value                      Address                  if not debtor?
  Getzler Henrich & Associates         N/A                         10/5/2024      $          72,616.60 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         10/12/2024     $          88,430.38 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         10/19/2024     $          80,498.78 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         10/26/2024     $         105,760.56 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         11/2/2024      $         108,849.73 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         11/9/2024      $         112,616.54 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         11/16/2024     $          98,345.50 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         11/23/2024     $         103,212.75 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         11/30/2024     $          50,027.00 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         12/7/2024      $          90,860.75 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         12/14/2024     $          89,406.91 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         12/21/2024     $          88,060.91 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         12/28/2024     $          60,812.28 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                          1/3/2025      $         375,000.00 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                          1/4/2025      $          95,061.00 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         1/10/2025      $          50,000.00 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates         N/A                         1/13/2025      $          75,000.00 https://getzlerhenrich.com/        Debtor Paid
  Getzler Henrich & Associates Total                                              $        1,744,559.69
  Omni Agent Solutions Inc             N/A                         12/3/2024      $          50,000.00 https://omniagentsolutions.com/    Debtor Paid
  Omni Agent Solutions Inc Total                                                  $          50,000.00
  Raymond James & Associates           N/A                         10/11/2024     $          10,000.00 https://www.raymondjames.com/      Debtor Paid
  Raymond James & Associates           N/A                         10/11/2024     $           55,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates           N/A                          11/1/2024     $           50,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates           N/A                          11/8/2024     $           10,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates           N/A                          12/1/2024     $           50,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates           N/A                          1/2/2025      $           50,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates           N/A                          1/10/2025     $            6,000.00   https://www.raymondjames.com/   Debtor Paid
  Raymond James & Associates Total                                                $          231,000.00
  Saul Ewing LLP                       N/A                         10/15/2024     $          200,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                         10/31/2024     $          200,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                         11/25/2024     $          200,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                         12/20/2024     $          200,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                          1/3/2025      $          375,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                          1/10/2025     $          125,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                          1/24/2025     $          370,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                          1/31/2025     $          210,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP                       N/A                          2/7/2025      $          215,000.00   https://www.saul.com/           Debtor Paid
  Saul Ewing LLP Total                                                            $        2,095,000.00
  Stephenson Harwood LLP               N/A                         12/11/2024     $           45,745.00   https://www.shlegal.com/        Debtor Paid
  Stephenson Harwood LLP               N/A                          1/9/2025      $           44,117.50   https://www.shlegal.com/        Debtor Paid
  Stephenson Harwood LLP Total                                                    $           89,862.50
  Grand Total                                                                     $        4,210,422.19




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STATEMENT OF FINANCIAL AFFAIRS

                 EXHIBIT
           PART 11, QUESTION 21

     PROPERTY HELD FOR ANOTHER
                                  Case 25-10308                  Doc 154           Filed 02/18/25              Page 54 of 54
Diamond Comic Distributors, Inc.
Case No. 25-10308
SOFA 21. Property held for another



      Debtor Diamond Comic Distributors, Inc. (“DCD”), stores and manages certain product for resale and order fulfillment purposes to the Debtors’ customers. While
      certain vendors may assert that such inventory is held on a consignment or similar arrangement, the Debtors reserve all rights with respect to any such
      characterizations asserted.

      DCD’s Collectible Grading Authority (“CGA”) division provides professional grading services of vintage and modern toys, video games and other related collectibles.
       In the ordinary course of business, customers ship their collectible item(s) to CGA. Upon receipt, CGA grades the collectible item(s) and then returns the item(s) to
      the customer. CGA’s business is fluid in nature and the Debtors do not have an itemized list of customers’ collectibles that, as of the Petition Date, were in CGA’s
      possession to be graded.




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